Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 1 of 129 Page ID
                                 #:2465




                                                                    WP0001
Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 2 of 129 Page ID
                                 #:2466

 From:                    AAA Heather Santo
 To:                      Ashley Keller; Manthripragada Dhananjay S.
 Cc:                      Tom Kayes; McKenna Madeleine; Maryott Michele L.; Evangelis Theane
 Subject:                 RE: Individuals v. Postmates Case # 01-19-0001-2994
 Date:                    Friday, May 10, 2019 4:45:41 PM
 Attachments:             imagebe8ec5.PNG
                          Feliu Disclosure - 4925 Individuals v. Postmates - May 9 2019 pdf




 Dear Counsel,

 This will confirm a conference call with Mediator Al Feliu will be held on Monday, May 13th at 11:00 am Eastern Time. Please use the
 following dial-in information to join the call.

 Phone: 888.537.7715
 Passcode: 47609078#

 Attached is Mediator Feliu’s Notice of Appointment and Disclosures. Should you have any questions or concerns please let me know.

 At this time we do not have the agreement of the parties to keep the arbitration on hold while pursuing mediation. As such, we are
 requesting Respondent remit their share of the arbitration filing fees in the amount of $1,900 per case by May 31, 2019. Should you need
 an invoice and/or wire transfer instructions to facilitate payment please let me know. Should the parties reach agreement to hold the
 arbitration cases in abeyance, this fee will not be due until such time as the cases become active.

 Sincerely,

 Heather Santo




                 Heather Santo
                 American Arbitration Association

                 1301 Atwood Ave, Suite 211N, Johnston, RI 02919
                 T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
                 adr.org  | icdr.org | aaamediation.org

 The information in this transmittal (including attachments, if any) is privileged and/or confidential and is intended only for the recipient(s) listed above. Any review, use, disclosure, distribution
 or copying of this transmittal is prohibited except by or on behalf of the intended recipient. If you have received this transmittal in error, please notify me immediately by reply email and destroy
 all copies of the transmittal. Thank you.




                                                                                                                                                                                       WP0002
Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 3 of 129 Page ID
                                 #:2467

 From:                    AAA Heather Santo
 To:                      Ashley Keller; Manthripragada Dhananjay S.
 Cc:                      Tom Kayes; McKenna Madeleine; Maryott Michele L.; Evangelis Theane
 Subject:                 RE: Individuals v. Postmates Case # 01-19-0001-2994
 Date:                    Thursday, May 16, 2019 11:44:12 AM
 Attachments:             image003 png
                          image5079f9.PNG




 Dear Counsel,

 This will acknowledge receipt of 768 additional individuals filing against Postmates, Inc.

 At this time we do not have the agreement of the parties to keep the arbitrations on hold while pursuing mediation. As such, we are
 requesting Respondent remit payment for the arbitration filing fees in accordance with the contract, in the amount of $2,200 per case, by
 June 6, 2019. Should you need an invoice and/or wire transfer instructions to facilitate payment please let me know. Should the parties
 reach agreement to hold the arbitration cases in abeyance, this fee will not be due until such time as the cases become active.

 Sincerely,

 Heather Santo




                 Heather Santo
                 American Arbitration Association

                 1301 Atwood Ave, Suite 211N, Johnston, RI 02919
                 T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
                 adr.org  | icdr.org | aaamediation.org

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 all copies of the transmittal. Thank you.




                                                                                                                                                                                       WP0003
Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 4 of 129 Page ID
                                 #:2468




                                                                                        Dhananjay S. Manthripragada
                                                                                        Direct: +1 213.229.7366
                                                                                        Fax: +1 213.229.6366
                                                                                        DManthripragada@gibsondunn.com




  May 31, 2019


  VIA ELECTRONIC MAIL

  Ms. Heather Santo
  American Arbitration Association
  1301 Atwood Ave., Suite 211N
  Johnston, RI 02919

  Re:      Postmates, Inc. Purported Arbitration Demands

  Dear Ms. Santo:

  I write in response to your voicemail of this morning asking for Postmates’ position on the
  assessment of arbitration administration fees for Keller Lenkner’s purported arbitration
  demands alleging claims against Postmates. Postmates’ position is that the fees assessed are
  improper for a number of reasons.

  First, as stated in AAA’s Employment/Workplace Fee Schedule, “[t]he employer or
  company’s share of filing fees is due as soon as the employee or individual meets his or her
  filing requirements.” Empl. Fee Sched. at 2 (emphasis added). You have made clear that
  you believe that Keller Lenkner’s demands have met AAA’s filing requirements, and while
  we disagree, there can be no dispute that each of Keller Lenkner’s purported clients has not
  met “his or her” filing requirements, which are laid out in the Postmates Fleet Agreement to
  which each claimant allegedly assented. That contract requires that anyone who “wishes to
  initiate arbitration” must “notify the other Party in writing via certified mail, return receipt
  requested, or hand delivery within the applicable statute of limitations period.” Fleet
  Agreement, ¶ 10B(i). 1 Keller Lenkner, in contrast, served arbitration demands via email.

  Similarly, the Fleet Agreement states that a “demand for arbitration must include (1) the
  name and address of the Party seeking arbitration, (2) a statement of the legal and factual
  basis of the claim, and (3) a description of the remedy sought” (id.) and states that “all
  disputes or claims between the Parties will be resolved in individual arbitration” (id. at
  ¶ 10B(iii)). Notwithstanding these filing requirements, Keller Lenkner has filed one, mass
  arbitration demand purporting to cover each claimant, which does not lay out any specific
  facts, theories, or remedies sought for each claimant, as is required by the Fleet Agreement.
  This circumvents the Fleet Agreement’s express requirement that all arbitrations must take

  1
      Available at https://fleet.postmates.com/legal/agreement.



                                                                                            WP0004
Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 5 of 129 Page ID
                                 #:2469




  Ms. Heather Santo
  May 31, 2019
  Page 2



  place on an individualized basis. In sum, not a single one of Keller Lenkner’s purported
  clients has met “his or her filing requirements,” so it is premature for AAA to assess any
  administrative fees against Postmates.

  Second, if the claimants did meet their filing requirements under the Fleet Agreement, the
  vast majority of claimants failed to meet AAA’s requirement that “[a]rbitration . . . shall be
  initiated by the initiating party . . . filing with the AAA a Demand for Arbitration, the
  administrative filing fee, and a copy of the applicable arbitration agreement.” Comm. R. 4(a)
  (emphasis added). Instead, the claimants filed fee waiver affidavits based on California
  Code of Civil Procedure Section 1284.3, which only applies to “consumer arbitrations.” Cal.
  Code Civ. Proc. § 1284.3(a). A “consumer arbitration” is, according to California’s Ethics
  Standards for Neutral Arbitrators in Contractual Arbitration, 2 one in which, among other
  things, the party “was required to accept the arbitration provision in the contract.” Ethics
  Standard 2(d)(3). Postmates’ Fleet Agreement, in contrast, provides an opt-out provision for
  anyone who does not wish to arbitrate, and specifically states that “[a]rbitration is not a
  mandatory condition of Your contractual relationship with Postmates, and therefore You may
  opt out of this Mutual Arbitration Provision.” Fleet Agreement, ¶ 10B(ix). Therefore, Keller
  Lenkner’s purported clients asserting inapplicable fee waivers have not met AAA’s filing
  requirements, and Postmates’ filing fees should not be assessed.

  Third, even assuming that the fee waivers the majority of claimants have asserted are proper
  (they are not), Postmates understands that AAA intends to shift costs waived by those fee
  waivers to Postmates. That is improper. While the California fee waiver statute does not
  prohibit AAA from “shift[ing] fees that would otherwise be charged or assessed upon a
  consumer party to a nonconsumer party” (Cal. Code Civ. Proc. § 1284.3(b)(1)), nothing in
  AAA’s rules, fee schedule, or other materials suggests a policy of doing so. To the contrary,
  AAA’s hardship provisions simply state that “[t]he AAA may, in the event of extreme
  hardship on the part of any party, defer or reduce the administrative fees.” Comm. R. 53
  (emphasis added). In fact, the only provision permitting the shifting of fees is the following
  statement on AAA’s “employment” webpage: “Arbitrator compensation and administrative
  fees are not subject to reallocation by the arbitrator except upon the arbitrator’s
  determination that a claim or counterclaim was filed for purposes of harassment or is
  patently frivolous.” 3 In short, there is simply no basis in AAA’s policies for shifting any
  waived costs onto Postmates.




  2
      Available at https://www.courts.ca.gov/documents/ethics standards neutral arbitrators.pdf
  3
      Available at https://www.adr.org/employment.



                                                                                         WP0005
Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 6 of 129 Page ID
                                 #:2470




                                                                    WP0006
    Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 7 of 129 Page ID
                                     #:2471

                                                                                  Northeast Case Management Center
                                                                                                       Heather Santo
                                                                                             Assistant Vice President
                                                                                   1301 Atwood Avenue, Suite 211N
                                                                                                 Johnston, RI 02919
                                                                                          Telephone: (866)293-4053
                                                                                                 Fax: (866)644-0234




June 7, 2019

Via E-mail

Ashley Keller, Esq.                                             Dhananjay S. Manthripragada, Esq.
Travis Lenkner, Esq.                                            Michele Maryott, Esq.
Warren Postman, Esq.                                            Theane Evangelis, Esq.
Keller Lenkner                                                  Gibson Dunn
150 North Riverside Plaza, Suite 4270                           333 South Grand Avenue
Chicago, IL 60606                                               Los Angeles, CA 90071

Case Number: 01-19-0001-2994

Individual Claimants
-vs-
Postmates, Inc.

Dear Counsel:

This will confirm an administrative conference call was held on June 6, 2019 with Ashley Keller, Travis Lenkner
and Warren Postman for Claimants and Michele Maryott and Theane Evangelis for Respondent wherein the
following items were discussed:

•    The parties are not in agreement to hold the cases in abeyance pending the hearing and subsequent ruling from
     the court on the pending motions. As such, we will continue with administration.

•    Respondent has raised an arbitrability issue regarding the filing requirements. The AAA determined Claimant
     has met the filing requirements under our Rules and Fee Schedule, however Respondent may bring their
     challenge to the individual arbitrators once appointed. The parties are not in agreement to appoint a Special
     Master to decide this issue.

•    The Fee Waivers submitted by Claimants were properly filed.


•    The AAA did not shift any costs as a result of the fee waivers. The AAA’s Employment/Workplace Fee
     Schedule is the applicable fee schedule for these matters pursuant to the footnote contained within Rule 1 of the
     Commercial Arbitration Rules, which states, in part, the following:

       * Beginning October 1, 2017, AAA will apply the Employment Fee Schedule to any dispute between an
       individual employee or an independent contractor (working or performing as an individual and not
       incorporated) and a business or organization and the dispute involves work or work-related claims,
       including any statutory claims and including work-related claims under independent contractor
       agreements…


                                                                                                      WP0007
  Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 8 of 129 Page ID
                                   #:2472


  768 of the Claimants filed for arbitration under the Postmates Fleet Agreement Effective May 11, 2018 in which
  the agreement states Postmates shall pay the arbitrator’s and arbitration fees and costs. The initial administrative
  fee is $2,200 per case. The AAA assessed Respondent $1,900 for the remaining 4,912 cases pursuant to the
  Employment/Workplace Fee Schedule.

  •   The AAA has extended the deadline for Respondent’s share of the administrative filing fees, totaling
      $11,022,400.00, to June 13, 2019. If payment is not received by that date, the AAA will decline to
      administer these cases.

Please let me know if you have any questions.

Sincerely,


Heather Santo
Assistant Vice President
Direct Dial: (401)431-4703
Email: Heathersanto@adr.org
Fax: (866)644-0234


cc: Madeleine McKenna, Esq.
    Tom Kayes, Esq.




                                                                                                      WP0008
Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 9 of 129 Page ID
                                 #:2473

 From:                    AAA Heather Santo
 To:                      Evangelis Theane; "ack@kellerlenkner.com"; McKenna Madeleine; Travis Lenkner; Warren Postman; Maryott Michele L.; Cochrane Thomas;
                          Manthripragada Dhananjay S.
 Cc:                      Joanne Saint-Louis JD
 Subject:                 RE: Individuals v. Postmates, Inc - Case 01-19-0001-2994
 Date:                    Friday, June 21, 2019 3:15:18 PM
 Attachments:             image002.png
                          image4110fe.PNG




 Dear Counsel,

 This will acknowledge e-mails dated June 17, 2019 and June 20, 2019 from the parties on the above case.

 As previously advised, the AAA determined Claimant met the filing requirements under our Commercial Arbitration Rules, Rule R-4
 and Employment/Workplace Fee Schedule and that Respondent may bring their arbitrability challenges to the individual arbitrators
 once appointed after the filing fees were paid.

 This will confirm neither party agreed to AAA’s offer, in our June 17, 2019 email, to have the company pay an initial fee of $300.00
 per case to allow parties to further consider mediation or other process options or until a determination of the court action has
 been completed. As such, the AAA is closing these cases. The initial fees paid by Claimants will be refunded. An invoice for AAA’s
 mediation fee and the compensation of the mediator will be sent to Respondent under separate cover.

 The AAA will abide by any court order directing the manner in which the underlying arbitrations should or should not proceed.
 Please keep us advised.

 Please let me know if you have any questions.

 Sincerely,

 Heather Santo




                 Heather Santo
                 American Arbitration Association

                 1301 Atwood Ave, Suite 211N, Johnston, RI 02919
                 T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
                 adr.org  | icdr.org | aaamediation.org

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 distribution or copying of this transmittal is prohibited except by or on behalf of the intended recipient. If you have received this transmittal in error, please notify me immediately by
 reply email and destroy all copies of the transmittal. Thank you.




                                                                                                                                                                               WP0009
     Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 10 of 129 Page ID
                                       #:2474
                                 EMPLOYEE ARBITRATION RULES DEMAND FOR ARBITRATION

    To ensure your demand is processed promptly, please include a copy of the Arbitration Agreement, Plan or Contract.


Mediation: If you would like the AAA to contact the other parties and attempt to arrange mediation, please check this box    .

Parties (Claimant)

Name of Claimant: Aaron Burris (KL Tracking ID No. 4851106)

Address:

City: Oakland                                                       State: CA                      Zip: 94601

Phone No.:                                                          Phone No.: (

Email Address:

Representative’s Name (if known): Ashley Keller

Firm (if applicable): Keller Lenkner LLC

Representative’s Address: 150 N Riverside Plaza, Suite 4270

City: Chicago                                                       State: IL                      Zip Code: 60606

Phone No.: (312) 741-5222                                           Fax No.:

Email Address: ack@kellerlenkner.com

Parties (Respondent)

Name of Respondent: Postmates Inc.

Address: 201 Third Street, Suite 200

City: San Francisco, CA                                             State: CA                      Zip Code: 94103

Phone No.: (415) 939-0318                                           Fax No.:

Email Address:

Representative’s Name (if known): Dhananjay S. Manthripragada

Firm (if applicable): Gibson Dunn & Crutcher LLP

Representative’s Address: 333 South Grand Avenue

City: Los Angeles                                                   State: CA                      Zip Code: 90071

Phone No.: (213) 229-7366                                           Fax No.:

Email Address: dmanthripragada@gibsondunn.com

Claim: What was/is the employee/worker’s annual wage range?        Less than $100,000   $100,000-$250,000    Over $250,000
Note: This question is required by California law.

Amount of Claim: Claimant declines to specify the amount in controversy at this time, as the information needed to calculate
damages is exclusively within the control of Postmates.

Claim involves:     Statutorily Protected Rights   Non-Statutorily Protected Rights




                                                                                                                WP0010
     Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 11 of 129 Page ID
                                       #:2475
                                 EMPLOYEE ARBITRATION RULES DEMAND FOR ARBITRATION




In detail, please describe the nature of each claim. You may attach additional pages if necessary: Claimant has been a courier for
Postmates. Postmates has misclassified Claimant as an independent contractor instead of an employee. Claimant seeks all available
relief under the following provisions, as showing to be applicable following discovery of information exclusively within the control of
Respondent: 29 U.S.C §§ 206, 207 (Minimum Wage & Overtime); California Labor Code, Wage Order No. 9 (Minimum Wage &
Overtime); Applicable Municipal Codes (Minimum Wage, Overtime, Sick Time, & Notice Violations); California Labor Code § 226
(Wage Statement and Records Access); and Cal. Bus. & Prof. Code § 17200 (Unfair and Unlawful Business Practices).
Other Relief Sought:     Attorneys Fees      Interest     Arbitration Costs     Punitive/ Exemplary
  Other: Declaratory relief; appropriate equitable relief; damages, penalties, and restitution.

Please describe the qualifications for arbitrator(s) to hear this dispute:
Under the parties’ arbitration agreement, “[t]he arbitration shall be heard by one arbitrator selected in accordance with the AAA Rules.
The arbitrator shall be an attorney with experience in the law underlying the dispute.” § 10b.vi.1.




Hearing: Estimated time needed for hearings overall: 6                                hours or                           days

Hearing Locale: Claimant requests a hearing location in, or reasonably near, the same county in which Claimant resides.
(check one)    Requested by Claimant        Locale provision included in the contract
Filing Fee requirement or $300 (max amount per AAA) – Claimant has paid the filing fee.
Filing by Company:      $2,200 single arbitrator    $2,800 three arbitrator panel
Notice: To begin proceedings, please send a copy of this Demand and the Arbitration Agreement, along with filing fee as
provided for in the Rules, to: American Arbitration Association, Case Filing Services, 1101 Laurel Oak Road, Suite 100, Voorhees, NJ
08043. Send the original Demand to the Respondent.
Signature (may be signed by a representative):                         Date:

                                                                       June 11, 2019
Pursuant to Section 1284.3 of the California Code of Civil Procedure, consumers with a gross monthly income of less than 300% of
the federal poverty guidelines are entitled to a waiver of arbitration fees and costs, exclusive of arbitrator fees. This law applies to all
consumer agreements subject to the California Arbitration Act, and to all consumer arbitrations conducted in California. Only those
disputes arising out of employer plans are included in the consumer definition. If you believe that you meet these requirements, you
must submit to the AAA a declaration under oath regarding your monthly income and the number of persons in your household.
Please contact the AAA’s Western Case Management Center at1-800-778-7879. If you have any questions regarding the waiver of
administrative fees, AAA Case Filing Services can be reached at 877-495-4185. Please visit our website at www.adr.org if you would
like to file this case online. AAA Customer Service can be reached at 800-778-7879.




                                                                                                                         WP0011
     Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 12 of 129 Page ID
                                       #:2476
                                                         COMMERCIAL ARBITRATION RULES
                                                              DEMAND FOR ARBITRATION

    To ensure your demand is processed promptly, please include a copy of the Arbitration Agreement, Plan or Contract.


Mediation: If you would like the AAA to contact the other parties and attempt to arrange mediation, please check this box   .


Parties (Claimant)

Name of Claimant: Abdul Shaikh (KL Tracking No. 6021021)

Address:

City: Redlands                                                    State: California                 Zip Code: 92373

Phone No.:                                                        Fax No.:

Email Address:

Representative’s Name: Ashley Keller

Firm: Keller Lenkner LLC

Representative’s Address: 150 N Riverside Plaza, Suite 4270

City: Chicago                                                     State: Illinois                   Zip Code: 60606

Phone No.: 3127415222                                             Fax No.:

Email Address: ack@kellerlenkner.com

Parties (Respondent)

Name of Respondent: Postmates Inc.

Address: 201 Third Street, Suite 200

City: San Francisco                                               State: California                 Zip Code: 94103

Phone No.:                                                        Fax No.:

Email Address:

Representative’s Name: Dhananjay S. Manthripragada

Firm: Gibson, Dunn & Crutcher LLP
Representative’s Address: 333 South Grand Avenue

City: Los Angeles                                                 State: California                 Zip Code: 90071

Phone No.:2132297366                                              Fax No.:
Email Address: DManthripragada@gibsondunn.com
Claim: What was/is the employee/worker’s annual wage range?       Less than $100,000    $100,000-$250,000    Over $250,000
Note: This question is required by California law.

Amount of Claim: Claimant declines to specify the amount in controversy at this time, as the information needed to calculate
damages is exclusively within Postmates’s control.
Claim involves:  Statutorily Protected Rights  Non-Statutorily Protected Rights




                                                                                                                WP0012
     Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 13 of 129 Page ID
                                       #:2477
                                                         COMMERCIAL ARBITRATION RULES
                                                              DEMAND FOR ARBITRATION




In detail, please describe the nature of each claim. You may attach additional pages if necessary:
Claimant has been a courier for Postmates. Postmates has misclassified Claimant as an independent contractor instead of an
employee. Claimant seeks all available relief under the following provisions, as shown to be applicable following discovery of
information exclusively within Postmates’s control. California Labor Code, Wage Order No. 9 (Minimum Wage and Overtime);
applicable Municipal Codes (Minimum Wage, Overtime, Sick Time, and Notice Violations); California Labor Code § 226 (Wage
Statement and Records Access); and Cal. Bus. & Prof. Code § 17200 (Unfair and Unlawful Business Practices).




Other Relief Sought:     Attorneys Fees       Interest     Arbitration Costs     Punitive/ Exemplary
  Other: Declaratory relief; appropriate individual equitable relief, damages; penalties; and restitution
Please describe the qualifications for arbitrator(s) to hear this dispute:
Under the applicable arbitration agreement, “[t]he arbitration shall be heard by one arbitrator selected in accordance with AAA rules.
The arbitrator shall be an attorney with experience in the law underlying the dispute.” 2018 Fleet Agreement § 11B.vi.1.
Hearing: Estimated time needed for hearings overall: 6 hours

Hearing Locale: Claimant requests a hearing location in, or reasonable near, the county in which Claimant resides.
(check one)    Requested by Claimant        Locale provision included in the contract
Filing Fee requirement or $300 (max amount per AAA) – Postmates is required to pay all filing fees. See 2018 Fleet Agreement §
11B.vi.2.
Filing by Company:     $2,200 single arbitrator $2,800 three arbitrator panel

Notice: To begin proceedings, please send a copy of this Demand and the Arbitration Agreement, along with filing fee as
provided for in the Rules, to: American Arbitration Association, Case Filing Services, 1101 Laurel Oak Road, Suite 100, Voorhees, NJ
08043. Send the original Demand to the Respondent.
Signature (may be signed by a representative):                         Date:
                                                                       September 24, 2019


Pursuant to Section 1284.3 of the California Code of Civil Procedure, consumers with a gross monthly income of less than 300% of
the federal poverty guidelines are entitled to a waiver of arbitration fees and costs, exclusive of arbitrator fees. This law applies to all
consumer agreements subject to the California Arbitration Act, and to all consumer arbitrations conducted in California. Only those
disputes arising out of employer plans are included in the consumer definition. If you believe that you meet these requirements, you
must submit to the AAA a declaration under oath regarding your monthly income and the number of persons in your household.
Please contact the AAA’s Western Case Management Center at1-800-778-7879. If you have any questions regarding the waiver of
administrative fees, AAA Case Filing Services can be reached at 877-495-4185. Please visit our website at www.adr.org if you would
like to file this case online. AAA Customer Service can be reached at 800-778-7879.




                                                                                                                         WP0013
     Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 14 of 129 Page ID
                                       #:2478
                                                         COMMERCIAL ARBITRATION RULES
                                                              DEMAND FOR ARBITRATION

    To ensure your demand is processed promptly, please include a copy of the Arbitration Agreement, Plan or Contract.


Mediation: If you would like the AAA to contact the other parties and attempt to arrange mediation, please check this box    .


Parties (Claimant)

Name of Claimant: Parisa Aalami (KL Tracking No. 5743046)

Address:

City: Corona Del Mar                                              State: California                 Zip Code: 92625

Phone No.:                                                        Fax No.:

Email Address:

Representative’s Name: Aaron Zigler

Firm: Keller Lenkner LLC

Representative’s Address: 150 N Riverside Plaza, Suite 4270

City: Chicago                                                     State: Illinois                   Zip Code: 60606

Phone No.: 3122107278                                             Fax No.:

Email Address: amz@kellerlenkner.com

Parties (Respondent)

Name of Respondent: Postmates Inc.

Address: 201 Third Street, Suite 200

City: San Francisco                                               State: California                 Zip Code: 94103

Phone No.:                                                        Fax No.:

Email Address:

Representative’s Name: Dhananjay S. Manthripragada

Firm: Gibson, Dunn & Crutcher LLP
Representative’s Address: 333 South Grand Avenue

City: Los Angeles                                                 State: California                 Zip Code: 90071

Phone No.:2132297366                                              Fax No.:

Email Address: DManthripragada@gibsondunn.com
Claim: What was/is the employee/worker’s annual wage range?       Less than $100,000    $100,000-$250,000    Over $250,000
Note: This question is required by California law.

Amount of Claim: $21000, subject to amendment according to proof.
Claim involves:  Statutorily Protected Rights Non-Statutorily Protected Rights




                                                                                                                WP0014
     Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 15 of 129 Page ID
                                       #:2479
                                                         COMMERCIAL ARBITRATION RULES
                                                              DEMAND FOR ARBITRATION




In detail, please describe the nature of each claim. You may attach additional pages if necessary:
Claimant has been a courier for Postmates. Postmates has misclassified Claimant as an independent contractor instead of an
employee. Claimant seeks all available relief under the following provisions, as shown to be applicable following discovery of
information exclusively within Postmates’s control: California Labor Code, Wage Order No. 9 (Minimum Wage & Overtime);
Applicable Municipal Codes (Minimum Wage, Overtime, Sick Time, & Notice Violations); California Labor Code § 226 (Wage
Statement & Records Access); and Cal. Bus. & Prof. Code § 17200 (Unfair & Unlawful Business Practices).

Claimant’s claims fall within the scope of the arbitration provision contained in the Postmates Fleet Agreement, effective 5/11/2019,
which Claimant was required to sign as a condition of making deliveries for Postmates. That agreement is included as Exhibit C in the
Dropbox folder by which Claimant served this demand on AAA and Postmates.

Other Relief Sought:     Attorneys Fees       Interest     Arbitration Costs     Punitive/ Exemplary
  Other: Declaratory relief; appropriate individual equitable relief, damages; penalties; and restitution
Please describe the qualifications for arbitrator(s) to hear this dispute:
Under the applicable arbitration agreement, “[t]he arbitration shall be heard by one arbitrator selected in accordance with AAA rules.
The arbitrator shall be an attorney with experience in the law underlying the dispute.” §10B.vi.
Hearing: Estimated time needed for hearings overall: 6 hours
Hearing Locale: Claimant requests a hearing location in, or reasonable near, the county in which Claimant resides.
(check one)    Requested by Claimant        Locale provision included in the contract
Filing Fee requirement or $300 (max amount per AAA) – Claimant will satisfy the filling fee requirement.
Filing by Company:     $2,200 single arbitrator $2,800 three arbitrator panel

Notice: To begin proceedings, please send a copy of this Demand and the Arbitration Agreement, along with filing fee as
provided for in the Rules, to: American Arbitration Association, Case Filing Services, 1101 Laurel Oak Road, Suite 100, Voorhees, NJ
08043. Send the original Demand to the Respondent.
Signature (may be signed by a representative):                         Date:
                                                                       February 14, 2020


Pursuant to Section 1284.3 of the California Code of Civil Procedure, consumers with a gross monthly income of less than 300% of
the federal poverty guidelines are entitled to a waiver of arbitration fees and costs, exclusive of arbitrator fees. This law applies to all
consumer agreements subject to the California Arbitration Act, and to all consumer arbitrations conducted in California. Only those
disputes arising out of employer plans are included in the consumer definition. If you believe that you meet these requirements, you
must submit to the AAA a declaration under oath regarding your monthly income and the number of persons in your household.
Please contact the AAA’s Western Case Management Center at1-800-778-7879. If you have any questions regarding the waiver of
administrative fees, AAA Case Filing Services can be reached at 877-495-4185. Please visit our website at www.adr.org if you would
like to file this case online. AAA Customer Service can be reached at 800-778-7879.




                                                                                                                         WP0015
Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 16 of 129 Page ID
                                  #:2480



 From: AAA Heather Santo <heathersanto@adr.org>
 Sent: Monday, September 30, 2019 11:30 AM
 To: Warren Postman <wdp@kellerlenkner.com>; Sean Duddy <skd@kellerlenkner.com>;
 Manthripragada, Dhananjay S. <DManthripragada@gibsondunn.com>; AAA Heather Santo
 <heathersanto@adr.org>
 Subject: 1,250 Individuals v. Postmates

 [External Email]
 Dear Counsel,

 This will acknowledge receipt on September 24, 2019 of 1,250 individual Demands for Arbitration
 alleging claims against Postmates. Upon review of the documents, the AAA’s Commercial Arbitration
 Rules and Mediation Procedures and the Employment/Workplace Fee Schedule shall apply to these
 disputes. We have assigned AAA Case # 01-19-0003-0610 to these matters. Please note all individual
 arbitrations will be assigned their own case numbers upon receipt of Respondent’s portion of filing fees.

 Pursuant to the Employment/Workplace Fee Schedule a filing fee of $300.00 is due from the individuals
 when claims are filed, unless the agreement provides that the individual pay less. A fee of $1,900.00 per
 case is due from the company, unless the agreement provides that the company pay more.

 Claimants have met their filing fee requirements for the 333 Claimants subject to the 2019 Fleet
 Agreement. Accordingly, we request that the company pay its share of the fees in the amount of
 $632,700.00 ($1,900.00 for 333 cases) on or before October 21, 2019.

 For the remaining 917 Claimants subject to the 2017 and 2018 Fleet agreement, in which the arbitration
 agreement states Postmates will pay all fees, we request that the company pay fees in the amount of
 $2,017,400.00 ($2,200.00 for 917 cases) on or before October 21, 2019.

 Payment may be submitted via check, wire transfer or credit card. Attached are the AAA Wire Transfer
 instructions. If paying by check, please reference the above case number, and mail your payment to:

 Attention: Larry Allston
 American Arbitration Association
 13727 Noel Road, Suite 700
 Dallas, TX 75240

 If you wish to pay by credit card, please contact me directly and I will provide an AAA Paylink.

 Please note: no answering statement or counterclaim is due at this time. The AAA will notify the parties
 of the response deadlines when all fees have been received.

 Should you have any questions, please do not hesitate to contact me.

 Sincerely,




                                                                                                    WP0016
Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 17 of 129 Page ID
                                  #:2481



                Heather Santo
                American Arbitration Association

                1301 Atwood Ave, Suite 211N, Johnston, RI 02919
                T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
                adr.org | icdr.org | aaamediation.org

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 then immediately delete this message.

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 privacy policy.




                                                                                                                                         WP0017
Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 18 of 129 Page ID
                                  #:2482



 From: AAA Heather Santo <heathersanto@adr.org>
 Sent: Friday, November 1, 2019 1:21 PM
 To: Warren Postman <wdp@kellerlenkner.com>; Manthripragada, Dhananjay S.
 <DManthripragada@gibsondunn.com>
 Cc: Evangelis, Theane <TEvangelis@gibsondunn.com>; Maryott, Michele L.
 <MMaryott@gibsondunn.com>; Mathur, Shaun <SMathur@gibsondunn.com>; Ashley Keller
 <ack@kellerlenkner.com>; Cochrane, Thomas <TCochrane@gibsondunn.com>; Sean Duddy
 <skd@kellerlenkner.com>
 Subject: RE: 1,250 Individuals v. Postmates

 [External Email]
 Dear Counsel,

 This will acknowledge receipt of Claimants’ letter dated October 29, 2019. This will also acknowledge
 receipt of the parties’ emails below. The AAA does not require further positions on the issues raised by
 Postmates in their October 25, 2019 letter and responded to by Claimants in their October 29, 2019
 letter.

 AAA’s filing requirements are specified under Rule 4 of the Commercial Arbitration Rules. We have
 made an administrative determination that the minimum filing requirements have been met by
 Claimants. Respondent may raise any further challenges to the arbitrator(s) once appointed.

 The AAA will not proceed with administration until Respondent’s filing requirements are satisfied.

 The Association is available to work with the parties where they are able to reach agreement. Where
 the parties are unable to reach agreement on ceasing administration or altering the process such as
 moving forward on a rolling basis, we must proceed in accordance with our Rules and Fee Schedule.

 Respondent has stated they are unable to identify over 200 of the 1,250 individuals. It does not appear
 Claimants have been provided a list of those individuals. We encourage the parties to work together
 and confirm whether a contractual relationship exists.

 While the parties discuss the relationship for the approximate 200 individuals, we will place those
 matters on hold.

 We request Respondent remit fees for the remaining cases (approximately 1,050) by the extended
 deadline of November 4, 2019. If there is not an agreement by the parties and fees are not paid, the
 AAA will decline to administer these cases and the files will be closed.

 Please do not hesitate to contact me should you have any questions.

 Sincerely,

 Heather Santo




                                                                                                WP0018
Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 19 of 129 Page ID
                                  #:2483



                Heather Santo
                American Arbitration Association

                1301 Atwood Ave, Suite 211N, Johnston, RI 02919
                T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
                adr.org | icdr.org | aaamediation.org

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                                                                                                                                         WP0019
Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 20 of 129 Page ID
                                  #:2484



 From: AAA Heather Santo <heathersanto@adr.org>
 Sent: Tuesday, November 5, 2019 1:46 PM
 To: Manthripragada, Dhananjay S. <DManthripragada@gibsondunn.com>; Warren Postman
 <wdp@kellerlenkner.com>
 Cc: Evangelis, Theane <TEvangelis@gibsondunn.com>; Maryott, Michele L.
 <MMaryott@gibsondunn.com>; Mathur, Shaun <SMathur@gibsondunn.com>; Ashley Keller
 <ack@kellerlenkner.com>; Cochrane, Thomas <TCochrane@gibsondunn.com>; Sean Duddy
 <skd@kellerlenkner.com>
 Subject: RE: 1,250 Individuals v. Postmates

 [External Email]
 Dear Counsel:

 In order for any issues to be put before the Administrative Review Council for determination, AAA’s
 minimum filing requirements must be met, which includes payment of the initial filing fees by the
 parties. We previously determined Claimants met their minimum initial filing requirements and as such
 Respondent’s fees were due November 4, 2019. AAA previously provided Respondent an extension of
 time to remit payment of their share of the fees. Absent receipt of payment by Respondent by
 Wednesday, November 6, 2019, we will decline to administer these cases and the files will be closed.

 Sincerely,

 Heather Santo




              Heather Santo
              American Arbitration Association

              1301 Atwood Ave, Suite 211N, Johnston, RI 02919
              T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
              adr.org | icdr.org | aaamediation.org

 T e fo a o          s a s       a ( c ud g a ac e s, f a y) s p v eged a d/o co f de a a d s e ded o y fo     e ec p e (s) s ed
 a ove. A y ev ew, use, d sc osu e, d s   u o o copy g of s a s       a sp o    ed excep y o o e a f of e e ded ec p e . If you
  ave ece ved s a s         a    e o , p ease o fy e     ed a e y y ep y e a a d des oy a cop es of e a s a . T a k you.




                                                                                                                    WP0020
Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 21 of 129 Page ID
                                  #:2485




                                                                     WP0021
     Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 22 of 129 Page ID
                                       #:2486



From:               AAA Cheryl Florio <CherylFlorio@adr.org>
Sent:               Monday, February 24, 2020 3:06 PM
To:                 Warren Postman; Ashley Keller; Sean Duddy; Travis Lenkner; Marquel Reddish; Brett Walker; Tom
                    Kayes; Manthripragada, Dhananjay S.; Fogelman, James P.; Mathur, Shaun; Evangelis, Theane;
                    Cochrane, Thomas; Maryott, Michele L.; McKenna, Madeleine
Cc:                 AAA Cheryl Florio
Subject:            10,356 Individuals v. Postmates, Inc.


 Dear Counsel,

 This confirms AAA’s receipt on February 15, 2020 of ten thousand three hundred and fifty-six (10,356) individual
 demands for arbitration involving the above referenced parties, each of which has been filed with us in accordance with
 a contract containing a clause providing for administration by the AAA.

 The outcome of our preliminary administrative review, which is subject to review by the arbitrators, is that these
 disputes will be administered in accordance with the American Arbitration Association (“AAA”) Employment
 Arbitration Rules amended and in effect November 1, 2009, and the Employment/Workplace Fee Schedule amended
 and in effect November 1, 2019, both of which can be found on our website, www.adr.org. Pursuant to the applicable
 fee schedule, these cases will be administered in accordance with the “Administrative Group Filing Fees” section of the
 schedule.

 Claimants have met their filing fee requirements for the 7,620 Claimants subject to the 2019 Fleet Agreement.
 Accordingly, we request that the company pay its share of the fees in the amount of $3,048,000.00.

 For the remaining 2,736 Claimants subject to the 2017 & 2018 Fleet Agreement, in which the arbitration agreement
 states Postmates will pay all fees, we request that the company pay fees in the amount of $1,641,600.00

 Respondent’s portion of filing fees is due on or before March 16, 2020. Respondent’s invoice will follow under
 separate cover. Please note that these matters are subject to California Code of Civil Procedure 1281.97 and
 1281.98. As such, payment must be received by April 15, 2020 or the AAA may close the parties’ cases. The
 AAA will not grant any extensions to this payment deadline.

 Payment may be submitted via check, money order, credit card, or wire transfer. Money orders and checks should be
 made payable to the American Arbitration Association and mailed to American Arbitration Association, 13727 Noel
 Road, Suite 700, Dallas, TX 75340. When submitting payment, please include a copy of your invoice to ensure that
 payment is properly applied. To pay online by credit card, please contact the undersigned directly and request an AAA
 Paylink.

 The AAA’s administrative fees are based on filing and service charges. Arbitrator compensation is not included in this
 schedule. The AAA may require the arbitrators’ compensation deposits in advance of any hearings. Unless the
 individuals, post-dispute choose to pay a portion of the arbitrators’ compensation, the company shall pay such
 compensation in total.

 Please note: no answering statements or counterclaims are due at this time. The AAA will notify the parties of the
 response deadlines when initial filing fees have been received.

 If you have any questions, please email the undersigned and we will be happy to assist you.

 Thank you,


                                                            1
                                                                                                       WP0022
        Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 23 of 129 Page ID
                                          #:2487
           AAA Cheryl Florio
           Manager of ADR Services

               American Arbitration Association

               T: 401 431 4887 F: 866 644 0234 E: CherylFlorio@adr.org
               1301 Atwood Ave, Suite 211N, Johnston, RI 02919
               adr.org | icdr.org | aaamediation.org

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                                                                                       2
                                                                                                                                                     WP0023
        Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 24 of 129 Page ID
                                          #:2488



From:                         AAA Cheryl Florio <CherylFlorio@adr.org>
Sent:                         Monday, April 20, 2020 1:56 PM
To:                           Warren Postman; Ashley Keller; Sean Duddy; Travis Lenkner; Marquel Reddish; Brett Walker; Tom
                              Kayes; Manthripragada, Dhananjay S.; Fogelman, James P.; Mathur, Shaun; Evangelis, Theane;
                              Cochrane, Thomas; Maryott, Michele L.; McKenna, Madeleine
Cc:                           AAA Cheryl Florio; AAA Heather Santo
Subject:                      RE: 10,356 Individuals v. Postmates, Inc.



Dear Counsel:

This will confirm Claimants advanced the initial and arbitrator selection fees for Respondent’s share on 100 of
the 10,356 cases. Claimants intend to seek recovery of the aforementioned fees from the arbitrator(s) once
appointed. Inasmuch as the AAA has not received payment from Respondent for the 10,356 cases and the
deadline of April 15, 2020 has passed, we are closing the remaining 10,256 cases. Claimants initial filing fees
for the 10,256 cases will be refunded.

We hoped that this situation did not escalate to this level, but we want you to be aware that it is the policy of the
AAA that if a company does not comply with our request to pay the administrative fees stated in the
Employment/Workplace Fee Schedule, the AAA will decline to administer any future cases involving the
Respondent. We ask that Respondent remove our name from its arbitration agreements so there is no confusion
to the public.

Please do not hesitate to contact me should you have any questions.

Sincerely,

Cheryl Florio




               AAA Cheryl Florio
               Manager of ADR Services

               American Arbitration Association

               T: 401 431 4887 F: 866 644 0234 E: CherylFlorio@adr.org
               1301 Atwood Ave, Suite 211N, Johnston, RI 02919
               adr.org | icdr.org | aaamediation.org

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                                                                                       1
                                                                                                                                                     WP0024
       Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 25 of 129 Page ID
                                         #:2489



From:                    Warren Postman
Sent:                    Tuesday, April 21, 2020 1:37 PM
To:                      AAA Cheryl Florio; Ashley Keller; Sean Duddy; Travis Lenkner; Marquel Reddish; Brett Walker;
                         Manthripragada, Dhananjay S.; Fogelman, James P.; Mathur, Shaun; Evangelis, Theane; Cochrane,
                         Thomas; Maryott, Michele L.; McKenna, Madeleine
Cc:                      AAA Heather Santo
Subject:                 RE: 10,356 Individuals v. Postmates, Inc.


Ms. Florio,

Our understanding is that, although AAA will not administer future cases involving Postmates absent a court order, AAA
will administer future arbitrations if a court compels Postmates to arbitrate under the terms of an agreement calling for
arbitration before AAA.

We would appreciate if AAA could confirm this understanding.

Sincerely,

Warren D. Postman
Partner
Keller | Lenkner
1300 I Street, N.W., Suite 400E | Washington, D.C. 20005
202.749.8334 | Website | Email




                                                               1
                                                                                                        WP0025
        Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 26 of 129 Page ID
                                          #:2490



From:                         AAA Heather Santo <heathersanto@adr.org>
Sent:                         Tuesday, April 21, 2020 2:11 PM
To:                           Warren Postman; Ashley Keller; Sean Duddy; Travis Lenkner; Marquel Reddish; Brett Walker;
                              Manthripragada, Dhananjay S.; Fogelman, James P.; Mathur, Shaun; Evangelis, Theane; Cochrane,
                              Thomas; Maryott, Michele L.; McKenna, Madeleine
Cc:                           AAA Cheryl Florio
Subject:                      RE: 10,356 Individuals v. Postmates, Inc.


Mr. Postman,

That is correct. The AAA will abide by any court order compelling arbitration before AAA.

Sincerely,

Heather Santo



               Heather Santo

               American Arbitration Association

               1301 Atwood Ave, Suite 211N, Johnston, RI 02919
               T: 401 431 4703 F: 401 435 6529 E: heathersanto@adr.org
               adr.org | icdr.org | aaamediation.org

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                                                                                       1
                                                                                                                                                     WP0026
  Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 27 of 129 Page ID
                                    #:2491



 1 SHANNON LISS-RIORDAN (SBN 310719)                      GIBSON, DUNN & CRUTCHER LLP
   (sliss@llrlaw.com)                                     THEANE EVANGELIS, SBN 243570
 2 ANNE KRAMER (SBN 315131)                                 tevangelis@gibsondunn.com
 3 (akramer@llrlaw.com)                                   DHANANJAY S. MANTHRIPRAGADA,
   LICHTEN & LISS-RIORDAN, P.C.                             SBN 254433
 4 729 Boylston Street, Suite 2000                          dmanthripragada@gibsondunn.com
   Boston, MA 02116                                       333 South Grand Avenue
 5 Telephone:     (617) 994-5800                          Los Angeles, CA 90071-3197
   Facsimile:     (617) 994-5801                          Telephone:    213.229.7000
 6                                                        Facsimile:    213.229.7520
   Attorneys for Plaintiffs Jacob Rimler,
 7 Giovanni Jones, Dora Lee, Kellyn Timmerman,
                                                          MICHELE L. MARYOTT, SBN 191993
   and Joshua Albert, on behalf of themselves and           mmaryott@gibsondunn.com
 8 others similarly situated and in their capacities as
   Private Attorney General Representatives               3161 Michelson Drive
 9                                                        Irvine, CA 92612-4412
                                                          Telephone:    949.451.3800
10                                                        Facsimile:    949.475.4668
11
                                                          Attorney for Defendant Postmates Inc.
12

13                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
14
                            FOR THE COUNTY OF SAN FRANCISCO
15

16                                                    Case No. CGC-18-567868
     JACOB RIMLER, GIOVANNI JONES,
17   DORA LEE, KELLYN TIMMERMAN, and
     JOSHUA ALBERT, on behalf of themselves
18   and others similarly situated and in their
     capacities as Private Attorney General           CLASS ACTION SETTLEMENT
19   Representatives,                                 AGREEMENT AND RELEASE
20                           Plaintiffs,
                  v.
21

22 POSTMATES INC.,

23                            Defendant.
24

25

26

27                                                1
                        CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
28                                     Case No. CGC-18-567868

                                                                                           WP0027
  Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 28 of 129 Page ID
                                    #:2492



 1          This Class Action Settlement Agreement and Release, including Exhibits A through C

 2 hereto (“Settlement Agreement” or “Agreement”), is made and entered into by, between, and

 3 among Plaintiffs Jacob Rimler, Giovanni Jones, Dora Lee, Kellyn Timmerman, and Joshua

 4 Albert (“Plaintiffs”) on behalf of themselves and the Settlement Class, as defined below, on the

 5 one hand, and Defendant Postmates Inc. (“Defendant” or “Postmates”) on the other hand.

 6 Plaintiffs and Defendant (collectively, the “Parties”) enter into this Agreement to effect a full

 7 and final settlement and preclusive judgment resolving all claims brought or that could have

 8 been brought against Postmates in the following putative collective, representative, and class
 9 actions: (1) Rimler v. Postmates, Inc., Case No. CGC-18-567868 in the Superior Court of

10 California, San Francisco County, and the related appeal docketed at No. A156450 in the

11 California Court of Appeal, First Appellate District; (2) Lee v. Postmates, Inc., Case No. 3:18-

12 cv-03421-JCS, in the United States District Court for the Northern District of California, and

13 the related appeals docked at Nos. 19-15024 and 19-80055 in the United States Court of

14 Appeals for the Ninth Circuit; and (3) Albert v. Postmates, Inc., Case No. 18-cv-07592-JCS, in

15 the United States District Court for the Northern District of California; including as amended

16 pursuant to this Agreement (taken together, the three cases shall be referred to as “the Action”),

17 and all claims based on or reasonably related thereto. This Agreement is intended to fully and

18 finally compromise, resolve, discharge, and settle the Released Claims, as defined and on the

19 terms set forth below, and to the full extent reflected herein, subject to the approval of the Court.

20          I.     RECITALS
21          This Agreement is made in consideration of the following facts:
22          1.1.   WHEREAS, on July 5, 2018, Plaintiff Jacob Rimler filed a California Private
23 Attorneys General Act (“PAGA”), Labor Code §§ 2698, et seq. representative action complaint

24 in the Superior Court of California, San Francisco County (Case No. CGC-18-567868),

25 asserting on behalf of himself and all couriers classified by Postmates as independent

26 contractors in California various wage-related claims against Postmates arising from Postmates’

27                                                2
                        CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
28                                     Case No. CGC-18-567868

                                                                                              WP0028
  Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 29 of 129 Page ID
                                    #:2493



 1 alleged misclassification of couriers as independent contractors. On July 11, 2018, Plaintiff

 2 Rimler filed a First Amended Complaint, which added Plaintiff Giovanni Jones (“the Rimler

 3 action”);

 4          1.2.    WHEREAS, on August 17, 2018, Postmates filed a Petition for an Order

 5 Compelling Arbitration, which the Rimler Plaintiffs opposed. On January 2, 2019, the Court

 6 denied Postmates’ Petition, and Postmates filed a notice of appeal. Before any briefing was

 7 conducted on the appeal, Postmates and the Rimler Plaintiffs agreed to mediate the Rimler

 8 Action and requested an extension of briefing deadlines in light of the mediation, which the
 9 Court granted;

10          1.3.    WHEREAS, on May 8, 2018, Plaintiff Dora Lee filed a class action complaint in

11 the Superior Court of California, San Francisco County (Case No. CGC-18-566394) on behalf

12 of herself and a proposed class consisting of all couriers in California classified by Postmates as

13 independent contractors, asserting various wage-related claims against Postmates arising from

14 Postmates’ alleged misclassification of couriers as independent contractors. On June 8, 2018,

15 Postmates filed a Notice of Removal to the United States District Court for the Northern District

16 of California, Case No. 3:18-cv-03421-JCS. On July 23, 2018, Postmates filed a Motion to

17 Compel Arbitration. On October 15, 2018, the Court granted Plaintiff Lee’s Motion for Leave

18 to Amend the Complaint to add Plaintiffs Kellyn Timmerman and Joshua Albert, and granted

19 Postmates’ Motion to Compel Arbitration of Plaintiff Lee’s claims. On November 6, 2018,

20 Postmates filed a Motion to Compel Arbitration for Plaintiff Timmerman. On December 17,

21 2018, the Court granted Postmates’ Motion to Compel Arbitration and dismissed the case so

22 that Plaintiffs Lee and Timmerman could pursue an appeal to the United States Court of

23 Appeals for the Ninth Circuit. On January 4, 2019, Plaintiffs Lee and Timmerman filed a notice

24 of appeal, which is pending as Ninth Cir. Case No. 19-15024 (together with the case dismissed

25 by the Northern District of California, the “Lee Action”). Subsequently, Plaintiffs Lee and

26 Timmerman moved the District Court to certify its orders for interlocutory review. The Court

27                                                3
                        CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
28                                     Case No. CGC-18-567868

                                                                                             WP0029
  Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 30 of 129 Page ID
                                    #:2494



 1 granted the motion, and Plaintiffs Lee and Timmerman filed a petition in Ninth Cir. Case No.

 2 19-80055, seeking permission to appeal. On July 30, 2019, the Ninth Circuit denied the

 3 petition;

 4          1.4.    WHEREAS, on December 17, 2018, the District Court in Lee severed Plaintiff

 5 Joshua Albert’s claims to proceed as a separate case, Northern District of California Case No.

 6 3:18-cv-07592-JCS. On January 4, 2019, Plaintiff Albert filed a Second Amended Complaint

 7 asserting a PAGA claim based on various wage-related claims against Postmates arising from

 8 Postmates’ alleged misclassification of couriers as independent contractors (the “Albert”
 9 Action). The parties were engaged in written discovery until they requested and received a stay

10 to participate in mediation;

11          1.5.    WHEREAS, Plaintiffs allege generally that Postmates improperly classified them

12 and all putative Settlement Class Members as independent contractors rather than employees,

13 and assert derivative claims related thereto;

14          1.6.    WHEREAS, Postmates denies the allegations in the Action; maintains that each

15 courier’s claims must be individually arbitrated pursuant to any arbitration agreement to which

16 that courier may be bound; denies that it has engaged in any wrongdoing; denies that any

17 Settlement Class Member was ever an employee of Postmates; denies that Plaintiffs’ allegations

18 state valid claims; denies that a litigation class could properly be certified in the Action; denies

19 that Plaintiffs’ claims could properly be maintained as a collective, class or representative

20 action; and states that it is entering into this Settlement Agreement solely to eliminate the

21 burden, expense, and delay of further litigation and arbitrations, and on the express conditions

22 that: (a) if for any reason the Settlement is not finalized according to the terms of this

23 Agreement, the Settlement and the documents generated as a result of the Settlement shall be

24 void ab initio, and shall not be admissible or usable for any purpose in any of the cases included

25 in the Action or any other civil or administrative proceeding or arbitration; and (b) this

26 Settlement and the documents generated as a result of the Settlement are not admissible or

27                                                 4
                         CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
28                                      Case No. CGC-18-567868

                                                                                                WP0030
  Case 2:20-cv-02783-PSG-JEM Document 45-1 Filed 05/22/20 Page 31 of 129 Page ID
                                    #:2495



 1 usable in any other civil or administrative proceeding or arbitration, except to the extent

 2 necessary to enforce this Settlement and the orders, judgment and agreements arising from this

 3 Settlement;

 4          1.7.    WHEREAS, a bona fide dispute exists as to whether any amount of wages or

 5 penalties are due from Postmates to any putative Settlement Class Member or to the California

 6 Labor and Workforce Development Agency (“LWDA”);

 7          1.8.    WHEREAS, in preparation for mediation, Postmates and Plaintiffs engaged in

 8 extensive informal discovery, exchanging information, documents and voluminous data, which
 9 enabled the parties and the mediator to thoroughly evaluate Plaintiffs’ claims and the claims of

10 the putative Settlement Class Members, and the likely outcomes, risks, and expense of pursuing

11 litigation;

12          1.9.    WHEREAS, the Plaintiffs and Postmates attended an in-person mediation

13 session with professional mediator Tripper Ortman of Ortman Mediation, who is experienced in

14 mediating class action disputes, before agreeing to the terms of this arm’s-length Settlement;

15          1.10.   WHEREAS, as a result of the mediation, Plaintiffs and Plaintiffs’ Counsel

16 believe that the global Settlement provides a favorable recovery for the Settlement Class, based

17 on the claims asserted, the evidence developed, and the damages that might be proven against

18 Postmates in the Action. The Plaintiffs and Plaintiffs’ Counsel further recognize and

19 acknowledge the expense and length of continued proceedings necessary to prosecute the

20 Action against Postmates through trial and appeals. They also have considered the uncertain

21 outcome and the risk of any litigation, especially in complex litigation such as the Action, as

22 well as the difficulties and delays inherent in any such litigation. They are also mindful of the

23 inherent challenges of proof and the strength of the defenses to the alleged claims, and therefore

24 believe that it is desirable that the Released Claims be fully and finally compromised, settled,

25 and resolved with prejudice as set forth herein, subject to the approval of the Court;

26

27                                                5
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 1          1.11.   WHEREAS, Plaintiffs and Plaintiffs’ Counsel, based on their own independent

 2 investigations and evaluations, have examined the benefits to be obtained under the terms of this

 3 Settlement Agreement, have considered the claims of the Plaintiffs, the claims of the average

 4 Settlement Class Member, the risks associated with the continued prosecution of the Action, and

 5 the likelihood of success on the merits of the Action, and believe that, after considering all the

 6 circumstances, including the uncertainties surrounding the risk of further litigation and the

 7 defenses that Postmates has asserted and could assert, the proposed Settlement set forth in this

 8 Agreement is fair, reasonable, adequate, in the best interests of the Plaintiffs and the Settlement
 9 Class, and confers substantial benefits upon the Settlement Class;

10          1.12.   WHEREAS, Plaintiffs warrant and represent that they are effecting this

11 Settlement and executing this Agreement after having received full legal advice as to their

12 respective rights and have had the opportunity to obtain independent counsel to review this

13 Agreement;

14          1.13.   WHEREAS, the Parties further agree that the Agreement, the fact of this

15 Settlement, any of the terms of this Agreement, and any documents filed in connection with the

16 Settlement shall not constitute, or be offered, received, claimed, construed, or deemed as, an

17 admission, finding, or evidence of: (i) any wrongdoing by any Released Parties; (ii) any

18 violation of any statute, law, or regulation by Released Parties; (iii) any liability on the claims or

19 allegations in the Action on the part of any Released Parties; (iv) any waiver of Postmates’ right

20 to arbitration or the enforceability of any Postmates arbitration agreement; or (v) the propriety

21 of certifying a litigation class or pursuing representative relief under PAGA in the Action or any

22 other proceeding; and shall not be used by any Person for any purpose whatsoever in any

23 administrative or legal proceeding, including but not limited to arbitrations, other than a

24 proceeding to enforce the terms of the Agreement. There has been no final determination by

25 any court as to the merits of the claims asserted by Plaintiffs against Postmates, nor has there

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27                                                 6
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 1 been any final determination as to whether a class should be certified or whether representative

 2 claims may properly be pursued, other than for settlement purposes only;

 3          1.14.   WHEREAS, for settlement purposes only, Postmates will stipulate to the

 4 certification of class claims that are subject to the certification requirements of California Code

 5 of Civil Procedure section 382, on the express condition that if this Settlement Agreement is not

 6 preliminarily or finally approved, this paragraph, the Settlement Agreement, and any class

 7 certified pursuant to the Settlement Agreement are all void ab initio. Postmates disputes that

 8 certification is proper for the purposes of litigating the class claims proposed in or flowing from
 9 the claims asserted in the Rimler, Lee, or Albert lawsuits;

10          1.15.   WHEREAS, the Parties desire to compromise and settle all Released Claims,

11 including, all issues and claims that have been, could have been, or should have been brought

12 against Postmates or related persons in the Action, and all claims brought on a putative class

13 and representative basis in the Rimler, Lee, and Albert lawsuits;

14          1.16.   NOW, THEREFORE, IT IS HEREBY STIPULATED, CONSENTED TO, AND

15 AGREED, by the Plaintiffs for themselves and on behalf of the Settlement Class and by

16 Postmates, that, subject to the approval of the Court, the Action (including Rimler, Lee, and

17 Albert, the lawsuits that comprise the Action) shall be settled, compromised, and dismissed, on

18 the merits and with prejudice, and the Released Claims shall be finally and fully compromised,

19 settled, and dismissed as to the Released Parties, in the manner and upon the terms and

20 conditions hereafter set forth in this Settlement Agreement.

21          II.     DEFINITIONS
22          In addition to the terms defined elsewhere in this Settlement Agreement, capitalized
23 terms used in this Settlement Agreement shall have the meanings set forth below:

24          2.1     “Authorized Claimant” means any Settlement Class Member who submits a
25 valid and timely Claim that qualifies for a payment under the terms of this Settlement

26

27                                                7
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 1 Agreement and who by validly and timely submitting the Claim using the Claim Form consents

 2 to join as a party plaintiff in the Fair Labor Standards Act (“FLSA”) claims in this Action.

 3          2.2     “Authorized Claimants’ Released Claims” means all of the Settlement Class

 4 Members’ Released Claims as well as any and all claims, debts, liabilities, demands, obligations,

 5 guarantees, penalties, costs, expenses, attorneys’ fees, damages, liquidated damages, action or

 6 causes of action of whatever kind or nature, whether known or unknown, contingent or accrued,

 7 against the Released Parties or any of them based on putative violations of federal law based on

 8 or related to the claims asserted in or that could have been asserted in this Action under the
 9 FLSA. “Authorized Claimants’ Released Claims” include any unknown claims that an

10 Authorized Claimant does not know or suspect to exist in his or her favor, which if known by

11 him or her, might have affected this Settlement Agreement and release of the Released Parties.

12          2.3     “Bar Date” means the final time and date by which a Claim Form must be

13 postmarked or submitted to the Settlement Administrator for a Settlement Class Member to be

14 eligible to receive an Individual Settlement Payment. The Bar Date shall be sixty (60) days

15 after the Notice Distribution Date and shall be specifically identified and set forth in the

16 Preliminary Approval Order and the Settlement Class Notice.

17          2.4     “Claim” means the submission to be made by a Settlement Class Member using

18 the Claim Form, which form shall serve as the Settlement Class Member’s means of requesting

19 payment from the Total Settlement Amount and serve as that Settlement Class Member’s

20 Consent to Join as a party plaintiff to the FLSA claims asserted in this Action pursuant to 29

21 U.S.C. § 216(b).

22          2.5     “Claim Form” means the document included in the Settlement Class Notice

23 without material variation from the relevant portion of Exhibit A. The Claim Form, if signed by

24 a Settlement Class Member and timely and validly submitted to the Settlement Administrator,

25 shall serve as that Settlement Class Member’s Consent to Join as a party plaintiff to the FLSA

26 claims asserted in this Action pursuant to 29 U.S.C. § 216(b), and effect a full and complete

27                                                 8
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 1 release of all claims under the FLSA based on or reasonably related to the claims asserted in this

 2 Action. To be valid, a Claim Form must be signed without any deletion or amendment to its

 3 language regarding the release of the FLSA claims and without any deletion or amendment to

 4 any other portion. If the Court does not finally approve this Settlement Agreement, any Consent

 5 to Join and release of the FLSA claims filed on behalf of any Settlement Class Member shall be

 6 void ab initio.

 7          2.6      “Consent to Join” means a Settlement Class Member’s consent to join as a party

 8 plaintiff to the FLSA claims asserted in this Action pursuant to 29 U.S.C. § 216(b). A
 9 Settlement Class Member’s signed Claim Form that is timely and validly submitted to the

10 Settlement Administrator shall serve as that Settlement Class Member’s Consent to Join.

11          2.7      “Courier” means any individual who has been approved to use or has used the

12 Postmates platform as an independent contractor courier.

13          2.8      “Superior Court” means the Superior Court of California, San Francisco County.

14          2.9      “Dispute Resolution Fund” means the fund consisting of Two Hundred and Fifty

15 Thousand dollars and no cents ($250,000) set aside from the Total Settlement Amount to be

16 used: (i) to resolve any bona fide disputes that may arise regarding the calculation and

17 disbursement of Individual Settlement Payments according to the Plan of Allocation, as

18 provided in Section III(8)(f); and (ii) to disburse Individual Settlement Payments to individuals

19 mistakenly excluded from the Settlement Class, as provided in Section III(8)(f). The Dispute

20 Resolution Fund shall be paid from the Total Settlement Amount.

21          2.10     “Effective Date” means seven (7) days after which both of the following events

22 have occurred: (i) the Court’s Final Approval order and Judgment has been entered, and (ii) the

23 Court’s Final Approval order and Judgment have become Final.

24          2.11     “Estimated Miles” means the estimated total number of miles from the location

25 where a delivery offer is accepted to the location where orders are picked up and to the location

26

27                                                 9
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 1 where orders are delivered, for each Settlement Class Member during the Settlement Period, as

 2 determined by Postmates’ records.

 3          2.12    “Exclusion/Objection Deadline” means the final date by which a Settlement

 4 Class Member may either (i) object to any aspect of the Settlement (pursuant to the Preliminary

 5 Approval Order and Section VIII), or (ii) request to be excluded from the Settlement (pursuant

 6 to the Preliminary Approval Order and Section VII). The Exclusion/Objection Deadline shall

 7 be sixty (60) days after the Notice Distribution Date, and shall be specifically identified and set

 8 forth in the Preliminary Approval Order and the Settlement Class Notice.
 9          2.13    “Final” when referring to a judgment or order, means that (i) the judgment is a

10 final, appealable judgment; and (ii) either (a) no appeal has been taken from the judgment as of

11 the date on which all times to appeal therefrom have expired, or (b) an appeal or other review

12 proceeding of the judgment having been commenced, such appeal or other review is finally

13 concluded and no longer is subject to review by any court, whether by appeal, petitions for

14 rehearing or re-argument, petitions for re-hearing en banc, petitions for writ of certiorari, or

15 otherwise, and such appeal or other review has been finally resolved in such manner that affirms

16 the judgment order in its entirety.

17          2.14    “Final Approval” means the Court’s entry of an order that the Named Plaintiffs

18 and Postmates will seek from the Court, to be agreed upon by the Parties, and the entry of which

19 shall reflect the Court’s Judgment finally approving the Settlement Agreement.

20          2.15    “Final Approval Hearing” means the hearing that is to take place after the entry

21 of the Preliminary Approval Order and after the Notice Distribution Date for purposes of: (i)

22 entering Final Approval; (ii) determining whether the Settlement Agreement shall be approved

23 as fair, reasonable, and adequate; (iii) ruling upon an application by Settlement Class Counsel

24 for Attorneys’ Fees; and (iv) ruling on the application for a Settlement Class Counsel Award.

25          2.16    “General Released Claims” includes all of the Settlement Class Members’

26 Released Claims, with the addition of: (i) violations of Title VII of the Civil Rights Act of 1964;

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 1 (ii) violations of the Civil Rights Act of 1866; (iii) violations of the Americans with Disabilities

 2 Act; (iv) violations of any and all potential claims against Postmates that could be brought under

 3 corresponding state or local law; and (v) any claims for wages, penalties, breach of an express

 4 or implied contract, breach of the covenant of good faith and fair dealing, breach of fiduciary

 5 duty, fraud, misrepresentation, defamation, slander, retaliation, discrimination, harassment,

 6 wrongful termination, infliction of emotional distress, loss of future earnings or profits or any

 7 other claims based upon any state or federal public policy, or any other alleged wrongful

 8 conduct or injury, arising out of or in any way connected with any acts or omissions occurring
 9 during the Settlement Period, based on the claims that were alleged in the Action or that arise

10 out of or relate to Plaintiffs’ relationship with Postmates or the services Plaintiffs provided

11 using Postmates’ platform, or that arise out of or relate to the facts alleged in the action, in

12 addition to all claims based on or arising under the federal and state law sections included in the

13 Settlement Class Members’ Released Claims and any other equivalent federal, state, or local

14 law of any state or locality in which Plaintiffs reside and/or used Postmates’ platform as an

15 independent contractor courier.

16          2.17    “Individual Settlement Payment” means the amount payable from the Total

17 Settlement Amount to each Settlement Class Member who does not timely and properly request

18 exclusion from the Settlement Class and submits a Claim Form. The Individual Settlement

19 Payment shall be calculated pursuant to Section V herein.

20          2.18    “Judgment” means the judgment to be entered in the Action on Final Approval of

21 this Settlement.

22          2.19    “Legally Authorized Representatives” means an administrator/administratrix,

23 personal representative, or executor/executrix of a deceased Settlement Class Member’s estate;

24 a guardian, conservator, or next friend of an incapacitated Settlement Class Member; or any

25 other legally appointed Person responsible for handling the business affairs of a Settlement

26 Class Member who is not the Settlement Class Member’s counsel.

27                                                11
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 1          2.20    “Notice Distribution Date” means the date of the initial distribution of the

 2 Settlement Class Notice to Settlement Class Members as set forth in Section VI.

 3          2.21    “Opt-Out List” means the Court-approved list of all persons who timely and

 4 properly request exclusion from the Settlement Class as set forth in Section VII.

 5          2.22    “PAGA Claims” means Plaintiffs Rimler, Jones, and Albert’s representative

 6 claims seeking penalties pursuant to PAGA, as alleged in the Rimler and Albert Complaints

 7 and/or based on any other provision of the Labor Code, Wage Orders, or any other statute or

 8 regulation based upon independent contractor misclassification to the fullest extent permitted by
 9 law.

10          2.23    “PAGA Payment” means a total payment of $250,000 to settle all claims under

11 the PAGA. From this amount, 75% will be paid to the LWDA for civil penalties pursuant to the

12 PAGA and 25% will be distributed to Settlement Class Members.

13          2.24    “Plaintiffs” means Jacob Rimler, Giovanni Jones, Dora Lee, Kellyn Timmerman,

14 and Joshua Albert.

15          2.25    “Plaintiffs’ Counsel” means Lichten & Liss-Riordan, P.C.

16          2.26    “Plan of Allocation” means the plan for allocating the Total Settlement Amount

17 between and among Settlement Class Members as approved by the Court.

18          2.27    “Preliminary Approval Date” means the date that the Court enters the

19 Preliminary Approval Order and thus: (i) preliminarily approves the Settlement Agreement, and

20 the exhibits thereto, and (ii) enters an order providing for notice to the Settlement Class, an

21 opportunity to opt out of the Settlement Class, an opportunity to submit timely objections to the

22 Settlement, a procedure for submitting Claims, and setting a hearing on the fairness of the terms

23 of the Settlement Agreement, including approval of the Settlement Class Counsel Award.

24          2.28    “Preliminary Approval Order” means the order that the Plaintiffs and Postmates

25 will seek from the Court, without material variation from Exhibit B. Entry of the Preliminary

26 Approval Order shall constitute preliminary approval of the Settlement Agreement.

27                                                12
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 1           2.29   “Released Claims” shall be construed as broadly as possible to effect complete

 2 finality over this litigation involving Postmates. “Released Claims” include (i) Settlement Class

 3 Members’ Released Claims, (ii) General Released Claims, and (iii) Authorized Claimants’

 4 Released Claims. Notwithstanding any other provision of this Settlement Agreement,

 5 “Released Claims” do not include claims for personal injuries. Moreover, the release of any

 6 claims under the FLSA contemplated by this Settlement Agreement shall be effectuated only

 7 after a Settlement Class Member has timely and validly submitted a Claim and thereby

 8 Consented to Join as a party to the FLSA claims asserted in this action pursuant to 29 U.S.C. §
 9 216(b).

10           2.30   “Released Parties” means (i) Postmates Inc. and its past, present, and future

11 parents, subsidiaries, affiliates, divisions, joint ventures, licensees, franchisees, and any other

12 legal entities, whether foreign or domestic, that are owned or controlled by Postmates (but not

13 including couriers who use the Postmates platform); and (ii) the past, present, and future

14 shareholders, officers, directors, members, investors, agents, employees, agents, consultants,

15 representatives, fiduciaries, insurers, attorneys, legal representatives, predecessors, successors,

16 and assigns of the entities listed in (i).

17           2.31   “Second Amended Complaint” means the Second Amended Complaint, without

18 material variation from Exhibit C, that Settlement Class Counsel shall seek to file in Rimler, the

19 lead lawsuit, pursuant to Paragraph 3.6 and shall file concurrently with the submission of the

20 motion for preliminary approval of the Settlement so that the Second Amended Complaint may

21 be filed promptly upon entry of the Preliminary Approval Order. The Second Amended

22 Complaint shall (i) add Dora Lee, Kellyn Timmerman, and Joshua Albert as named Plaintiffs,

23 and (ii) add the claims alleged in the Lee and Albert actions, including any and all class and

24 representative action claims, and also any and all potential claims necessary to effectuate the

25 release described herein.

26

27                                                13
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 1          2.32    “Service Awards” means the amount approved by the Court to be paid to each

 2 Plaintiff in addition to their respective Individual Settlement Payments, in recognition of their

 3 efforts in coming forward as named plaintiffs and as consideration for a full, general, and

 4 comprehensive release of the General Released Claims. The Service Award amount payable to

 5 Plaintiffs is not to exceed Five Thousand Dollars ($5,000) each.

 6          2.33    “Settlement” means the settlement of this Action between and among Plaintiffs

 7 and Postmates, as set forth in this Settlement Agreement, including all attached Exhibits, which

 8 are an integral part of this Settlement Agreement and are incorporated in their entirety by
 9 reference.

10          2.34    “Settlement Administrator” means the administrator selected by the parties,

11 Simpluris.

12          2.35    “Settlement Administrator Expenses” means the maximum amount to be paid to

13 the Settlement Administrator from the Total Settlement Amount, which shall be $450,000. All

14 Settlement Administrator Expenses are to be paid exclusively from the Total Settlement

15 Amount.

16          2.36    “Settlement Class” means any and all individuals who entered into an agreement

17 with Postmates to use the Postmates platform as an independent contractor to offer delivery

18 services to customers, and used the Postmates platform as an independent contractor courier to

19 accept or complete at least one delivery in California during the Settlement Period.

20          2.37   “Settlement Class Counsel” means Lichten & Liss-Riordan, P.C.

21          2.38   “Settlement Class Counsel Award” means (i) the attorneys’ fees for Settlement

22 Class Counsel’s litigation and resolution of the Action, including the Rimler, Lee, and Albert

23 lawsuits, and any and all arbitrations and claims resolved by this Settlement, as awarded by the

24 Court, and (ii) all expenses and costs incurred by Settlement Class Counsel in connection with

25 litigation and resolution of Rimler, Lee, and Albert, and any and all arbitrations and claims

26

27                                               14
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 1 resolved by this Settlement, as awarded by the Court, which, together, may not exceed thirty-

 2 three percent (33%) of the Total Settlement Amount.

 3          2.39    “Settlement Class Information” means information regarding Settlement Class

 4 Members that Postmates will in good faith compile from its records and provide to the

 5 Settlement Administrator, solely for purposes of the Settlement Administrator’s administration

 6 of the settlement, and for no other purpose. Settlement Class Information shall be provided to

 7 the Settlement Administrator and shall include, if possible, for each Settlement Class Member:

 8 full name, last known address, email address, and Estimated Miles. Because Settlement Class
 9 Members’ private information is included in the Settlement Class Information, the Settlement

10 Administrator shall maintain the Settlement Class Information in confidence and shall use and

11 disclose Settlement Class Information only for purposes of this Settlement and for no other

12 purpose; access shall be limited to employees of the Settlement Administrator with a need to use

13 the Settlement Class Information as part of the administration of the Settlement.

14          2.40    “Settlement Class Member” means any member of the Settlement Class.

15          2.41    “Settlement Class Members’ Released Claims” means any and all present and

16 past claims, actions, demands, causes of action, suits, debts, guarantees, obligations, damages,

17 penalties, rights or liabilities, of any nature and description whatsoever, known or unknown,

18 existing or potential, recognized now or hereafter, contingent or accrued, expected or

19 unexpected, pursuant to any theory of recovery (including but not limited to those based in

20 contract or tort, common law or equity, federal, state, or local law, statute, ordinance, or

21 regulation, and for claims for compensatory, consequential, punitive or exemplary damages,

22 statutory damages, penalties, interest, attorneys’ fees, costs, or disbursements) that are based on

23 or reasonably related to the claims alleged in or that could have been alleged in the Rimler

24 Second Amended Complaint, including any allegations in Lee, Albert, and/or Rimler preceding

25 said amended complaint, and all misclassification claims, and specifically including: claims

26 pursuant to the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.; California Labor

27                                                15
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 1 Code sections 132a, 201-204, 206.5, 207, 208, 210-214, 216, 218, 218.5, 218.6, 221-224, 225.5,

 2 226, 226.3, 226.7, 226.8, 227, 227.3, 245-249, 351, 353, 432.5, 450, 510, 512, 551-552, 558,

 3 1174, 1174.5, 1182.12, 1194, 1194.2, 1194.3, 1197, 1197.1, 1198, 2753, 2802, 2804; the Private

 4 Attorneys General Act (“PAGA”), California Labor Code section 2698 et seq.; California Code

 5 of Civil Procedure section 1021.5; California Code of Regulations, title 8, sections 11010 and

 6 11040; Industrial Welfare Commission Wage Orders; California Business and Professions Code

 7 sections 17200 et seq.; and any other similar state, federal, local, or common law, statute,

 8 regulation, or ordinance for unpaid wages, minimum wages, regular wages, tips, overtime
 9 wages (including but not limited to calculation of the correct overtime or regular rate), working

10 more than six days in seven, expense reimbursement, wage statements, payroll recordkeeping,

11 reporting time, improper deduction of wages, failure to provide workers’ compensation

12 insurance, meal periods, rest breaks, sick leave, final pay, penalties for timely payment of wages

13 upon discharge, waiting time penalties, PAGA penalties, unfair business practices, all claims

14 arising out of or relating to the statutory causes of action described herein, restitution, interest,

15 costs and expenses, attorneys’ fees, declaratory relief, injunctive relief, liquidated damages,

16 exemplary or punitive damages, civil penalties, equitable remedies, and/or pre- or post-

17 judgment interest at any time during the Settlement Period.

18          2.42    “Settlement Class Notice” means the notice of class, representative, and

19 collective action settlement and enclosed Claim Form to be provided to Settlement Class

20 Members, without material variation from the relevant portion of Exhibit A.

21          2.43    “Settlement Period” means June 3, 2017 through October 17, 2019.

22          2.44    “Total Settlement Amount” means Eleven Million Five Hundred Thousand

23 Dollars and zero cents ($11,500,000), which will resolve all Released Claims, and is the

24 maximum amount that Postmates is obligated to pay under this Settlement Agreement under any

25 circumstances to resolve and settle this Action, subject to Court approval. The Total Settlement

26 Amount includes all costs and fees, including, but not limited to, the Settlement Class Counsel

27                                                16
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 1 Award, Settlement Administrator Expenses, escrow costs and expenses, Service Awards,

 2 interest, taxes and tax expenses, all payments to the Settlement Class and Plaintiffs, Settlement

 3 Class Members’ tax obligations arising out of the Settlement, and the PAGA Payment.

 4          2.45     “Void Date” means the date by which any checks issued to Settlement Class

 5 Members shall become void, i.e., on the 181st day after mailing.

 6          III. SUBMISSION OF THE SETTLEMENT AGREEMENT TO THE COURT
            FOR PRELIMINARY AND FINAL APPROVAL
 7
            3.1     Upon execution of this Settlement Agreement, the Plaintiffs shall submit to the
 8
     Court a motion for preliminary approval of the Settlement. The motion for preliminary
 9
     approval shall include a proposed plan for sending the Settlement Class Notice to Settlement
10
     Class Members within twenty (20) days after the Preliminary Approval Date (the “Notice
11
     Distribution Date”), and establishing a period of sixty (60) days from the Notice Distribution
12
     Date within which any Settlement Class Member (i) may request exclusion from the respective
13
     Settlement Class, (ii) object to the proposed Settlement, or (iii) object to Settlement Class
14
     Counsel’s request for the Settlement Class Counsel Award and for Service Awards to the
15
     Plaintiffs (the Exclusion/Objection Deadline). The motion for preliminary approval shall also
16
     request that any hearing on final approval of the Settlement and any determination on the
17
     request for a Settlement Class Counsel Award and Service Awards (the Final Approval
18
     Hearing) be set for after the Exclusion/Objection Deadline; that Settlement Class Counsel shall
19
     file a petition for the Settlement Class Counsel Award and Service Awards at least twenty-one
20
     (21) days before the Exclusion/Objection Deadline; that any opposition briefs on such motions
21
     and petitions be filed fourteen (14) days before the Final Approval Hearing; and that any reply
22
     briefs on such motions and petitions be filed seven (7) days before the Final Approval Hearing.
23
            3.2     The Parties stipulate, for settlement purposes only, to certification of the
24
     Settlement Class under California Code of Civil Procedure § 382 and California Rules of Court,
25
     Rule 3.769, excluding the Settlement Class’s PAGA Claims, on the express condition that if the
26
     Settlement is not Preliminarily or Finally Approved, this paragraph, the Settlement Agreement,
27                                                17
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 1 and any class certified pursuant to the Settlement Agreement are all void ab initio. The Parties

 2 also agree that this stipulation is in no way an admission that class certification is proper under

 3 the standard applied for litigation purposes, and that this stipulation shall not be admissible, and

 4 may not be used by any person for any purpose whatsoever, in any legal or administrative

 5 proceeding, including but not limited to arbitrations, other than a proceeding to enforce the

 6 terms of the Agreement, as further set forth in this Agreement. Postmates expressly reserves the

 7 right to oppose certification of any purported class should the settlement fail to become final

 8 and effective.
 9          3.3     The Settlement is not intended to and may not be deemed to affect the

10 enforceability of any arbitration agreement between Postmates and any member of the

11 Settlement Class, including Plaintiffs.

12          3.4     Settlement Class Counsel and Plaintiffs agree to cooperate in good faith and to

13 use their best efforts to seek a stay in the Lee Action and to keep the Albert Action stayed

14 pending Final Approval of the Settlement, and upon Final Approval of the Settlement,

15 Settlement Class Counsel and Plaintiffs agree to dismiss the Lee and Albert Actions with

16 prejudice.

17          3.5     The Parties stipulate to the form of, and agree to submit to the Court for its

18 consideration this Settlement Agreement, and the following Exhibits to this Settlement

19 Agreement: Settlement Class Notice (Exhibit A), [Proposed] Preliminary Approval Order

20 (Exhibit B), and [Proposed] Second Amended Complaint (Exhibit C).

21          3.6     Solely for purposes of implementing this Agreement and effectuating the

22 proposed Settlement, the Parties agree and stipulate that:

23                  3.6.1   Plaintiffs’ Counsel shall amend the letters sent on behalf of Plaintiffs to

24 the LWDA to add any and all claims alleged in the Rimler, Lee, and Albert actions, and any and

25 all potential claims necessary to effectuate the Released Claims.

26

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 1                 3.6.2   Plaintiffs shall seek the Court’s permission to file the Second Amended

 2 Complaint, without material variation from Exhibit C, and Postmates shall consent to such

 3 amendment pursuant to Cal. Rule of Court 3.1324. The Second Amended Complaint shall be

 4 filed concurrently with the submission of the motion for preliminary approval of the Settlement

 5 Agreement so that the Second Amended Complaint may be filed or deemed filed promptly upon

 6 entry of the Preliminary Approval Order. Obtaining the Court’s approval to file the Second

 7 Amended Complaint, the subsequent prompt entry of the Second Amended Complaint, and the

 8 dismissal of the Lee and Albert Actions are material conditions of this Settlement Agreement.
 9 The Parties agree that the filing of the Second Amended Complaint will streamline the

10 settlement process. The Parties further agree and stipulate that the allegations in the Second

11 Amended Complaint are deemed controverted by the answer previously filed by Postmates in

12 response to the currently operative complaint, such that no further responsive pleading from

13 Postmates is required. If for any reason the Settlement Agreement does not become Final or the

14 Effective Date does not occur, the Second Amended Complaint shall not be operative and shall

15 be deemed withdrawn; the parties agree to submit a stipulated motion to strike the Second

16 Amended Complaint, and agree the Court shall strike the allegations of the Second Amended

17 Complaint, so the operative complaint in the Rimler Action shall revert to the filed complaint

18 that preceded the Second Amended Complaint; the Lee and Albert Actions shall proceed based

19 on the operative complaints as currently filed; and the amended letters sent to the LWDA

20 pursuant to paragraph 3.6.1 shall be void ab initio.

21                 3.6.3   The Court may enter the Preliminary Approval Order, without material

22 variation from Exhibit B, preliminarily approving the Settlement and this Agreement. Among

23 other things, the Preliminary Approval Order shall grant leave to preliminarily certify the

24 Settlement Class for settlement purposes only; approve the Plaintiffs as class representatives,

25 appoint Settlement Class Counsel to represent the Settlement Class, and appoint the Settlement

26 Administrator; approve the Settlement Class Notice, and the notice plan embodied in the

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 1 Settlement Agreement, and approve them as consistent with California Code of Civil Procedure

 2 § 382 and Rules of Court, Rule 3.769 and due process; set out the requirements for disputing the

 3 information upon which Settlement Class Members’ share of the Settlement will be calculated,

 4 objecting to the Settlement Agreement, excluding Settlement Class Members from the

 5 Settlement Class, all as provided in this Settlement Agreement; provide that certification of the

 6 Settlement Class and all actions associated with each certification are undertaken on the

 7 condition that each certification and other actions shall be automatically vacated and of no force

 8 or evidentiary effect if this Agreement is terminated, as provided in this Agreement, or if the
 9 Settlement does not become Final; preliminarily enjoin all Settlement Class Members, and their

10 Legally Authorized Representatives and Plaintiffs’ Counsel, unless and until they submit a

11 timely request for exclusion pursuant to the Settlement Agreement, from attempting to effect an

12 opt-out of a group, class, or subclass of individuals; and schedule the Final Approval Hearing.

13          3.7     Within 10 days of the Preliminary Approval Date, Settlement Class Counsel will

14 notify the LWDA of the Preliminary Approval Order.

15          3.8     At the Final Approval Hearing, Plaintiffs shall request entry of a Final Approval

16 order and Judgment, to be agreed upon by the Parties, the entry of which is a material condition

17 of this Settlement and that, among other things:

18                  3.8.1   Finally approves the Settlement as fair, reasonable, and adequate and

19 directs its consummation pursuant to the terms of the Settlement Agreement;

20                  3.8.2   Finds that Settlement Class Counsel and Plaintiffs adequately represented

21 the Settlement Class for the purpose of entering into and implementing the Agreement;

22                  3.8.3   Re-confirms the appointment of the Settlement Administrator and finds

23 that the Settlement Administrator has fulfilled its initial duties under the Settlement;

24                  3.8.4   Finds that the Settlement Class Notice (i) constituted the best practicable

25 notice; (ii) constituted notice that was reasonably calculated, under the circumstances, to apprise

26 Settlement Class Members of the pendency of the Action, and their right to exclude themselves

27                                                20
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 1 from or object to the proposed settlement and to appear at the Final Approval Hearing; (iii) was

 2 reasonable and constituted due, adequate, and sufficient notice to all persons entitled to receive

 3 notice; and (iv) met all applicable requirements of California Rule of Court 3.769, due process,

 4 and any other applicable rules or law;

 5                  3.8.5   Approves the Opt-Out List and determines that the Opt-Out List is a

 6 complete list of all Settlement Class Members who have timely requested exclusion from the

 7 Settlement Class and, accordingly, shall neither share in the Settlement nor be bound by the

 8 Final Approval order and Judgment;
 9                  3.8.6   Directs that the Final Approval order and Judgment of dismissal shall be

10 final and entered forthwith;

11                  3.8.7   Without affecting the finality of the Final Approval order and Judgment,

12 retains continuing jurisdiction over the Plaintiffs, the Settlement Class and Postmates as to all

13 matters concerning the administration, consummation, and enforcement of this Settlement

14 Agreement;

15                  3.8.8   Adjudges that, as of the Final Approval Date, the Plaintiffs and all

16 Settlement Class Members who have not been excluded from the Settlement Class as provided

17 in the Opt-Out List approved by the Court, and their Legally Authorized Representatives, heirs,

18 estates, trustees, executors, administrators, principals, beneficiaries, representatives, agents,

19 assigns, and successors, and/or anyone claiming through them or acting or purporting to act for

20 them or on their behalf, regardless of whether they have received actual notice of the proposed

21 Settlement, have conclusively compromised, settled, discharged, and released the General

22 Released Claims (in the case of the Plaintiffs), the Authorized Claimants’ Released Claims (in

23 the case of the Authorized Claimants), and Settlement Class Members’ Released Claims (in the

24 case of the Settlement Class Members) against Postmates and the Released Parties, and are

25 bound by the provisions of this Settlement Agreement;

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 1                   3.8.9   Affirms that, notwithstanding the submission of a timely request for

 2 exclusion, Settlement Class Members will still be bound by the settlement and release of the

 3 PAGA Claims or remedies under the Judgment pursuant to Arias v. Superior Court (2009) 46

 4 Cal. 4th 969, as requests for exclusion do not apply to the PAGA Claims, and further affirms

 5 that the State’s claims for civil penalties pursuant to PAGA are also extinguished;

 6                   3.8.10 Declares this Agreement and the Final Approval order and Judgment to

 7 be binding on, and have res judicata and preclusive effect in, all pending and future lawsuits or

 8 other proceedings: (i) that encompass the Plaintiffs’ Claims, and that are maintained by or on
 9 behalf of Plaintiffs and/or their Legally Authorized Representatives, heirs, estates, trustees,

10 executors, administrators, principals, beneficiaries, representatives, agents, assigns, and

11 successors, and/or anyone claiming through them or acting or purporting to act for them or on

12 their behalf; and (ii) that encompass the Settlement Class Members’ Released Claims and that

13 are maintained by or on behalf of any Settlement Class Member who has not been excluded

14 from the Settlement Class as provided in the Opt-Out List approved by the Court and/or his or

15 her Legally Authorized Representatives, heirs, estates, trustees, executors, administrators,

16 principals, beneficiaries, representatives, agents, assigns, and successors, and/or anyone

17 claiming through them or acting or purporting to act for them or on their behalf, regardless of

18 whether the Settlement Class Member previously initiated or subsequently initiates individual

19 litigation, arbitration, or other proceedings encompassed by the Settlement Class Members’

20 Released Claims, and even if such Settlement Class Member never received actual notice of the

21 Action or this proposed Settlement;

22                   3.8.11 Determines that the Agreement and the Settlement provided for herein,

23 and any proceedings undertaken pursuant thereto, are not, and should not in any event be

24 offered, received, or construed as evidence of, or a presumption, concession, or admission by,

25 any Party of liability or non-liability or of the certifiability or non-certifiability of a litigation

26 class or collective, or that PAGA representative claims may validly be pursued, or of any

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 1 misrepresentation or omission in any statement or written document approved or made by any

 2 Party; provided, however, that reference may be made to this Agreement and the Settlement

 3 provided for herein in such proceedings as may be necessary to effectuate the provisions of this

 4 Agreement, as further set forth in this Agreement;

 5                  3.8.12 Directs Settlement Class Counsel to seek dismissal of the Lee and Albert

 6 Actions with prejudice within 14 days of Final Approval;

 7                  3.8.13 Orders that the preliminary approval of the Settlement, certification of the

 8 Settlement Class, and Final Approval of the proposed Settlement, and all actions associated with
 9 them, are undertaken on the condition that they shall be vacated and void ab initio if the

10 Settlement Agreement is terminated or disapproved in whole or in part by the Court, or any

11 appellate court and/or other court of review in which event the Agreement and the fact that it

12 was entered into shall not be offered, received, or construed as an admission or as evidence for

13 any purpose, including but not limited to an admission by any Party of liability or non-liability

14 or of any misrepresentation or omission in any statement or written document approved or made

15 by any Party, or of the certifiability of a litigation class or the appropriateness of maintaining a

16 representative action, as further provided in Section XI;

17                  3.8.14 Authorizes the Parties, with approval from the Court, to agree to and

18 adopt such amendments, modifications, and expansions of this Agreement, including all

19 Exhibits hereto, as (i) shall be consistent in all material respects with the Final Approval order

20 and (ii) do not limit the rights of Settlement Class Members; and

21                  3.8.15 Contains such other and further provisions consistent with the terms of

22 this Settlement Agreement to which the Parties expressly consent in writing.

23          3.9     At the Final Approval Hearing and as a part of the final approval of this

24 Settlement, Settlement Class Counsel will also request approval of the Plan of Allocation set

25 forth in Section V. Any modification to the Plan of Allocation by the Court shall not (i) affect

26 the enforceability of the Settlement Agreement, (ii) provide any of the Parties with the right to

27                                                23
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 1 terminate the Settlement Agreement, or (iii) impose any obligation on Postmates to increase the

 2 consideration paid in connection with the Settlement.

 3          3.10   At the Final Approval Hearing, Settlement Class Counsel may also request entry

 4 of an Order approving the Settlement Class Counsel Award and for the Service Awards to the

 5 Plaintiffs. Any such Settlement Class Counsel Award or Service Award shall be paid

 6 exclusively from the Total Settlement Payment. In no event shall any Released Party otherwise

 7 be obligated to pay for any attorneys’ fees and expenses or Service Awards. The disposition of

 8 Settlement Class Counsel’s application for a Settlement Class Counsel Award, and for Service
 9 Awards, is within the sound discretion of the Court and is not a material term of this Settlement

10 Agreement, and it is not a condition of this Settlement Agreement that such application be

11 granted. Any disapproval or modification of such application by the Court shall not (i) affect

12 the enforceability of the Settlement Agreement, (ii) provide any of the Parties with the right to

13 terminate the Settlement Agreement, or (iii) increase the consideration any Released Party pays

14 in connection with the Settlement.

15          3.11   In no event shall any Released Party be obligated to pay settlement

16 administration expenses beyond those provided for in this Agreement.

17          3.12   Within 10 days after entry of Judgment, Settlement Class Counsel will provide a

18 copy of the Judgment to the LWDA.

19          IV.    SETTLEMENT CONSIDERATION
20          4.1    The Total Settlement Amount is $11,500,000. This is an “all in” number that
21 will resolve all Released Claims, and which includes, without limitation, all monetary benefits

22 and payments to the Settlement Class and Plaintiffs, Service Awards, Settlement Class Counsel

23 Award, Settlement Administrator Expenses, and the PAGA Payment, and all claims for interest,

24 fees, and costs. Under no circumstances shall Postmates be required to pay anything more than

25 the Total Settlement Amount. In no event shall Postmates be liable for making any payments

26

27                                               24
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 1 under this Settlement, or for providing any relief to Settlement Class Members, before the

 2 deadlines set forth in this Agreement.

 3          4.2    The Plaintiffs and all Settlement Class Members who receive a payment of any

 4 kind from the Total Settlement Amount (including, in the case of the Plaintiffs, Service Awards)

 5 expressly acknowledge that such payments shall be considered non-wages for which an IRS

 6 Form 1099 will be issued, if required. The Plaintiffs and all Settlement Class Members who

 7 receive a payment of any kind from the Total Settlement Amount agree to timely pay in full all

 8 of the federal, state, and municipal income taxes owed on such payments.
 9          4.3    The terms of this Agreement relating to the Service Awards and Settlement Class

10 Counsel Award were not negotiated by the Parties before full agreement was reached as to all

11 other material terms of the proposed Settlement, including, but not limited to, any terms relating

12 to the relief to the Settlement Class. Postmates agrees to the amount of Service Awards (if any)

13 granted by the Superior Court. The Plaintiffs and Settlement Class Counsel agree not to seek

14 Service Awards in excess of the amounts described in Paragraph 2.32.

15          4.4    Settlement Class Counsel agrees not to seek an award of attorneys’ fees, costs

16 and expenses from the Court in excess of one third (1/3) of the Total Settlement Amount.

17 Postmates agrees to the amount of attorneys’ fees, costs and expenses (if any) granted by the

18 Superior Court.

19          4.5    The payment of the Settlement Class Counsel Award, the Service Awards, the

20 Settlement Administrator Expenses, the Individual Settlement Payments, and the PAGA

21 Payment shall be made by the Settlement Administrator from the Total Settlement Amount

22 within thirty (30) days after the Effective Date.

23          4.6    The Settlement Administrator shall pay the Settlement Class Counsel Award by

24 check, payable to “Lichten & Liss-Riordan, P.C.” Settlement Class Counsel shall provide the

25 Settlement Administrator notice of receipt of the Settlement Class Counsel Award.

26          V.     FUNDING AND ALLOCATION OF THE SETTLEMENT
27                                               25
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 1          5.1    Within fourteen (14) calendar days following the Effective Date, Postmates shall

 2 provide the Total Settlement Amount ($11,500,000) to the Settlement Administrator. The

 3 Settlement Administrator shall thereafter distribute the funds in the manner and at the times set

 4 forth in this Agreement.

 5          5.2    To receive an Individual Settlement Payment from the Total Settlement Amount,

 6 a Settlement Class Member or his or her Legally Authorized Representative must timely submit

 7 a Claim Form that satisfies the requirements of paragraph 5.3, must not have submitted a

 8 request for exclusion, and must be eligible for a payment under the Plan of Allocation.
 9          5.3    A Claim Form is timely if it is postmarked by the Bar Date and mailed or

10 submitted as an attachment to an email to the Settlement Administrator at the address in the

11 Settlement Class Notice, or if it is submitted online to the Settlement Administrator, in

12 accordance with the online submission instructions to be provided by the Settlement

13 Administrator, by the Bar Date. The Claim Form must be signed (electronically, if submitted

14 via online portal) under penalty of perjury. To be valid, a Claim Form must be signed without

15 any deletion or amendment to its language regarding the release of FLSA claims and without

16 any deletion or amendment to any other portion.

17          5.4    Settlement Class Members who timely submit a Claim Form will receive their

18 proportionate share of the Total Settlement Amount. No Settlement Class Member who timely

19 submits a Claim Form will receive less than $10.

20          5.5    Settlement Class Members are not eligible to receive any compensation other

21 than the Individual Settlement Payment.

22          5.6    The Settlement Administrator shall calculate and distribute the Individual

23 Settlement Payments for the Settlement Class Members within thirty (30) days following the

24 Effective Date, provided Postmates has provided the Total Settlement Amount to the Settlement

25 Administrator in accordance with Paragraph 5.1.

26

27                                               26
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 1          5.7     Individual Settlement Payments shall be tied to the following distribution

 2 formula:
                    Settlement class members will be awarded points proportional to the estimated
 3                  number of miles driven while using the Postmates application as a courier, with
 4                  one point for every estimated mile driven. Settlement class members who either
                    opt out of arbitration, initiate arbitration, or demonstrate in writing an interest in
 5                  initiating an arbitration demand against Postmates prior to October 17, 2019 will
                    have their points doubled for purposes of this distribution formula (to account for,
 6                  from plaintiffs’ perspective, these drivers’ greater likelihood of having their
                    claims pursued, in light of Postmates’ arbitration clauses).
 7
     Postmates will produce Settlement Class Information needed for the allocation to be calculated.
 8
     The Total Settlement Amount is non-reversionary.
 9
            5.8     Following distribution of the Individual Settlement Payments to Settlement Class
10
     Members, any Settlement Class Members who received checks for more than $100 that remain
11
     uncashed more than 60 days after distribution will receive a reminder to cash their check. All
12
     funds not claimed prior to the Void Date (i.e. all funds from uncashed checks and any remaining
13
     funds in the Dispute Resolution Fund) shall be redistributed to the Settlement Class Members
14
     who received and cashed their Individual Settlement Payments (as well as to Settlement Class
15
     Members who submitted late claims by that date, to the extent that settlement funds remain
16
     available to pay these late claimants). These unclaimed funds shall be redistributed pursuant to
17
     the same formula described in Paragraph 5.7. These residual funds will only be distributed to
18
     Settlement Class Members for whom this second payment would be at least $50. The value of
19
     any uncashed checks following this residual distribution will be donated on a cy pres basis to
20
     Legal Aid at Work.
21
            5.9     The Individual Settlement Payments received shall be reported by the Settlement
22
     Administrator to the applicable governmental authorities on IRS Form 1099s (if required). The
23
     portions allocated to Service Awards shall likewise be reported on IRS Form 1099s by the
24
     Settlement Administrator. The Settlement Administrator shall be responsible for issuing copies
25
     of IRS Form 1099s for the Plaintiffs and Settlement Class Members.
26
            VI.     NOTICE PROCEDURES
27                                                 27
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 1          6.1    No more than fourteen (14) calendar days after entry of the Preliminary

 2 Approval Order, Postmates shall provide the Settlement Administrator with the Settlement

 3 Class Information for purposes of sending the Settlement Class Notice to Settlement Class

 4 Members.

 5          6.2    No more than twenty (20) calendar days after entry of the Preliminary Approval

 6 Order (on the Notice Distribution Date), the Settlement Administrator shall send the Settlement

 7 Class Notice to the Settlement Class Members, via electronic mail.

 8          6.3    The Settlement Class Notice will inform Settlement Class Members of their right

 9 to request exclusion from the Settlement, of their right to object to the Settlement, and of their

10 right to dispute the information upon which their share of the Settlement will be calculated and

11 the claims to be released.

12          6.4    The Settlement Class Notice shall include an explanation for how the Estimated

13 Miles will be used to calculate the Individual Settlement Payments. The Settlement

14 Administrator’s determination of the amount of any Settlement Class Member’s Estimated

15 Miles shall be binding upon the Settlement Class Member, and the Parties. There will be a

16 presumption that Postmates’ records are correct, absent evidence produced by a Settlement

17 Class Member to the contrary.

18          6.5    If any Settlement Class Notice sent via electronic mail to any Settlement Class

19 Member is undeliverable, the Settlement Administrator shall, within seven (7) days of an

20 undeliverable email, mail the Settlement Class Notice to each Settlement Class Member whose

21 Settlement Class Notice was undeliverable. Before mailing, the Settlement Administrator shall

22 make a good-faith attempt to obtain the most-current names and postal mail addresses for all

23 Settlement Class Members to receive such postal mail, including cross- checking the names

24 and/or postal mail addresses it received from Postmates, as well as any other sources, with

25 appropriate databases (e.g., the National Change of Address Database) and performing further

26 reasonable searches (e.g., through Lexis/Nexis) for more-current names and/or postal mail

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 1 addresses for Settlement Class Member. All Settlement Class Members’ names and postal mail

 2 addresses obtained through these sources shall be protected as confidential and not used for

 3 purposes other than the notice and administration of this Settlement. The Settlement

 4 Administrator shall exercise its best judgment to determine the current mailing address for each

 5 Settlement Class Member. The address determined by the Settlement Administrator as the

 6 current mailing address shall be presumed to be the best mailing address for each Settlement

 7 Class Member. The Bar Date and Exclusion/Objection Deadlines shall be extended as

 8 necessary in order to ensure that the Settlement Class Member receiving a mailed notice has
 9 sixty (60) days to submit a claim form or to opt-out or object to the Settlement.

10          6.6    If any Settlement Class Notice to a Settlement Class Member is returned to the

11 Settlement Administrator with a forwarding address, the Settlement Administrator shall forward

12 the postal mailing to that address. For any remaining returned postal mailings, the Settlement

13 Administrator shall make a good-faith search of an appropriate database (as described in the

14 preceding paragraph), and postal mailings shall be forwarded to any new postal mail address

15 obtained through such a search. In the event that any Settlement Class Notice is returned as

16 undeliverable a second time, no further postal mailing shall be required. The Settlement

17 Administrator shall maintain a log detailing the instances Settlement Class Notices are returned

18 as undeliverable.

19          6.7    At least two reminders will be sent to Settlement Class Members following the

20 initial Settlement Class Notice, and the parties will agree to any further reminders that may be

21 reasonably necessary to assure adequate opportunity for class members to participate in the

22 settlement. These reminders will be sent to Settlement Class Members who have not already

23 submitted a claim form, opt-out request, or objection. These reminders will be sent via email to

24 those Settlement Class Members whose emailed notices were not returned as undeliverable and

25 via mail for those Settlement Class Members who received their initial Settlement Class Notice

26 in the mail. Settlement class members who are expected to have their points doubled pursuant

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 1 to Paragraph 5.7 will receive at least one additional reminder (for a total of at least three

 2 reminders) advising them of their right to opt-out and continue to pursue their claims in

 3 arbitration or to release their claims in order to participate in the settlement.

 4          6.8     The Parties agree that the procedures set forth in this Section constitute

 5 reasonable and the best practicable notice under the circumstances and an appropriate and

 6 sufficient effort to locate current addresses for Settlement Class Members such that no

 7 additional efforts to do so shall be required.

 8          6.9     The Settlement Administrator will provide Settlement Class Notice by, at a

 9 minimum, (i) electronic mail notice without material variation from the form attached as the

10 relevant portion of Exhibit A; (ii) if necessary in accordance with Paragraph 6.7, first-class mail

11 (where available) notice without material variation from the relevant portion of Exhibit A; and

12 (iii) a content-neutral settlement website accessible to Settlement Class Members managed by

13 the Settlement Administrator, and approved by counsel for the Parties, which will contain

14 further information about the Settlement, including relevant pleadings. The Settlement Class

15 Notice shall comply with California Rule of Court 3.769 and due process.

16          6.10    Prior to the Final Approval Hearing, the Settlement Administrator shall prepare a

17 declaration of due diligence and proof of dissemination with regard to the mailing of the

18 Settlement Class Notice, and any attempts by the Settlement Administrator to locate Settlement

19 Class Members, its receipt of valid Claim Forms, Opt-outs, and Objections (and copies of same),

20 and its inability to deliver the Settlement Class Notice to Settlement Class Members due to

21 invalid addresses (“Due Diligence Declaration”), to Settlement Class Counsel and counsel for

22 Postmates for presentation to the Court. Settlement Class Counsel shall be responsible for filing

23 the Due Diligence Declaration with the Court.

24          6.11    If any individual whose name does not appear in the Settlement Class

25 Information, believes that he or she is a Settlement Class Member, he or she shall have the

26 opportunity to dispute his or her exclusion from the Settlement Class. If an individual believes

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 1 he or she is a Settlement Class Member, he or she must notify the Settlement Administrator by

 2 mail, email, or telephone within thirty (30) days after the distribution of the Settlement Class

 3 Notice. The Parties will meet and confer regarding any such individuals in an attempt to reach

 4 an agreement as to whether any such individual should be regarded as a Settlement Class

 5 Member. If the Parties so agree, such an individual will have all of the same rights as any other

 6 Settlement Class Member under this Agreement. In the event that the Parties agree that the

 7 individual is a Settlement Class Member, the Individual Settlement Payment to such individual

 8 shall be disbursed from the Dispute Resolution Fund, as long as sufficient money is left in the
 9 Dispute Resolution Fund. Under no circumstances will any action under this paragraph increase

10 the Total Settlement Amount.

11          VII.   PROCEDURES FOR REQUESTS FOR EXCLUSION
12          7.1    Settlement Class Members (with the exception of the Plaintiffs) may opt out of
13 the Settlement. Those who wish to exclude themselves (or “opt out”) from the Settlement Class

14 must submit timely, written requests for exclusion. To be effective, such a request must include

15 the Settlement Class Member’s name, address, and telephone number; a clear and unequivocal

16 statement that the Settlement Class Member wishes to be excluded from the Settlement Class;

17 and the signature of the Settlement Class Member or the Legally Authorized Representative

18 (who is not the Settlement Class Member’s counsel) of the Settlement Class Member. The

19 request must be mailed or emailed to the Settlement Administrator at the address provided in the

20 Settlement Class Notice and must be postmarked or emailed no later than the

21 Exclusion/Objection Deadline. The date of the postmark shall be the exclusive means used to

22 determine whether a request for exclusion has been timely submitted. Requests for exclusion

23 must be exercised individually by the Settlement Class Member, not as or on behalf of a group,

24 class, or subclass, except that such individual exclusion requests may be submitted by the

25 Settlement Class Member’s Legally Authorized Representative who is not the Settlement Class

26 Member’s counsel. All requests for exclusion must be submitted by the requesting Settlement

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 1 Class Member (or their Legally Authorized Representative who is not the Settlement Class

 2 Member’s counsel), even if the Settlement Class Member is represented by counsel.

 3          7.2    The Settlement Administrator shall promptly log each request for exclusion that

 4 it receives and provide copies of the log and all such requests for exclusion to Settlement Class

 5 Counsel and counsel for Postmates upon request. The Settlement Administrator shall

 6 automatically notify Settlement Class Counsel and counsel for Postmates if and when the

 7 number of timely-submitted requests for exclusion reaches 250.

 8          7.3    The Settlement Administrator shall prepare a list of all persons who timely and

 9 properly requested exclusion from the Settlement Class (the Opt-Out List) and shall, before the

10 Final Approval Hearing, submit an affidavit to the Court attesting to the accuracy of the list.

11          7.4    All Settlement Class Members who are not included in the Opt-Out List

12 approved by the Court shall be bound by this Settlement Agreement, and all their claims shall

13 be dismissed with prejudice and released as provided for herein, even if they never received

14 actual notice of the Action or this proposed Settlement.

15          7.5     In the event that a Settlement Class Member submits a request for exclusion that

16 the parties do not believe was timely and/or properly submitted, the Court shall determine

17 whether the request for exclusion was timely and properly submitted.

18          7.6    The Plaintiffs agree not to request exclusion from the Settlement Class.

19          7.7    Settlement Class Members may request exclusion from the Settlement. Any

20 such Settlement Class Member may also object to the PAGA portion of the Settlement.

21          7.8    Notwithstanding the submission of a timely request for exclusion, Settlement

22 Class Members will still be bound by the settlement and release of the PAGA Claims or

23 remedies under the Judgment pursuant to Arias v. Superior Court (2009) 46 Cal. 4th 969.

24 Requests for exclusion do not apply to the PAGA Claims, and will not be effective to preclude

25 the release of the PAGA Claims.

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 1          7.9    Settlement Class Members may object to or opt out of the Settlement, but may

 2 not do both. Any Settlement Class Member who submits a timely request for exclusion may not

 3 file an objection to the Settlement, submit a Claim, or receive a Settlement Payment, and shall

 4 be deemed to have waived any rights or benefits under the Settlement Agreement.

 5          7.10   No later than ten (10) business days after the Exclusion/Objection Deadline, the

 6 Settlement Administrator shall provide to Settlement Class Counsel and counsel for Postmates

 7 the Opt-Out List together with copies of the exclusion requests. Notwithstanding any other

 8 provision of this Settlement Agreement, if more than two hundred fifty (250) Settlement Class
 9 Members exercise their right to opt out of the Settlement, Postmates at its sole and absolute

10 discretion may rescind and revoke the Settlement Agreement by sending written notice that it

11 revokes the Settlement pursuant to this Paragraph to Settlement Class Counsel within fourteen

12 (14) business days following receipt of the Opt-Out List.

13          VIII. PROCEDURES FOR OBJECTIONS
14          8.1    Any Settlement Class Member who wishes to object to the fairness,
15 reasonableness, or adequacy of this Agreement or the proposed Settlement must provide to the

16 Settlement Administrator and/or file with the Court, a timely statement of the objection. The

17 Settlement Administrator shall promptly forward any objections to Settlement Class Counsel

18 and counsel for Postmates, who shall ensure that the objections are filed with the Court.

19          8.2    All written objections must (a) clearly identify the case name and number, (b) be
20 submitted to the Settlement Administrator by mail or email and/or to the Court (either by

21 mailing them to the Civil Clerk, Superior Court of California, San Francisco County, 400

22 McAllister St., Room 103, San Francisco, CA 94102, or by filing them in person at the same

23 address), and (c) be filed, emailed, or postmarked no later than the Exclusion/Objection

24 Deadline. The filing date, the date of the postmark on the return-mailing envelope, or the date

25 of the email shall be the exclusive means used to determine whether the written objection has

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 1 been timely submitted. If an objection is submitted using more than one method (e.g. if it is

 2 filed and mailed or mailed and emailed), the earlier date shall be used to determine timeliness.

 3          8.3     The objection must contain at least the following: (i) the objector’s full name,

 4 address, telephone, and signature; (ii) a clear reference to the Action; (iii) a statement of the

 5 basis for each objection argument; and (iv) a statement whether the objecting person or entity

 6 intends to appear at the Final Approval Hearing, either in person or through counsel and, if

 7 through counsel, a statement identifying that counsel by name, bar number, address, and

 8 telephone number. All objections shall be signed by the objecting Settlement Class Member (or
 9 his Legally Authorized Representative), even if the Settlement Class Member is represented by

10 counsel.

11          8.4     The right to object to the proposed Settlement must be exercised individually by

12 a Settlement Class Member. Attempted collective, group, class, or subclass objections shall be

13 ineffective and disregarded. Individual objections may be submitted by a Settlement Class

14 Member’s Legally Authorized Representative (who is not the Settlement Class member’s

15 counsel).

16          8.5     Settlement Class Members who object to the proposed Settlement shall remain

17 Settlement Class Members, and shall be deemed to have voluntarily waived their right to

18 exclude themselves from the Settlement Class or pursue an independent remedy against

19 Postmates and the Released Parties. To the extent any Settlement Class Member objects to the

20 proposed Settlement Agreement, and such objection is overruled in whole or in part, such

21 Settlement Class Member will be forever bound by the Final Approval order and Judgment.

22          8.6     It shall be Settlement Class Counsel’s sole responsibility to respond to any

23 objections made with respect to any application for the Settlement Class Counsel Award and

24 Service Awards.

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 1          IX.    RELEASES
 2          9.1    The Released Claims against each and all of the Released Parties shall be

 3 released and dismissed with prejudice and on the merits (without an award of costs to any party

 4 other than as provided in this Agreement) upon entry of the Final Approval order and Judgment.

 5          9.2    As of the Final Approval Date, the Plaintiffs and all Settlement Class Members

 6 who have not been excluded from the Settlement Class as provided in the Opt-Out List,

 7 individually and on behalf of their Legally Authorized Representatives, heirs, estates, trustees,

 8 executors, administrators, representatives, agents, successors, and assigns, and anyone claiming
 9 through them or acting or purporting to act on their behalf, agree to forever release, discharge,

10 hold harmless, and covenant not to sue each and all of the Released Parties from each and all of

11 the Plaintiffs’ General Released Claims (in the case of the Plaintiffs), the Authorized Claimants’

12 Released Claims (in the case of the Authorized Claimants), and the Settlement Class Members’

13 Released Claims (in the case of the Settlement Class Members), and by operation of the

14 Judgment becoming Final shall have fully and finally released, relinquished, and discharged all

15 such claims against each and all of the Released Parties; and they further agree that they shall

16 not now or hereafter initiate, maintain, or assert any of the General Released Claims (in the case

17 of the Plaintiffs), the Authorized Claimants’ Released Claims (in the case of the Authorized

18 Claimants), or the Settlement Class Members’ Released Claims (in the case of the Settlement

19 Class Members), against the Released Parties in any other court action or before any

20 administrative body, tribunal, arbitration panel, or other adjudicating body. Without in any way

21 limiting the scope of the releases described in Paragraphs 2.16, 2.29, and 2.41, or in the

22 remainder of this Section, this release covers, without limitation, any and all claims for

23 attorneys’ fees, costs, or disbursements incurred by Settlement Class Counsel, or by the

24 Plaintiffs or Settlement Class Members, or any of them, in connection with or related in any

25 manner to the Action, the Settlement of the Action, and/or the Released Claims, except to the

26 extent otherwise specified in this Agreement.

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 1          9.3     As of the Final Approval Date, the Plaintiffs shall be permanently barred and

 2 enjoined from initiating, asserting, or prosecuting against the Released Parties in any federal or

 3 state court or tribunal any and all General Released Claims.

 4          9.4     The Plaintiffs and the Settlement Class Members expressly acknowledge that

 5 they are familiar with principles of law such as Section 1542 of the California Civil Code,

 6 which provides:

 7          A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE

 8          CREDITOR DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR

 9          AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR

10          HER MUST HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH

11          THE DEBTOR.

12 With respect to the Settlement Class Released Claims, as described in Paragraph 2.41, each

13 Settlement Class Member who has not been excluded from the Settlement Class as provided in

14 the Opt-Out List shall be deemed to have expressly, knowingly, and voluntarily waived and

15 relinquished, to the fullest extent permitted by law, the provisions, rights, and benefits he or she

16 may otherwise have had pursuant to Section 1542 of the California Civil Code and all similar

17 federal, state, and local laws, rights, rules, and legal principles of any other jurisdiction that may

18 be applicable herein. In connection with the release, the Settlement Class Members

19 acknowledge that they are aware that they may hereafter discover claims presently unknown

20 and unsuspected or facts in addition to or different from those which they now know or believe

21 to be true with respect to matters released herein. Nevertheless, the Settlement Class Members

22 acknowledge that a portion of the consideration received herein is for a release with respect to

23 unknown damages and complaints, whether resulting from known injuries and consequences or

24 from unknown injuries or unknown consequences of known or unknown injuries, and state that

25 it is the intention of the Settlement Class Members in agreeing to this release fully, finally, and

26 forever to settle and release all matters and all claims that exist, hereafter may exist, or might

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 1 have existed (whether or not previously or currently asserted in any action), constituting the

 2 Settlement Class Members’ Released Claims.

 3          9.5     With respect to those claims that could be asserted under the FLSA, an

 4 Authorized Claimant’s timely and valid submission of a signed Claim Form shall be deemed as

 5 that Authorized Claimant’s Consent to Join and release of all such matters and claims. The

 6 timely and valid submission of a signed Claim Form shall fully, finally and forever settle and

 7 release all such matters and claims as of the Effective Date.

 8          9.6     With respect to the General Released Claims, as described in Paragraph 2.16,

 9 each Plaintiff shall be deemed to have expressly, knowingly, and voluntarily waived and

10 relinquished, to the fullest extent permitted by law, the provisions, rights, and benefits he or she

11 may otherwise have had pursuant to Section 1542 of the California Civil Code and all similar

12 federal, state, and local laws, rights, rules, and legal principles of any other jurisdiction that may

13 be applicable herein. In connection with the release, Plaintiffs acknowledge that they are aware

14 that they may hereafter discover claims presently unknown and unsuspected or facts in addition

15 to or different from those which they now know or believe to be true with respect to matters

16 released herein. Nevertheless, Plaintiffs acknowledge that a portion of the consideration

17 received herein is for a release with respect to unknown damages and complaints, whether

18 resulting from known injuries and consequences or from unknown injuries or unknown

19 consequences of known or unknown injuries, and state that it is the intention of Plaintiffs in

20 agreeing to this release fully, finally, and forever to settle and release all matters and all claims

21 that exist, hereafter may exist, or might have existed (whether or not previously or currently

22 asserted in any action), constituting the General Released Claims.

23          9.7     Each Plaintiff further acknowledges, agrees, and understands that: (i) he or she

24 has read and understands the terms of this Agreement; (ii) he or she has been advised in writing

25 to consult with an attorney before executing this Agreement; (iii) he or she has obtained and

26 considered such legal counsel as he or she deems necessary; (iv) he or she has been given

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 1 twenty-one (21) days to consider whether or not to enter into this Agreement (although he or

 2 she may elect not to use the full 21 day period at his option).

 3          9.8    Subject to Court approval, the Plaintiffs and all Settlement Class Members who

 4 have not been excluded from the Settlement Class as provided in the Opt-Out List, shall be

 5 bound by this Settlement Agreement, and all of the Released Claims shall be dismissed with

 6 prejudice and released, even if they never received actual notice of the Action or this Settlement

 7          X.     ADMINISTRATION OF THE SETTLEMENT FUND
 8          10.1   The Settlement Administrator or its authorized agents in consultation with the
 9 Parties and subject to the supervision, direction, and approval of the Court, shall calculate the

10 allocation of and oversee the distribution of the Total Settlement Amount.

11          10.2   The Total Settlement Amount shall be applied as follows:
12                 10.2.1 To pay the costs and expenses incurred in connection with providing
13 Settlement Class Notice to potential Settlement Class Members, locating Settlement Class

14 Members’ last-known postal mail addresses and processing any objections, requests for

15 exclusion or challenges to calculations of Estimated Miles;

16                 10.2.2 After the Effective Date as provided in Paragraph 2.10, and subject to the
17 approval and further order(s) of the Court, to pay Plaintiffs Service Awards based on

18 contributions and time expended assisting in the litigation, up to the amounts described in

19 Paragraph 2.29.

20                 10.2.3 After the Effective Date as provided in Paragraph 2.10, and subject to the
21 approval and further order(s) of the Court, to pay the Settlement Class Counsel Award as

22 ordered by the Court;

23                 10.2.4 After the Effective Date as provided in Paragraph 2.10, and subject to the
24 approval and further order(s) of the Court, to distribute 75% of the PAGA Payment to the

25 LWDA;

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 1                  10.2.5 After the Effective Date as provided in Paragraph 2.10, and subject to the

 2 approval and further order(s) of the Court, to distribute the Individual Settlement Payments

 3 from the Total Settlement Amount for the benefit of the Settlement Class pursuant to the Plan of

 4 Allocation, or as otherwise ordered by the Court.

 5          10.3    If any portion of the Total Settlement Amount is not successfully redistributed to

 6 Settlement Class Members after the initial Void Date (i.e. checks are not cashed or checks are

 7 returned as undeliverable after the second distribution), then after the Void Date for

 8 redistributed checks, the Settlement Administrator shall void the check and shall direct such
 9 unclaimed funds to be paid to Legal Aid at Work. Such unclaimed funds may also be used to

10 resolve disputes regarding the distribution of settlement funds.

11          10.4    Settlement Class Members who are not on the Opt-Out List approved by the

12 Court, shall be subject to and bound by the provisions of the Settlement Agreement, the releases

13 contained herein, and the Judgment with respect to all Settlement Class Members’ Released

14 Claims, regardless of whether they obtain any distribution from the Total Settlement Amount.

15          10.5    Payment from the Total Settlement Amount shall be deemed conclusive of

16 compliance with this Settlement Agreement as to all Settlement Class Members.

17          10.6    No Settlement Class Member shall have any claim against the Plaintiffs,

18 Settlement Class Counsel, or the Settlement Administrator based on distributions made

19 substantially in accordance with this Settlement Agreement and/or orders of the Court. No

20 Settlement Class Member shall have any claim against Postmates or its counsel relating to

21 distributions made under this Settlement.

22          XI.  EFFECT OF DISAPPROVAL, CANCELLATION, OR TERMINATION
            OF SETTLEMENT AGREEMENT
23
            11.1    If the Court does not approve the Settlement as set forth in this Settlement
24
     Agreement, or if the Court enters the Judgment and appellate review is sought, and on such
25
     review, the entry of Judgment is vacated, modified in any way, or reversed, or if the Final
26
     Approval order does not otherwise become Final, then this Settlement Agreement shall be
27                                                39
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 1 cancelled, terminated, and void ab initio, unless all Parties, in their sole discretion within thirty

 2 (30) days from the date such ruling becomes final, provide written notice to all other Parties

 3 hereto of their intent to proceed with the Settlement under the terms of the Judgment as it may

 4 be modified by the Court or any appellate court.

 5          11.2    Postmates shall have the right to withdraw from the Settlement if the number of

 6 Settlement Class Members who attempt to exclude themselves from the Settlement Class equals

 7 or exceeds 250. If Postmates chooses, pursuant to its sole and absolute discretion, to exercise

 8 this right, it must do so within fourteen (14) days of receipt of the Opt-Out List as provided in
 9 Paragraphs 7.2 & 7.9, by providing written notice to Settlement Class Counsel.

10          11.3    In the event that: (i) the Settlement is not approved, is overturned, or is

11 materially modified by the Court or on appeal, (ii) the Judgment does not become Final, or

12 (iii) this Settlement Agreement is terminated, cancelled, or fails to become effective for any

13 reason, then: (a) the Parties stipulate and agree that the Settlement, this Agreement, the

14 Settlement Class Information, the Opt-Out List, and all documents exchanged and filed in

15 connection with the Settlement shall be treated as inadmissible mediation communications

16 under Cal. Evid. Code §§ 1115 et seq., (b) the Settlement shall be without force and effect upon

17 the rights of the Parties hereto, and none of its terms shall be effective or enforceable, with the

18 exception of this Paragraph, which shall remain effective and enforceable; (c) the Parties shall

19 be deemed to have reverted nunc pro tunc to their respective status prior to execution of this

20 Agreement, including with respect to any Court-imposed deadlines; (d) all Orders entered in

21 connection with the Settlement, including the certification of the Settlement Class, shall be

22 vacated without prejudice to any Party’s position on the issue of class certification, the issue of

23 amending the complaint, or any other issue, in this Action or any other action, and the Parties

24 shall be restored to their litigation positions existing on the date of execution of this Agreement;

25 and (e) the Parties shall proceed in all respects as if the Settlement Agreement and related

26 documentation and orders had not been executed, and without prejudice in any way from the

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 1 negotiation or fact of the Settlement or the terms of the Settlement Agreement. The Settlement

 2 Agreement, the Settlement, all documents, orders, and evidence relating to the Settlement, the

 3 fact of their existence, any of their terms, any press release or other statement or report by the

 4 Parties or by others concerning the Settlement Agreement, the Settlement, their existence, or

 5 their terms, and any negotiations, proceedings, acts performed, or documents executed pursuant

 6 to or in furtherance of the Settlement Agreement or the Settlement shall not be admissible in

 7 any proceeding, and shall not be offered, received, or construed as evidence of a presumption,

 8 concession, or an admission of liability, of unenforceability of any arbitration agreement, of the
 9 certifiability of a litigation class, or of any misrepresentation or omission in any statement or

10 written document approved or made, or otherwise used by any Person for any purpose

11 whatsoever, in any trial of this Action or any other action or proceedings. Plaintiffs, Settlement

12 Class Counsel and the Settlement Administrator shall return to counsel for Postmates all copies

13 of the Settlement Class Information and Opt-Out Lists and shall not use or disclose the

14 Settlement Class Information or Opt-Out List for any purpose or in any proceeding.

15          11.4   Postmates does not agree or consent to certification of the Settlement Class for

16 any purpose other than to effectuate the Settlement of the Action. If this Settlement Agreement

17 is terminated pursuant to its terms, or the Effective Date for any reason does not occur, all

18 Orders certifying the Settlement Class for purposes of effecting this Settlement Agreement, and

19 all preliminary and/or final findings regarding the Settlement Class shall be void ab initio and

20 automatically vacated upon notice to the Court, the Action shall proceed as though the

21 Settlement Class had never been certified pursuant to this Settlement Agreement and such

22 findings had never been made, and the Action shall revert nunc pro tunc to the procedural status

23 quo as of the date and time immediately before the execution of the Settlement Agreement, in

24 accordance with this Settlement Agreement.

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 1          XII.    ADDITIONAL PROVISIONS
 2          12.1    In the event that one or more of the Parties to this Settlement Agreement

 3 institutes any legal action, arbitration, or other proceeding against any other party to enforce the

 4 provisions of this Settlement Agreement or to declare rights and/or obligations under this

 5 Settlement Agreement, the prevailing party shall be entitled to recover from the unsuccessful

 6 party reasonable attorneys’ fees and costs, including expert witness fees incurred in connection

 7 with any enforcement actions.

 8          12.2    Unless otherwise specifically provided here, all notices, demands, or other

 9 communications given hereunder shall be in writing and shall be deemed to have been duly

10 given as of the third business day after mailing by United States registered or certified mail,

11 return receipt requested, addressed as follows:

12          To Plaintiffs and the Settlement Class:

13                  Shannon Liss-Riordan, Esq.
                    Lichten & Liss-Riordan, P.C.
14                  729 Boylston Street
                    Suite 2000
15                  Boston, MA 02116
16          To Defendants:

17                  Theane Evangelis, Esq.
                    Gibson, Dunn & Crutcher LLP
18                  333 South Grand Avenue
                    Los Angeles, CA 90071-3197
19
            12.3    All of the Exhibits to this Settlement Agreement are an integral part of the
20
     Settlement and are incorporated by reference as though fully set forth herein.
21
            12.4    The Parties agree that the recitals are contractual in nature and form a material
22
     part of this Settlement Agreement.
23
            12.5    The Plaintiffs and Settlement Class Counsel acknowledge that an adequate
24
     factual record has been established that supports the Settlement and hereby waive any right to
25
     conduct further discovery to assess or confirm the Settlement. Notwithstanding the prior
26

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 1 sentence, the Parties agree to reasonably cooperate with respect efforts to identify the last-

 2 known addresses of Settlement Class Members.

 3          12.6    Unless otherwise noted, all references to “days” in this Agreement shall be to

 4 calendar days. In the event any date or deadline set forth in this Agreement falls on a weekend

 5 or federal legal holiday, such date or deadline shall be on the first business day thereafter.

 6          12.7    This Agreement supersedes all prior negotiations and agreements and may be

 7 amended or modified only by a written instrument signed by counsel for all Parties or the

 8 Parties’ successors-in-interest.
 9          12.8    The Parties reserve the right, subject to the Court’s approval, to agree to any

10 reasonable extensions of time that might be necessary to carry out any of the provisions of this

11 Agreement. Such extensions must be in writing to be enforceable.

12          12.9    The Settlement Agreement, the Settlement, the fact of the Settlement’s existence,

13 any of terms of the Settlement Agreement, any press release or other statement or report by the

14 Parties or by others concerning the Settlement Agreement or the Settlement, and any

15 negotiations, proceedings, acts performed, or documents executed pursuant to or in furtherance

16 of the Settlement Agreement or the Settlement: (i) may not be deemed to be, may not be used as,

17 and do not constitute an admission or evidence of the validity of any Released Claims or of any

18 wrongdoing or liability of Postmates; (ii) may not be deemed to be, may not be used as, and do

19 not constitute an admission or evidence of any fault, wrongdoing, or omission by Postmates in

20 any trial, civil, criminal, arbitration, or administrative proceeding of the Action or any other

21 action or proceedings in any court, administrative agency, arbitral forum or other tribunal;

22 (iii) may not be used as evidence of any waiver of, unenforceability of, or as a defense to any

23 Postmates arbitration agreement; and (iv) may not be used as evidence in any class certification

24 proceeding.

25          12.10 The Released Parties shall have the right to file the Settlement Agreement, the

26 Final Approval order and Judgment, and any other documents or evidence relating to the

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 1 Settlement in any action that may be brought against them in order to support a defense or

 2 counterclaim based on principles of res judicata, collateral estoppel, release, good-faith

 3 settlement, judgment bar, reduction, or any other theory of claim preclusion or issue preclusion

 4 or similar defense or counterclaim.

 5          12.11 The Parties to the Settlement Agreement agree that the Total Settlement Amount

 6 and the other terms of the Settlement were negotiated at arm’s length and in good faith by the

 7 Parties, resulted from an arm’s-length mediation session facilitated by Tripper Ortman, and

 8 reflect a settlement that was reached voluntarily based upon adequate information and sufficient
 9 discovery and after consultation with experienced legal counsel.

10          12.12 The Plaintiffs and Settlement Class Counsel have concluded that the Settlement

11 set forth herein constitutes a fair, reasonable, and adequate resolution of the claims that the

12 Plaintiffs asserted against Postmates, including the claims on behalf of the Settlement Class, and

13 that it promotes the best interests of the Settlement Class.

14          12.13 To the extent permitted by law, all agreements made and orders entered during

15 the course of the Action relating to the confidentiality of information shall survive this

16 Settlement Agreement.

17          12.14 The Parties agree that Plaintiffs and Settlement Class Counsel are not required to

18 return any documents or data produced by Postmates until the final resolution of the Action.

19 Within sixty (60) days following the Effective Date, Settlement Class Counsel shall return to

20 Postmates all documents and data produced in the Action or in connection with the Parties’

21 mediation, or confirm in writing that all such documents have been destroyed.

22          12.15 The waiver by one Party of any breach of this Settlement Agreement by any

23 other Party shall not be deemed a waiver of any other prior or subsequent breach of this

24 Settlement Agreement.

25          12.16 This Settlement Agreement, including its Exhibits, constitutes the entire

26 agreement among the Parties, and no representations, warranties, or inducements have been

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 1 made to any Party concerning this Settlement Agreement or its Exhibits, other than the

 2 representations, warranties, and covenants contained and memorialized in this Settlement

 3 Agreement and its Exhibits.

 4          12.17 This Settlement Agreement may be executed in one or more counterparts. All

 5 executed counterparts and each of them shall be deemed to be one and the same instrument

 6 provided that counsel for the Parties to this Settlement Agreement shall exchange among

 7 themselves original signed counterparts.

 8          12.18 This Settlement Agreement may be signed with a facsimile signature and in

 9 counterparts, each of which shall constitute a duplicate original.

10          12.19 The Parties hereto and their respective counsel agree that they will use their best

11 efforts to obtain all necessary approvals of the Court required by this Settlement Agreement.

12          12.20 This Settlement Agreement shall be binding upon and shall inure to the benefit of

13 the successors and assigns of the Parties hereto, including any and all Released Parties and any

14 corporation, partnership, or other entity into or with which any Party hereto may merge,

15 consolidate, or reorganize.

16          12.21 This Settlement Agreement has been negotiated among and drafted by

17 Settlement Class Counsel and Postmates’ Counsel. Named Plaintiffs, Settlement Class

18 Members, and Postmates shall not be deemed to be the drafters of this Settlement Agreement or

19 of any particular provision, nor shall they argue that any particular provision should be

20 construed against its drafter or otherwise resort to the contra proferentem canon of construction.

21 Accordingly, this Settlement Agreement should not be construed in favor of or against one Party

22 as the drafter, and the Parties agree that the provisions of California Civil Code § 1654 and

23 common law principles of construing ambiguities against the drafter shall have no application.

24 All Parties agree that counsel for the Parties drafted this Settlement Agreement during extensive

25 arm’s-length negotiations. No parol or other evidence may be offered to explain, construe,

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 1 contradict, or clarify its terms, the intent of the Parties or their counsel, or the circumstances

 2 under which this Settlement Agreement was made or executed.

 3          12.22 Except where this Settlement Agreement itself provides otherwise, all terms,

 4 conditions, and Exhibits are material and necessary to this Settlement Agreement and have been

 5 relied upon by the Parties in entering into this Settlement Agreement.

 6          12.23 This Settlement Agreement shall be governed by California law. Any action or

 7 dispute based on this Settlement Agreement, including any action or to enforce any of the terms

 8 of this Settlement Agreement, shall be commenced and maintained only in the Superior Court of
 9 California, San Francisco County, which shall retain jurisdiction over all such actions and

10 disputes.

11          12.24 All Parties to this Settlement Agreement shall be subject to the jurisdiction of the

12 Superior Court of California, San Francisco County for all purposes related to this Settlement

13 Agreement.

14          12.25 The Court shall retain continuing and exclusive jurisdiction over the Parties to

15 this Settlement Agreement for the purpose of the administration and enforcement of this

16 Settlement Agreement.

17          12.26 The headings used in this Settlement Agreement are for the convenience of the

18 reader only, and shall not affect the meaning or interpretation of this Settlement Agreement.

19          12.27 In construing this Settlement Agreement, the use of the singular includes the

20 plural (and vice-versa) and the use of the masculine includes the feminine (and vice-versa).

21          12.28 Each Party to this Settlement Agreement warrants that he, she, or it is acting

22 upon his, her, or its independent judgment and upon the advice of counsel, and not in reliance

23 upon any warranty or representation, express or implied, of any nature or of any kind by any

24 other Party, other than the warranties and representations expressly made in this Settlement

25 Agreement.

26

27                                                46
                         CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
28                                      Case No. CGC-18-567868

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 1 Dated: January __, 2020                By:   _____________________
                                                Robert Rieders
 2                                              General Counsel
 3                                              POSTMATES INC.

 4
     Dated: January __, 2020              By:   _____________________
 5                                              Jacob Rimler
                                                NAMED PLAINTIFF
 6

 7 Dated: January __, 2020                By:   _____________________
                                                Giovanni Jones
 8                                              NAMED PLAINTIFF

 9 Dated: January __, 2020                By:   _____________________
                                                Dora Lee
10                                              NAMED PLAINTIFF
11
     Dated: January __, 2020              By:   _____________________
12                                              Kellyn Timmerman
                                                NAMED PLAINTIFF
13
     Dated: January __, 2020              By:   _____________________
14
                                                Joshua Albert
15                                              NAMED PLAINTIFF

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                       CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
28                                    Case No. CGC-18-567868

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                           SENATE JUDICIARY COMMITTEE
                           Senator Hannah-Beth Jackson, Chair
                               2019-2020 Regular Session


 SB 707 (Wieckowski)
 Version: April 11, 2019
 Hearing Date: April 23, 2019
 Fiscal: No
 Urgency: No
 AM

                                          SUBJECT

                            Arbitration agreements: enforcement

                                           DIGEST

 This bill provides that if an employment or consumer arbitration requires the drafting
 party to pay fees and costs regarding the arbitration and those fees or costs are not paid
 within 30 days of their due date, then the drafting party is in material breach of the
 arbitration agreement, is in default of the arbitration, and waives its right to compel
 arbitration, and authorizes the employee or consumer to the arbitration agreement to
 compel arbitration or proceed in court, as specified. The bill requires the court to
 sanction a drafting party for failure to pay costs or fees. The bill also requires arbitration
 companies to include specified demographic data regarding its arbitrators as provided
 by the arbitrators in a report arbitration companies are already required to make under
 existing law.

                                 EXECUTIVE SUMMARY

 Companies have been using arbitration agreements for years to prohibit employees and
 consumers from having their claims heard in court or as a class action. With no other
 recourse left to adjudicate their claims, employees have begun filing individual
 arbitration claims, with one employer having over 12,000 individual claims filed against
 it. Some employers have been refusing to pay fees and costs required to initiate
 arbitration, effectively placing their employees in a procedural limbo. This bill is
 intended to affirm that these practices constitute material breach of an employment or
 consumer arbitration agreement and provide procedures for employees or consumers
 to pursue in order to have their claims heard in the event of such a breach. The bill also
 seeks to require arbitration companies to report the same demographic data required to
 be reported about judicial applicants, judicial appointments, and judicial nominees.

 The bill is sponsored by the California Employment Lawyers Association (CELA) and
 the Consumer Attorneys of California (CAOC) and supported by various labor and



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 other organizations. The bill is opposed by a coalition of business organizations,
 including the California Chamber of Commerce.

                          PROPOSED CHANGES TO THE LAW

 Existing federal law provides, pursuant to the Federal Arbitration Act (FAA), that a
 written provision in any maritime transaction or a contract evidencing a transaction
 involving commerce to settle by arbitration a controversy thereafter arising out of such
 contract or transaction, or the refusal to perform the whole or any part thereof, or an
 agreement in writing to submit to arbitration an existing controversy arising out of such
 a contract, transaction, or refusal, shall be valid, irrevocable, and enforceable, save upon
 such grounds as exist at law or in equity for the revocation of any contract. (9 U.S.C. §
 2.)

 Existing state law:

 1) Provides, pursuant to the Federal Arbitration Act (FAA), that a written provision in
    any maritime transaction or a contract evidencing a transaction involving commerce
    to settle by arbitration a controversy thereafter arising out of such contract or
    transaction, or the refusal to perform the whole or any part thereof, or an agreement
    in writing to submit to arbitration an existing controversy arising out of such a
    contract, transaction, or refusal, shall be valid, irrevocable, and enforceable, save
    upon such grounds as exist at law or in equity for the revocation of any contract. (9
    U.S.C. § 2.)

 2) Governs arbitrations in California, pursuant to the California Arbitration Act (CAA),
    including the enforcement of arbitration agreements, rules for neutral arbitrators,
    the conduct of arbitration proceedings, and the enforcement of arbitration awards.
    (Code Civ. Proc. §§ 1280 et. seq.)

 3) Provides that on petition of a party to an arbitration agreement alleging the
    existence of a written agreement to arbitrate a controversy and that a party thereto
    refuses to arbitrate such controversy, the court shall order the petitioner and the
    respondent to arbitrate the controversy if it determines that an agreement to
    arbitrate the controversy exists, unless the court determines that:
        a) the right to compel arbitration has been waived by the petitioner;
        b) grounds exist for the rescission of the agreement;
        c) a party to the arbitration agreement is also a party to a pending court action
           or special proceeding with a third party, arising out of the same transaction or
           series of related transactions, and there is a possibility of conflicting rulings
           on a common issue of law or fact. A pending court action or special
           proceeding includes an action or proceeding initiated by the party refusing to
           arbitrate after the petition to compel arbitration has been filed, but on or
           before the date of the hearing on the petition; or

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        d) the petitioner is a state or federally chartered depository institution that, on or
           after January 1, 2018, is seeking to apply a written agreement to arbitrate,
           contained in a contract consented to by a respondent consumer, to a
           purported contractual relationship with that respondent consumer that was
           created by the petitioner fraudulently without the respondent consumer’s
           consent and by unlawfully using the respondent consumer’s personal
           identifying information. (Code Civ. Proc. § 1281.2.)

 4) Requires an arbitration company that administers or is otherwise involved in a
    consumer arbitration to publish and make available to the public, as specified, a
    single cumulative report that contains certain information, including the name of the
    arbitrator, the arbitrator’s fee for the case, the percentage of the fee the arbitrator
    collected, and whether a fee waiver was granted . (Code Civ. Proc. § 1281.96.)

 5) Requires the Governor, the State Bar, and the Administrative Office of the Courts to
    collect and release each year, on an aggregate statewide basis, specified information
    regarding the demographic data relative to ethnicity, race, disability, veteran status,
    gender, gender identity, and sexual orientation of judicial applicants, judicial
    appointees, or judicial nominees, as provided by them, and the percentage of
    respondents who declined to respond. (Gov. Code § 12011.5(n).)

 This bill:

    1) Provides that if an employment or consumer arbitration requires the drafting
       party to pay fees and costs before arbitration can proceed and those fees or costs
       are not paid within 30 days of their due date, then the drafting party is in
       material breach of the arbitration agreement, is in default of the arbitration, and
       waives its right to compel arbitration.
       e) If the drafting party materially breaches the arbitration agreement by not
           paying fees or costs, the employee or consumer may either:
                   i. Withdraw the claim from arbitration and proceed in a court of
                      appropriate jurisdiction; or
                  ii. Compel arbitration in which the drafting party shall pay reasonable
                      attorney’s fees and costs related to the arbitration.
       f) If the employee or consumer withdraws the claim from arbitration and
           proceeds with an action in a court of appropriate jurisdiction, both of the
           following apply:
                   i. Provides that the statute of limitations with regard to all claims
                      brought or that could have been brought in arbitration are to be
                      tolled as of the date of the first filing of a claim in any court,
                      arbitration forum, or other dispute resolution forum.
                  ii. Requires the court to impose sanctions on the drafting party, as
                      specified.



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 2) Provides that if an employment or consumer arbitration requires the drafting party
    to pay fees or costs during the pendency of an arbitration proceeding and those fees
    or costs are not paid within 30 days of their due date, then the drafting party is in
    material breach of the arbitration agreement, is in default of the arbitration, and
    waives its right to compel arbitration.
        a) If the drafting party materially breaches the arbitration agreement and is in
           default due to not paying fees or costs, the employee or consumer may:
                    i. Withdraw the claim from arbitration and proceed in a court of
                       appropriate jurisdiction. If the employee or consumer does so, the
                       statute of limitations with regard to all claims brought or that could
                       have been brought in arbitration are to be tolled as of the date of
                       the first filing of a claim in any court, arbitration forum, or other
                       dispute resolution forum.
                   ii. Continue the arbitration proceeding, if the arbitration company
                       agrees to continue administering the proceeding, notwithstanding
                       the drafting party’s failure to pay fees or costs. The neutral
                       arbitrator or arbitration company may institute a collection action
                       at the conclusion of the arbitration proceeding against the drafting
                       party that is in default of the arbitration for payment of all fees
                       associated with the employment or consumer arbitration
                       proceeding, including the cost of administering any proceedings
                       after the default.
                  iii. Petition the court for an order compelling the drafting party to pay
                       all arbitration fees that the drafting party is obligated to pay under
                       the arbitration agreement or the rules of the arbitration company.
                  iv. Pay the drafting party’s fees and proceed with the arbitration
                       proceeding. As part of the award, the employee or consumer is
                       entitled to recover all arbitration fees paid on behalf of the drafting
                       party without regard to any findings on the merits of the
                       underlying arbitration.
           b) If the employee or consumer withdraws the claim from arbitration and
               proceeds in a court of appropriate jurisdiction, both of the following will
               apply:
                    i. Authorizes the employee or consumer to bring a motion, or a
                       separate action, to recover all attorney’s fees and all costs
                       associated with the abandoned arbitration proceeding. The
                       recovery of arbitration fees, interest, and related attorney’s fees will
                       be without regard to any findings on the merits in the underlying
                       action or arbitration.
                   ii. Requires the court to impose sanctions on the drafting party, as
                       specified.




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  3) Requires the court to impose sanctions on the drafting party that materially breaches
     an arbitration agreement due to failure to pay fees or costs to initiate or continue the
     arbitration proceeding, such as any of the following:
            a) A monetary sanction ordering the drafting party to pay the reasonable
                expenses, including attorney’s fees and costs, incurred by the employee or
                consumer as a result of the material breach.
            b) An evidence sanction by an order prohibiting the drafting party from
                conducting discovery in the civil action.
            c) A terminating sanction by one of the following orders:
                    i. An order striking out the pleadings or parts of the pleadings of the
                       drafting party.
                   ii. An order rendering a judgment by default against the drafting
                       party.
            d) A contempt sanction by an order treating the drafting party as in
                contempt of court.

  4) Revises the definition of certain existing terms under the CAA, and defines new
     terms as follows:
           a) “Consumer” means an individual who seeks, uses, or acquires, by any
               means, any goods or services whether tangible or intangible, physical or
               electronic, in whole or in part, for personal, family, or household
               purposes.
           b) “Drafting party” means the company or business that included a
               predispute arbitration provision in a contract with a consumer or
               employee. The term includes any third party relying upon, or otherwise
               subject to the arbitration provision, other than the employee or consumer.
           c) “Employee” means any current employee, former employee, or applicant
               for employment. The term includes any person who is, was, or who claims
               to have been misclassified as an independent contractor or otherwise
               improperly placed into a category other than employee or applicant for
               employment.

  5) Requires an arbitration company that administers, or is otherwise involved in a
     consumer arbitration, to also include in the required report the demographic data
     relative to ethnicity, race, disability, veteran status, gender, gender identity, and
     sexual orientation of all arbitrators as provided by the arbitrators.

  6) Makes various legislative findings and declarations.




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                                                 COMMENTS

  1. Stated need for the bill

  The author writes:

            With SB 707, individuals who have been forced to submit to mandatory
            arbitration to resolve an employment or consumer dispute would be provided
            with procedural options and remedies under this bill when a company stalls or
            obstructs the arbitration proceeding by refusing to pay the required fees.

            The bill will also require arbitration companies to report the same kind of
            demographic information that our judiciary is required to report (including
            gender, race and ethnicity). The purpose of this is to hopefully galvanize some
            better recruitment and hiring practices by the arbitration companies and
            highlight the fact that arbitration cannot be a fair process when the arbitrators do
            not remotely reflect the diverse experiences and backgrounds of the people who
            are bringing their claims before them, or are forced to bring their claims before
            them, which is very often the case.

  2. Troubling trend emerging in employment arbitration

        a. Background

  Arbitration is a method of alternative dispute resolution where the disputing parties are
  required as a matter of law to present their disagreement to one or more private third-
  party arbitrators whose decisions are generally final and binding, instead of litigating
  the issues in court. Mandatory arbitration clauses, especially in employment and
  consumer contracts, have been a topic of significant controversy over the years as a
  form of alternative dispute resolution. Generally, supporters of arbitration assert that
  private arbitration provides a cheaper, faster, more efficient form of dispute resolution
  than the overburdened courts because they are able to limit discovery, set their own
  rules for presenting evidence, schedule proceedings at their own convenience, and
  select the private arbitrator who will decide their cases.

  Recently, a concerning and troubling trend has arisen: employers are refusing to pay
  required fees to initiate arbitration, effectively stymieing the ability of employees to
  assert their legal rights. For example, Uber won a ruling from the U.S. Ninth Circuit
  Court of Appeals that required drivers who worked for the company to bring their
  wage claims on an individual basis in arbitration and prohibited them from proceeding
  as a class.1 As a result of this ruling, 12,500 drivers for Uber were forced to file


  1
      O’Connor v. Uber Techs. (2018) 904 F.3d 1087.

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  individual arbitration demands in order to have their claims heard.2 However, very few
  of these driver’s cases have proceeded. Reuters reported:

          Of the 12,500 arbitration demands filed by Uber drivers, the company has paid
          the requisite JAMS initial filing fee in just 296 cases, according to a newly
          filed petition by drivers seeking to compel Uber to pay the fees JAMS requires to
          launch arbitration. So far, arbitrators have been appointed in only 47 of the cases
          drivers have brought against Uber – and Uber has paid the arbitrator’s
          nonrefundable $1,500 retainer fee in a mere six cases. (Under Uber’s arbitration
          provisions, it’s up to the company to pay initial arbitration fees.) 3

  This situation is exacerbated by the fact that:

          “[w]hen [Uber] was in federal court litigating to enforce its arbitration
          provisions, the drivers’ filings said, Uber assured the 9th Circuit that it would
          pay the necessary fees to allow drivers to arbitrate their claims individually. But
          now that drivers have actually filed demands, their lawyers said, Uber has
          repudiated those representations.” 4

  Unfortunately, this situation is not an isolated one. Lyft has also been accused of
  preventing 3,420 drivers from moving forward on their individual arbitration claims
  against the company by refusing to pay the initiation fee and case management fee.5

  Then there is the saga of Chipotle employees who have been trying since July 2013 to
  have their claims of wage theft adjudicated. Much like in the case of Uber, more than
  2,800 employees were required by the court to have their claims for back pay heard
  individually in arbitration due to an arbitration agreement Chipotle required employees
  to sign. Ironically, Chipotle is claiming “that the tide of arbitrations could cause it
  ‘irreparable harm’” and asked the court to suspend the arbitration filings. 6 The court
  denied both motions and stated “Chipotle’s attempts to delay and obfuscate the claims
  of the Arbitration Plaintiffs in both the courts and in arbitration (the forum to which it
  required these employees to submit) are unseemly.”7 Chipotle continued to frustrate the

  2
    Frankel, Alison, Forced into arbitration, 12,500 drivers claim Uber won’t pay fees to launch cases, Reuters (Dec.
  6, 2018), available at https://www.reuters.com/article/legal-us-otc-uber/forced-into-arbitration-12500-
  drivers-claim-uber-wont-pay-fees -to-launch-cases-idUSKBN1O52C6 (as of Apr. 15, 2019).
  3
    Id.
  4
    Id.
  5
    Frankel, Alison, 3,420 Lyft drivers claim the company won’t pay arbitration fees to launch their cases, Reuters
  (Dec. 14, 2018) available at https://www.reuters.com/article/legal-us-otc-lyft/3420-lyft-drivers-claim-
  the-company-wont-pay-arbitration-fees-to-launch-their-cases-idUSKBN1OD2 KC (as of Apr. 15, 2019).
  6
    Hitzik, Michael, Chipotle may have outsmarted itself by blocking thousands of employee lawsuits over wage theft,
  L.A. Times (Jan. 4, 2019), available at https://www.latimes.com/business/hiltzik/la-fi-hiltzik-chipotle-
  20190104-story.html (as of Apr. 15, 2019).
  7
    Order Denying Defendant Chipotle Mexican grill, Inc’s Motion for Entry of Judgement Pursuant to Fed.
  R. Civ. P. 54(B) (ECF No. 202) and Motion to Reinstate Stay (ECF No. 203), Kane, J., Case No. 1-14-cv-

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  efforts of its employees to have their claims adjudicated by failing to pay its share of the
  filing fee.8 Six years later not a single claim has been heard.
      b. Failure to pay required fees and costs is material breach of arbitration agreement

  In Brown v. Dillard’s, Inc, the Ninth Circuit held that refusal to participate in arbitration
  was a material breach of the arbitration agreement and prohibited the breaching party
  from asserting its right to arbitrate under the agreement. 9 The court held:

     If we … allowed [an employer] to compel arbitration notwithstanding its breach of
     the arbitration agreement, we would set up a perverse incentive scheme [… ] When a
     defendant in a judicial forum refuses to respond to a complaint that is properly filed
     and served, the court has the power to enter and enforce a default judgment.
     Arbitration works differently. The American Arbitration Association could not
     compel Dillard's to pay its share of the filing fee, and in the absence of the fee it
     could not proceed. Brown had no choice but to come to court. Many people in
     Brown's position would simply have given up. Because she did not, we have the
     occasion to make clear that when an employer enters into an agreement requiring its
     employees to arbitrate, it must participate in the process or lose its right to
     arbitrate.10

  In Sink v. Aden Enterprises, the Ninth Circuit affirmed the district court’s finding that a
  party is in default of an arbitration agreement if it fails to pay required arbitration fees.11
  The court stated that interpreting the FAA to allow a party refusing to cooperate with
  arbitration to indefinitely postpone litigation is “inconsistent with the structure and
  purpose of the FAA.”12

     c. Narrowly tailored response to address an identified issue

  In response to this emerging trend, this bill seeks to affirm that when a company refuses
  to pay fees required under an employment or consumer arbitration agreement it is in
  material breach of the arbitration agreement, is in default of the arbitration, and waives
  its right to compel arbitration and provide procedural options to remedy the breach of
  contract. In order to deter companies and employers from strategically withholding the
  payment of arbitration fees, the company in breach is required to pay reasonable
  attorney’s fees and costs and the court is required to impose sanctions. The U.S.
  Supreme Court has declared that the FAA represents Congress's intent "to move the


  02612-JLK, Document 212, (Nov. 20, 2018), U.S.D.C. Colorado available at
  https://assets.documentcloud.org/documents/5669713/Chipotle-Judge-Denies-Sta y-Clean.pdf (as of
  Apr. 14, 2019).
  8
    Id.
  9
    Brown v. Dillard’s, Inc, (2005) 430 F.3d 1004.
  10
     Id. at 1012-1013.
  11
     Sink v. Aden Enters. (2003) 32 F.3d 1197.
  12 Id.



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  parties to an arbitrable dispute out of court and into arbitration as quickly and easily as
  possible.”13 As these procedures are intended to stop behavior that would undermine
  the intent of Congress, this measure should not frustrate the purposes of the FAA.

        d. Statements of support

  One of the sponsors of the bill, CELA, writes:

            These cases highlight a glaring loophole in this new era of mandatory arbitration:
            workers and consumers must submit to arbitration, while corporations may
            choose their forum by either submitting to arbitration or stalling the process back
            to court by refusing to pay fees. This tactic typically occurs at two stages in the
            arbitration process. First, a company could refuse to pay the initial filing fee,
            which would stall the commencement of the arbitration proceedings – causing
            costly delays that jeopardize an employee’s ability to find evidence and
            witnesses – and forcing the case to restart in court. Second, a company could
            refuse to pay fees during the course of the arbitration proceedings – often, to
            prevent the release of a judgment or award favorable to the worker. Stalling the
            arbitration in this scenario can be even more damaging and prejudicial, as the
            employee or consumer has likely already invested significant resources to
            develop their case. Moreover, even if a case could be restarted in court, all of the
            work and findings from the arbitration proceeding does not carry over to the
            new court proceeding. Thus, without clear procedures, consumers and
            employees are saddled with the consequences of a stalled case, forcing them to
            abandon their claim or invest even more resources to relitigate in court. SB 707
            aims to provide a clear process and remedies for consumers and employees in
            the event that the company fails to pay its required arbitration fees.

  The other sponsor of the bill, CAOC, writes:

            Forced arbitration provisions have become an ever-growing aspect of consumer
            transactions and employment relationships. Over half of America’s workforce
            has been forced to sign arbitration agreements as a condition of employment.
            Under these terms, consumers and workers whose rights have been violated
            cannot pursue their claims in court, and instead must submit their claims to an
            arbitration proceeding that overwhelmingly favors businesses and employers.

            With workers and consumers then barred from court, businesses are able to
            strategically withhold payment to the arbitration service provider to obstruct the
            arbitration proceeding and the ability to pursue a claim.




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       Moses H. Cone Mem'l Hosp. v. Mercury Constr. Corp., (1983) 460 U.S. 1, at 22.

                                                                                       WP0104
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     e. Statements in opposition

  Opponents of the bill, a coalition of various business organizations, write:

         While we agree with the notion that the failure of a drafting party to intentionally
         pay for a significant amount of the arbitrator’s fees in an effort to avoid or delay
         the arbitration, should allow the employee or consumer to proceed to civil court,
         the remaining sanctions and damages proposed in SB 707 are completely
         unjustified, unreasonable, and unprecedented [… ]

  Opponents also raise concerns over the definition of “consumer” and “employee,” over
  what constitutes a material breach under the provisions of the bill, the remedies provided
  for that breach, and the various sanctions in the bill.

  3. Demographic data reporting

         a. Applying existing demographic reporting requirements for the judiciary to
            arbitration companies

  Under existing law, the Governor is required to collect and release, on an aggregate
  statewide basis so as not to identify any individual, information regarding the
  demographic data relative to ethnicity, race, disability, veteran status, gender, gender
  identity, and sexual orientation of judicial applicants, judicial appointees, and judicial
  nominees as provided by them and the percentage of respondents who declined to
  respond. (Gov. Code § 12011.5(n)(1) & (n)(5).) This bill seeks to apply this same
  requirement to private arbitration companies by requiring arbitration companies to
  include this information in the report they are already required under existing law to
  provide to the public.

         b. Statements of support

  CELA, one of the sponsors of the bill writes:

         The alarming lack of diversity in the arbitration industry [… ] calls into question
         the ability of the industry to fairly adjudicate claims brought by an increasingly
         diverse workforce in California [… ] The value of diversity in our justice system
         cannot be overstated – to have a jury of one’s peers is enshrined in our
         Constitution. In California, “[i]ncreasing the diversity of California’s judicial
         officers to reflect the rich diversity of California’s populace” is a “key goal” and
         for thirteen years the state has been collecting demographic information of its
         judges and justices in order to track this commitment. However, these values and
         commitments to diversity lie fallow when more and more cases are forced into
         arbitration, a privatized justice system where there is no oversight or
         accountability, particularly when it comes to who is arbitrating these cases.


                                                                                        WP0105
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  CAOC, another sponsor of the bill writes:

        Our courts have made advancements in diversity over the decades and this is not
        the case among private arbitration companies. Data should be collected and
        reported in order to better evaluate the issue.

        c. Statements in opposition

  Opponents of the bill, a coalition of various business organizations, write:

        There is no justification that requires a private company to intrude upon the
        privacy of an individual and require them to disclose such personal information.

        d. Author’s amendments

  The author has offered the following clarifying amendments to align the demographic
  data reporting requirement for arbitration companies in this bill with the reporting
  requirement for judicial applicants, judicial appointees, and judicial nominees.

  The specific amendments are as follows:

                                        Amendment 1
        On page 3, at line 38, strike out “(2010)” and insert:
        (2003)

                                        Amendment 2
        On page 6, at line 34, strike out “data” and insert:
        data, reported in the aggregate,

                                        Amendment 3
        On page 6, at line 36, strike out “provided” and insert:
        self-reported

                                        Amendment 4
        On page 6, at line 36, after “arbitrators.” insert:
        Demographic data disclosed or released pursuant to this subdivision shall also
        indicate the percentage of respondents who declined to respond.

                                         SUPPORT

  California Employment Lawyer’s Association (sponsor)
  Consumer Attorneys of California (co-sponsor)
  California Conference Board of the Amalgamated Transit Union
  California Conference of Machinists

                                                                                 WP0106
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  California Teamsters
  Engineers and Scientists of California, IFPTE Local 21, AFL-CIO
  Inlandboatmen’s Union of the Pacific
  PolicyLink
  SEIU California
  UNITE-HERE, AFl-CIO
  Utility Workers of America
                                       OPPOSITION

  Acclamation Insurance Management Services
  Allied Managed Care
  California Association of Winegrape Growers
  California Chamber of Commerce
  California Hospital Association
  California League of Food Producers
  California Manufacturers and Technology Association
  California Restaurant Association
  California Retailers Association
  California Trucking Association
  Flasher Barricade Association
  Official Police Garages of Los Angeles
  Securities Industry and Financial Markets Association

                                 RELATED LEGISLATION

  Pending Legislation:

  AB 692 (Maienschein, 2019) provides that the statute of limitations for filing an action
  against an attorney for a wrongful act or omission arising from the performance of
  professional services is to be tolled during a dispute between a lawyer and client
  concerning fees, costs, or both, as specified, and the provisions regarding tolling the
  statutes of limitations are triggered any time arbitration is requested following an
  attorney commencing an action in court or any other proceeding. The bill is currently
  pending referral in the Senate Rules Committee.

  Prior Legislation:

  AB 3247 (Assembly Committee on Judiciary, Ch. 10, Stats. 2018) specified that if a court
  determines that grounds exist for rescission of an arbitration agreement then the court
  does not have to enforce the arbitration agreement.

  SB 33 (Dodd, Ch. 480, Stats. 2017) added instances in which a state or federally
  chartered depository institution is seeking to apply a written agreement to arbitrate,
  contained in a contract consented to by a respondent consumer, to a purported

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  contractual relationship with that consumer that was created by the petitioner
  fraudulently without the consumer’s consent and by unlawfully using the consumer’s
  personal identifying information as a determination a court can make which results in
  an arbitration agreement not being enforceable .

  SB 1007 (Wieckowski, Ch. 626, Stats. 2016) provide that a party to an arbitration has the
  right to have a certified shorthand reporter transcribe any deposition, proceeding, or
  hearing as the official record, as specified.

  SB 1078 (Jackson, 2016) would have required the disclosure of any solicitation made
  within the last 2 years by, or at the direction of, a private arbitration company to a party
  or lawyer for a party in a consumer arbitration, and prohibited solicitation of a party or
  lawyer for a party during the pendency of the arbitration, as specified. The bill was
  vetoed by then Governor Brown.

  AB 1005 (Alejo, Ch. 113, Stats. 2013) expanded the diversity reporting requirements for
  judicial applicants, appointees, and nominees to include data relative to disability and
  veteran status, as specified.

  SB 182 (Corbett, Ch.720, Stats. 2012), expanded the diversity reporting requirements for
  judicial applicants, appointees, and nominees to include voluntarily-provided gender
  identity and sexual orientation data about judicial applicants, appointees, and sitting
  judges.

  SB 56 (Dunn, Ch. 390, Stats. 2006) required, among other things, the Governor to
  disclose aggregate statewide demographic data relating to ethnicity and gender
  provided by all judicial applicants, appointees, and sitting judges, as specified.

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  Date of Hearing: June 18, 2019

                           ASSEMBLY COMMITTEE ON JUDICIARY
                                       Mark Stone, Chair
                         SB 707 (Wieckowski) – As Amended May 20, 2019

  SENATE VOTE: 29-8

  SUBJECT: ARBITRATION AGREEMENTS: BREACH BY DRAFTING PARTY:
  ENFORCEMENT

  KEY ISSUES:

  1) SHOULD THE DRAFTING PARTY OF AN EMPLOYMENT OR CONSUMER
     RELATED ARBITRATION AGREEMENT THAT FAILS TO PAY FOR A
     SUBSEQUENT ARBITRATION PROCEEDING BE SUBJECT TO SANCTIONS?

  2) SHOULD THE FAILURE OF A DRAFTING PARTY TO PAY THE REQUIRED COSTS
     AND FEES ASSOCIATED WITH THE ARBITRATION PROCEEDING PERMIT AN
     EMPLOYEE OR CONSUMER OTHERWISE REQUIRED TO ARBITRATE THEIR
     CLAIMS TO SEEK REDRESS IN COURT?

  3) SHOULD ARBITRATION COMPANIES BE REQUIRED TO PUBLISH SPECIFIED
     DEMOGRAPHIC INFORMATION REGARDING ARBITRATORS?

                                             SYNOPSIS

  Arbitration is a controversial form of alternative dispute resolution held outside of courts where
  a third-party, typically a retired judge, makes a binding determination in favor of one party to
  the proceeding. Proponents of arbitration highlight that arbitration can be a more efficient and
  somewhat lower cost alternative to litigation. Opponents of arbitration contend that decisions
  can frequently favor the more powerful drafting party, and that rules of evidence or civil
  procedure can be limited or waived. Despite the ongoing debate over the merits of arbitration,
  the United States Supreme Court has liberally interpreted the Federal Arbitration Act to preempt
  state laws regarding arbitration, resulting in arbitration provisions becoming a dominant
  feature of nearly every employment and consumer contract, contracts that frequently are take-it-
  or-leave-it contracts of adhesion. Recognizing that arbitration is frequently foisted on
  consumers and employees by the party drafting these contracts of adhesion, courts have
  generally required the drafting party to pay for the cost and fees associated with the arbitration
  as a matter of basic fairness. While case law requires such payment in California, the existing
  law remains unclear about what remedies an employee or consumer has if a drafting party failed
  to pay for the arbitration in a timely manner.

  Seeking to provide employees and consumers with a clear set of alternatives in the event a
  drafting party fails to pay for arbitration, this bill offers several remedies. First, this bill
  provides that if a drafting party fails to pay any costs or fees associated with the arbitration
  within 30 days of the passing of the due date, the consumer or employee is free to remove the
  matter to court, or continue with arbitration and seek the recovery of the costs and fees.
  Additionally, to deter drafting parties from reneging on their obligation to pay the arbitration-
  related costs and fees, this bill imposes mandatory monetary sanctions on drafting parties and
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  permits the adjudicatory body to impose additional evidentiary or related sanctions on the
  drafting party. Finally, recognizing that there is currently little information on the
  demographics of arbitrators, this bill would require arbitration companies to publish self-
  reporting demographic data voluntarily collected from the arbitrators they employ.

  This bill is sponsored by the California Employment Lawyers Association and the Consumer
  Attorneys of California and is supported by several other labor or consumer protection
  organizations. The support coalition, representing the parties most likely to find themselves
  trapped in an unfunded arbitration proceeding, argue that this bill provides employees and
  consumers with clear remedies in the event that a drafting parties fails to live up to its clear
  obligations under state law. This measure is opposed by the California Chamber of Commerce
  and a coalition of business organizations who believe that the current provisions of the bill
  providing that any failure to pay for arbitration, even a small non-payment, subjects the drafting
  party to significant sanctions, go too far.

  SUMMARY: Provides that the drafting party of a commercial or employment related
  arbitration agreement is in material breach of the arbitration agreement if the drafting party fails
  to pay, as required by existing law, specified costs and fees associated with the arbitration
  proceeding. Specifically, this bill:

  1) Adds the following definitions to the California Arbitration Act:

    a) “Consumer” means an individual who seeks, uses, or acquires, by purchase or lease, any
       goods or services for personal, family, or household purposes;

    b) “Drafting party” means the company or business that included a predispute arbitration
       provision in a contract with a consumer or employee. The term includes any third party
       relying upon, or otherwise subject to the arbitration provision, other than the employee or
       consumer; and

    c) “Employee” means any current employee, former employee, or applicant for employment.
       The term includes any person who is, was, or who claims to have been misclassified as an
       independent contractor or otherwise improperly placed into a category other than
       employee or applicant for employment.

  2) Provides that in an employment or consumer arbitration that requires, either expressly or
     through application of state or federal law or the rules of the arbitration administrator, the
     drafting party to pay certain fees and costs before the arbitration can proceed, if the fees or
     costs to initiate an arbitration proceeding are not paid within 30 days after the due date, the
     drafting party is in material breach of the arbitration agreement, is in default of the
     arbitration, and waives its right to compel arbitration pursuant to existing law.

  3) Provides that in the event of a material breach of an arbitration agreement pursuant to 2), an
     employee or consumer may do the following:

    a) Withdraw the claim from arbitration and proceed in a court of appropriate jurisdiction; or

    b) Compel arbitration in which the drafting party shall pay reasonable attorney’s fees and
       costs related to the arbitration.

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  4) Provides that if an employee or consumer withdraws a claim from arbitration pursuant to 3),
     the statute of limitations with regard to all claims brought or that relate back to any claim
     brought in arbitration shall be tolled as of the date of the first filing of a claim in any court,
     arbitration forum, or other dispute resolution forum.

  5) Provides that if the employee or consumer proceeds with an action in a court of appropriate
     jurisdiction, pursuant to 3), the court shall impose sanctions on the drafting party in
     accordance with 10) and 11).

  6) Provides that in an employment or consumer arbitration that requires, either expressly or
     through application of state or federal law or the rules of the arbitration provider, that the
     drafting party pay certain fees and costs during the pendency of an arbitration proceeding, if
     the fees or costs required to continue the arbitration proceeding are not paid within 30 days
     after the due date, the drafting party is in material breach of the arbitration agreement, is in
     default of the arbitration, and waives its right to compel the employee or consumer to
     proceed with that arbitration as a result of the material breach.

  7) Provides that in the event of a material breach of an arbitration agreement pursuant to 6), an
     employee or consumer may unilaterally elect to do any of the following:

    a) Withdraw the claim from arbitration and proceed in a court of appropriate jurisdiction, and
       provides that the statute of limitations with regard to all claims brought or that relate back
       to any claim brought in arbitration shall be tolled as of the date of the first filing of a claim
       in any court, arbitration forum, or other dispute resolution forum;

    b) Continue the arbitration proceeding, if the arbitration company agrees to continue
       administering the proceeding, notwithstanding the drafting party’s failure to pay fees or
       costs and permit the neutral arbitrator or arbitration company to commence a collection
       action at the conclusion of the arbitration proceeding against the drafting party that is in
       default of the arbitration for payment of all fees associated with the employment or
       consumer arbitration proceeding, including the cost of administering any proceedings after
       the default.

    c) Petition the court for an order compelling the drafting party to pay all arbitration fees that
       the drafting party is obligated to pay under the arbitration agreement or the rules of the
       arbitration company; or

    d) Pay the drafting party’s fees and proceed with the arbitration proceeding and permit, as
       part of the award, the employee or consumer to recover all arbitration fees paid on behalf
       of the drafting party without regard to any findings on the merits in the underlying
       arbitration.

  8) Provides that if an employee or consumer withdraws a claim from arbitration pursuant to 7)
     both of the following shall apply:

    a) The employee or consumer may bring a motion, or a separate action, to recover all
       attorney’s fees and all costs associated with the abandoned arbitration proceeding, and the
       eventual recovery of arbitration fees, interest, and related attorney’s fees shall be without
       regard to any findings on the merits in the underlying action or arbitration; and

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    b) The court shall impose sanctions on the drafting party in accordance with 10) and 11).

  9) Provides that if the employee or consumer continues in arbitration pursuant to 7), the
     arbitrator may pose appropriate sanctions on the drafting party, including monetary
     sanctions, issue sanctions, evidence sanctions, or terminating sanctions.

  10) Requires the court to impose a monetary sanction against a drafting party that materially
      breaches an arbitration agreement pursuant to 2) or 6) by ordering the drafting party to pay
      the reasonable expenses, including attorney’s fees and costs, incurred by the employee or
      consumer as a result of the material breach.

  11) Permits the court, in addition to the monetary sanctions imposed pursuant to 10) to impose
      any of the following sanctions against a drafting party that materially breaches an arbitration
      agreement pursuant 2) or 6), unless the court finds that the drafting party subject to the
      sanction acted with substantial justification or that other circumstances make the imposition
      of the sanction unjust:

    a) An evidence sanction by an order prohibiting the drafting party from conducting discovery
       in the civil action;

    b) A terminating sanction that strikes out the pleadings, or parts thereof, by the drafting party
       or rendering a judgment by default against the drafting party; or

    c) A contempt sanction by an order treating the drafting party as in contempt of court.

  12) Requires an arbitration company that administers, or is otherwise involved in a consumer
      arbitration, to also include in the required report the demographic data relative to ethnicity,
      race, disability, veteran status, gender, gender identity, and sexual orientation of all
      arbitrators as provided by the arbitrators.

  13) Makes various findings and declarations providing that existing state and federal case law,
      generally, holds that the drafting party in an employment or consumer arbitration agreement
      is obligated to pay for the fees and costs associated with arbitration and that a failure to do so
      renders the arbitration agreement in breach. Provides that the intent of this bill is to affirm
      the existing case law into statute.

  14) Adopts a severability clause.

  EXISTING LAW:

  1) Governs arbitrations in California, pursuant to the California Arbitration Act (CAA),
     including the enforcement of arbitration agreements, rules for neutral arbitrators, the conduct
     of arbitration proceedings, and the enforcement of arbitration awards. (Code of Civil
     Procedure Section 1280 et seq.)

  2) Provides that on petition of a party to an arbitration agreement alleging the existence of a
     written agreement to arbitrate a controversy and that a party thereto refuses to arbitrate such
     controversy, the court shall order the petitioner and the respondent to arbitrate the
     controversy if it determines that an agreement to arbitrate the controversy exists, unless the
     court determines specified grounds exist. (Code of Civil Procedure Section 1281.2.)

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  3) Provides that if a court of competent jurisdiction has ordered arbitration of a controversy
     which is an issue involved in an action or proceeding before a court of this state, the court in
     which such action or proceeding is pending shall, upon a motion of a party, stay the action or
     proceeding until an arbitration is conducted. (Code of Civil Procedure Section 1281.4.)

  4) States that if an arbitration agreement provides a method of appointing an arbitrator, that
     method shall be followed. Additionally states that if an arbitration agreement does not
     provide a method for appointing an arbitrator, the parties to the agreement who seek
     arbitration and against whom arbitration is sought may agree on a method of appointing an
     arbitrator and that method shall be followed. (Code of Civil Procedure Section 1281.6.)

  5) Prohibits, generally, a private arbitration company from administering a consumer arbitration
     if the company has, within the previous year, had a financial interest in any party to the case,
     or representative thereof. (Code of Civil Procedure Section 1281.92.)

  6) Requires an arbitration company that administers or is otherwise involved in a consumer
     arbitration to publish and make available to the public, as specified, a single cumulative
     report that contains certain information, including the name of the arbitrator, the arbitrator’s
     fee for the case, the percentage of the fee the arbitrator collected, and whether a fee waiver
     was granted. (Code of Civil Procedure Section 1281.96.)

  7) Provides that, among other behaviors, it is a misuse of the discovery process to utilize tactics
     that result in unwarranted annoyance, embarrassment, or oppression, or undue burden and
     expense. (Code of Civil Procedure Section 2023.010.)

  8) Provides that the court may impose monetary sanctions on any person engaging in the misuse
     of the discovery process, or any attorney advising that conduct, or both pay the reasonable
     expenses, including attorney’s fees, incurred by anyone as a result of that conduct. (Code of
     Civil Procedure Section 2023.030 (a).)

  9) Provides that the court may impose an evidentiary sanction by an order prohibiting any party
     engaging in the misuse of the discovery process from introducing designated matters in
     evidence. (Code of Civil Procedure Section 2023.030 (c).)

  10) Requires the Governor, the State Bar, and the Administrative Office of the Courts to collect
      and release each year, on an aggregate statewide basis, specified information regarding the
      demographic data relative to ethnicity, race, disability, veteran status, gender, gender
      identity, and sexual orientation of judicial applicants, judicial appointees, or judicial
      nominees, as provided by them, and the percentage of respondents who declined to respond.
      (Government Code Section 12011.5 (n).)

  FISCAL EFFECT: As currently in print this bill is keyed non-fiscal.

  COMMENTS: Recognizing that many arbitration agreements are placed into contracts of
  adhesion, this bill seek to protect employees and consumers by ensuring that the party that drafts
  the arbitration agreement cannot delay adjudication of a dispute by refusing to participate in, or
  pay for, arbitration. Specifically, building on an existing body of case law, this bill would hold
  that if the fees or costs required to initiate or continue an arbitration proceeding are not paid by
  the drafting party within 30 days of the due date, that party is in default of the agreement and the

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  employee or consumer may seek to pursue their claims in court and trigger sanctions on the
  drafting parties. In support of this bill, the author states:

     SB 707 ensures that individuals who have been forced to submit to mandatory arbitration to
     resolve an employment or consumer dispute would be provided with procedural options and
     remedies under this bill when a company stalls or obstructs the arbitration proceeding by
     refusing to pay the required fees.

  As arbitration provisions have become ubiquitous in employment and consumer contracts, the
  parties drafting these adhesion contracts have gained significant advantages. Arbitration is a
  form of alternative dispute resolution held outside of courts where a third-party, rather than a
  judge, makes a binding decision regarding a potential award that is rarely appealable.
  Arbitration can pose significant difficulties for the party forced to adjudicate its claims outside of
  court. Existing law permits arbitration agreements to contain limits on evidence presented and
  the claims that can be considered. Arbitration can also save employers and providers of
  consumer goods and services significant time and costs when compared to court, thus there is
  little question why the more powerful signatory to a contract would demand arbitration.

  Most arbitration agreements are contained within a broader contract, usually a contract that is
  adhesive or take-it-or-leave-it. The arbitration agreement will lay-out the procedures that will be
  followed during the arbitration hearing. For example, the terms of the arbitration agreement may
  stipulate that the award need not be written or justified, unlike in court, and that the entire
  process be kept in secret. Arbitrators do not need to be lawyers, nor do they need to be trained in
  the law. Arbitrators who issue favorable awards to a particular company can be repeatedly-hired
  by that same company to serve as the arbitration- neutral without ever notifying the public about
  that award-history. It’s easy to predict the calls if you can hire the umpire.

  Over the past twenty years, federal courts have significantly expanded the validity of arbitration
  provisions in contracts of adhesion and considerably infringed on state’s ability to regulate such
  agreements. (See, e.g., AT&T Mobility LLC v. Concepcion (2011)562 U.S. 333.) Recognizing
  that many arbitration agreements are contained within contracts of adhesion, courts have sought
  to add some modicum of fairness to the process by holding that in such contracts, especially
  when statutory rights are being arbitrated, the agreements cannot require the employee or
  consumer to “pay either unreasonable costs or any arbitrators’ fees or expenses as a condition of
  access to the arbitration forum.” (Cole v. Burns International Security Services (1997) 105 F.3d
  1465, 1482.) In California, both state and federal courts have adopted the standard utilized by
  the United States Court of Appeals for the District of Columbia Circuit in the Cole decision.
  Accordingly, any time an employment or consumer contract requires arbitration, the drafting
  party should be paying the associated fees.

  Given that employees and consumers frequently possess little if any choice in agreeing to
  arbitrate claims, the requirement that a drafting party pay for the cost of the arbitration is wholly
  reasonable. However, when the drafting party fails to properly pay for the arbitration, existing
  law does not provide the employee and customer with a clear means to redress their harms.
  Although courts have held that such failures to pay for arbitration may be grounds to invalidate
  an arbitration agreement, state law does not provide clear guidance for courts and litigants in the
  event a drafting party fails to properly pay to commence arbitration in a timely manner.

  While existing case law requires the drafting party to pay for arbitration, some companies fail
  to comply with these requirements. As remedies for employees and consumers have narrowed,
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  the rate of arbitration filings has increased significantly. For example, after Uber won the right
  to prohibit its drivers from contesting wage claims as a class, the company was forced to
  arbitrate the claims of over 12,500 drivers. (O’Connor v. Uber Techs. (2018) 904 F.3d 1087.)
  Similarly, the burrito chain Chipotle was forced to arbitrate over 2,800 wage theft claims in
  recent years. While proponents of arbitration continue to argue that it is a cheaper, faster, more
  efficient way to resolve disputes in comparison to the overburdened court system, arbitration
  requirements can quickly burdensome for companies facing significant numbers of claims.

  Though there is a significant degree of irony that many company’s strident instance on inserting
  class action waivers into arbitration agreements is now burdening their corporate legal
  departments with thousands of individual claims in arbitration, the side effect of such actions are
  now being felt by employees and consumers as well as the companies. For example, of the
  12,500 demands for arbitration filed by Uber drivers, the company has only paid its initial filing
  fee in 296 cases. (Frankel, Alison, Forced into arbitration, 12,500 drivers claim Uber won’t pay
  fees to launch cases, Reuters (Dec. 6, 2018).) As a result, only 47 arbitrators have been
  appointed to handle the Uber disputes; of those, Uber has only paid the $1,500 retention fee in
  six cases. (Ibid.) Paradoxically, by refusing to pay the arbitration costs and fees as required by
  law, Uber and other similarly situated companies are managing to delay the adjudication of
  claims and postpone the payment of any potential judgments against the company in the name of
  a process that is supposed to be cheaper and easier for the parties. Because existing case law
  forces companies to pay for arbitration, but does not provide clear remedies for employees or
  consumers who are caught in limbo by unpaid arbitration fees, this lack of clarity means that a
  drafting party can avoid the consequences of their behavior by not paying for the dispute to be
  arbitrated.

  This bill. Recognizing that the failure of a drafting party to pay arbitration fees in a timely
  manner can inflict significant harm on consumer and employees, this bill adds several provisions
  to existing law to enable employees and consumers to seek redress of their claims in a timely
  manner, and establishes disincentives to ensure that such behavior does not occur in the first
  place.

  First, this bill provides that any drafting party that fails to pay the fees necessary to commence or
  continue arbitration, within 30 days after such fees being due to be tendered to the arbitrator, the
  drafting party is held to have materially breached the arbitration and is in default of the
  agreement.

  Second, this bill provides consumers or employees several remedies in the event a drafting party
  breaches the arbitration agreement by failing to pay the arbitration costs and fees. The bill would
  permit, should the drafting party fail to pay the costs necessary to commence arbitration, the
  employee or consumer to remove the matter to court or move to compel the arbitration. In the
  event that the drafting party fails to pay the fees or costs necessary to continue an arbitration
  currently in progress, the bill enables the employee or consumer to move the matter to court,
  seek a court order compelling the payment of the fees, continue the arbitration and permit the
  arbitrator to seek collection of their fees, or pay the costs and fees and seek those fees from the
  drafting party at the conclusion of the arbitration regardless of the ultimate outcome.

  Finally, to deter drafting parties from failing to pay arbitration costs and fees in a timely manner,
  this bill imposes mandatory monetary sanctions on any drafting party found to be in default of an


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  arbitration agreement for failure to pay costs and fees, and permits the imposition of additional
  evidentiary, terminating, or contempt sanctions, as the court or arbitrator sees fit.

  Furthermore, recognizing that the state has very little information regarding the demographics of
  those serving as arbitrators, this bill would require arbitration companies to report demographic
  data, on an aggregate basis, regarding the ethnicity, race, disability status, veteran status, gender,
  gender identity, and sexual orientation of all arbitrators. The bill would permit this information
  to be provided on a self-reporting basis by arbitrators and would require the arbitration company
  to disclose the percentage of arbitrators who declined to respond.

  Justice delayed is justice denied. As noted above, employees and consumers forced to arbitrate
  claims against large companies are at a distinct disadvantage. Should the ambiguity in existing
  statutes permit companies that draft arbitration agreements to delay the adjudication of claims,
  these drafting parties can simply deny claimants any semblance of justice by simply refusing to
  pay for the arbitration they contracted for. Indeed, if such a system were permitted to continue,
  courts have suggested this would create a, “perverse incentive scheme” whereby “employers…
  would have an incentive to refuse to arbitrate claims brought by employees in the hope that the
  frustrated employees would simply abandon them.” (Brown v. Dillards, Inc. (2005) 430 F.3df
  1004, 1012.)

  To ensure that a drafting party cannot unilaterally prevent a party from adjudicating their claims
  in the forum that the drafting party unilaterally foisted onto the claimant, this bill would provide
  employees and consumers remedies if a drafting party refuses to pay. Most importantly, this bill
  provides employees and consumers to get their claim adjudicated in the venue of their choice in a
  timely manner.

  The sanctions provided in this bill are intended to deter bad actors. In opposition to this
  measure, the California Chamber of Commerce, and a coalition of business organizations, object
  to the provisions of this bill providing that failure to pay arbitration costs and fees in a timely
  manner constitutes a material breach of a contract. A material breach is typically viewed as a
  breach of contract so serious as to permit the non-breaching party to excuse additional
  performance of the contract, in this case remain in arbitration. Not only would this bill excuse
  the performance of the contract in the case of a material breach, but it would also impose
  sanctions on the breaching party. The California Chamber of Commerce notes that these
  provisions may impose sanctions even if, “the drafting party paid a majority of the fees and
  costs, but yet a small, minor portion was not paid.” The opposition appears to argue that a
  relative small non-payment of arbitration fees or costs should not constitute a material breach of
  the contract.

  The opposition is not incorrect in stating that a failure to pay the required costs and fees in full
  would expose a company to significant monetary penalties and potentially serious evidentiary
  sanctions or a contempt holding. However, this risk should also be viewed in light of the harm
  that the drafting party’s breach of contract could impose on employees or consumers who are in
  limbo, with no avenue to pursue their legal rights. Particularly in employment matters, the
  plaintiff’s livelihood may be the subject of the adjudication. Although a large company may
  view its failure to pay a few hundred dollars for arbitration as a minor, immaterial, mistake, that
  mistake may delay the hearing of an employee’s claims. While immaterial to the drafting party,
  the ensuing delay associated with this minor error could be significant to the employee, who may
  not be able to pay bills, rent or other expenses that could result in the loss of their residence, or

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  damage to their credit rating, while the dispute remains unresolved. For example, when
  chastising Chipotle’s request to delay the filing of arbitration claims on the grounds that the
  claims were overwhelming the company, the court stated that the company’s attempt to delay
  and obfuscate the adjudication of claims was “unseemly.” (Order Denying Defendant Chipotle
  Mexican Grill, Inc’s Motion for Entry of Judgement Pursuant to Fed. R. Civ. P. 54(B) (ECF No.
  202) and Motion to Reinstate Stay (ECF No. 203), Kane, J., Case No. 1-14-cv-02612-JLK,
  Document 212, (Nov. 20, 2018), U.S.D.C. Colorado.) Furthermore, as noted in the Dillard’s
  case, a failure to stop such conduct would establish a perverse incentive for drafting parties to
  demand arbitration in a contract of adhesion and then refuse to pay the arbitrator when a claim
  was made. In light of the extreme hardship that needlessly delaying arbitration may cause to
  plaintiffs, the material breach and sanction provisions of this bill would seem to be a strict yet
  reasonable method to ensure the timely adjudication of employee and consumer claims that are
  subject to arbitration.

  This bill appears to narrowly target those who are most at risk from predatory arbitration
  delays. In keeping this bill in line with much of the existing case law, the author focuses on
  arbitration involving employment and consumer disputes. After negotiations between the
  stakeholders, the definition of consumer was narrowed in the Senate to only include persons who
  “purchase or lease” good and services. The bill currently defines an employee as, “any current
  employee, former employee, or applicant for employment” and includes any person who “is,
  was, or who claims to have been misclassified as an independent contractor,” or otherwise
  misclassified in their employment.

  Beyond the opposition to this bill stated by the California Chamber of Commerce and their
  associated coalition, the San Gabriel Valley Economic Partnership contends that the definition of
  employee provided by this bill is too broad. In particular, the Partnership objects to the inclusion
  of employees who allege they are misclassified as independent contractors. This objection
  appears to encompass many of the “gig economy” employees who have fought for years in
  courts and in arbitration to be properly classified under the law. The Partnership contends that,
  “under the proposed definition, this individual could request the company pay for the
  arbitrator…even if the actual contract between a company and independent contractor provides
  otherwise. If the company refuses to pay within 30 days on the basis that the individual is not an
  employee…this would be a material breach.”

  Ironically, many of the “independent contractors” that the San Gabriel Valley Economic
  Partnership would like to see pay their share of the fees actually involve employees misclassified
  as independent contractors. For example, entwined within the wage claims against Uber,
  discussed above, included allegations of employee misclassification. It should be noted that
  nothing in this bill would preclude an arbitrator from subsequently requiring a plaintiff to
  reimburse a drafting party for arbitration costs and fees should the arbitrator determine the
  plaintiff was in fact an independent contractor. Furthermore, the intent of the case law requiring
  the drafting party to pay for arbitration reflects the general belief that fairness dictates that the
  law “places the cost of arbitration on the party that imposes it.” (Armendariz v. Foundation
  Health Psychcare Services, Inc. (2000) 24 Cal. 83, 111.) The case law notes that in the absence
  of such a rule there is “significant risk that employees will have to bear large costs to vindicate
  their statutory right.” (Id.at p. 110.) Many of the independent contractors in the “gig economy”
  face similar economic hardships as employees. Recognizing that the intent of the case law this
  bill seeks to codify is to protect the economically vulnerable party in an arbitration, including


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  misclassified workers, incorporating such plaintiffs into the definition of employee seems wholly
  consistent with the case law and is a reasonable component this bill.

  Changes in corporate circumstances and the burdens of arbitration. The entire coalition
  opposing this bill also notes that the strict provisions surrounding the breach of the contract and
  associated sanctions are unfair to companies who no longer possess the “same financial means”
  at the time arbitration is demanded as the company did when they drafted the contract providing
  arbitration as the only venue for consumers or employees to adjudicate issues. While they
  concede that such a circumstance may warrant moving the dispute to court they contend
  imposing sanctions in such a case would be unwarranted.

  The concerns of the business community are not wholly unjustified. For example, should a
  recession drive a company to the brink of bankruptcy, the company may truly have no ability to
  pay for arbitration through no fault of their own. Nevertheless, regardless of a company’s
  situation, a business that finds itself stuck in an arbitration it cannot afford can easily trace its
  own choice – perhaps motivated by corporate America’s zealous insistence on placing binding
  arbitration provisions in nearly every contract of adhesion it signs with employees or consumers
  – to require arbitration. Furthermore, regardless of a company’s finances, it should be noted that
  existing binding arbitration agreements leave employees and consumers with few remedies.
  While a company is attempting to determine its ability to afford arbitration, the existing law is
  leaving employee and consumer claims in limbo. Accordingly, the sanctions, while unforgiving,
  seem justified regardless of the present economic status of the drafting party. Perhaps, in order
  to lessen their risk of sanctions, drafting parties should reconsider their liberal use of binding
  arbitration provisions in contracts, or at a minimum, consider drafting these agreement in a
  manner that provides all parties increased access to the court system in the event circumstances
  arise that warrant adjudicating disputes in court.

  Presently the legal profession is attempting to study and address its struggle to diversify,
  however, despite their critical role in the legal system, very little data exists regarding the
  diversity of arbitrators. Last month, this Committee held an informational hearing examining
  the legal profession’s striking lack of diversity. As a part of the background for that hearing the
  Committee highlighted data from the State Bar of California that noted that 80 percent of
  California attorneys were white, compared with just 37 percent of the state’s population as a
  whole. The Committee also expressed a concern that the present lack of diversity found within
  the bar and on the bench may translate into the ranks of arbitrators, especially given that most
  arbitrators are typically retired attorneys or judges. Notably, iconic music mogul Jay-Z raised
  this concern when he challenged the American Arbitration Association’s purported lack of
  qualified African Americans on its roster of arbitrators. Jay-Z stated, “It would stand to reason
  that prospective litigants – which undoubtable include minority owned and operated business –
  expect there to be the possibility that the person who stands in the shoes of both judge and jury
  reflect the diverse population.” (Dan Packel, Jay-Z, Quinn Emanuel Say AAA Offers Only
  “Token” Black Arbitrators, The Recorder (Nov. 28, 2018), quoting Jay-Z.)

  A 2015 survey of arbitrators nationwide would seem to justify the concerns of both Jay-Z and
  this Committee, finding that a staggering 92 percent of arbitrators were white and 74 percent
  were male. (Colvin & Stone, The Arbitration Epidemic- Mandatory arbitration deprives
  workers and consumers of their rights, Economic Policy Institute (Dec. 7, 2015).) The
  proponents of this measure note that although California collects significant information
  regarding arbitration companies’ behavior, as well as significant demographic data about judges

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  and attorneys, the state does not collect demographic data regarding arbitrators. Accordingly,
  this bill seeks to impose a modest, self-reporting demographic data requirement on arbitration
  companies. In support of these provisions the author states:

     SB 707 will also require arbitration companies to report the same kind of demographic
     information that our judiciary is required to report (including gender, race and ethnicity).
     The purpose of this is to hopefully galvanize some better recruitment and hiring practices by
     the arbitration companies and highlight the fact that arbitration cannot be a fair process when
     the arbitrators do not remotely reflect the diverse experiences and backgrounds of the people
     who are bringing their claims before them, or are forced to bring their claims before them,
     which is very often the case.

  It should be noted that none of the opposition to this measure objects to the demographic data
  collection provisions.

  ARGUMENTS IN SUPPORT: This bill is co-sponsored by the Consumer Attorneys of
  California and the California Employment Lawyers Association who represent many of the
  parties in the arbitration proceedings in which the drafting party may fail to pay for the costs of
  the proceedings. In support of the bill the California Employment Lawyers Association states:

     SB 707 bill addresses two distinct problems in arbitration. First, the procedural limbo and
     delay workers and consumers face when they submit to arbitration, pursuant to a mandatory
     arbitration agreement, but the employer fails or refuses to pay their share of the arbitration
     fees. Second, the alarming lack of diversity in the arbitration industry, which calls into
     question the ability of the industry to fairly adjudicate claims brought by an increasingly
     diverse workforce in California.

  ARGUMENTS IN OPPOSITION: This bill is opposed by the California Chamber of
  Commerce and a coalition of affiliated business organizations. Writing for the coalition, the
  Chamber of Commerce states:

     The main remaining concern is the actions or omissions that qualify as a “material breach”
     and trigger loss of opportunity to arbitrate, monetary damages/sanctions, and possibly more
     severe sanctions such as evidentiary or terminating sanctions. For example, we are
     concerned that, even if the drafting party paid a majority of the fees and costs, but yet a
     small, minor portion was not paid, SB 707 would deem that nominal amount a “material
     breach,” thereby subjecting the employer or company to the same list of punishments as an
     employer or company who intentionally withheld the entire payment in an effort to delay the
     arbitration.

  REGISTERED SUPPORT / OPPOSITION:

  Support

  California Employment Lawyers Association (co-sponsor)
  Consumer Attorneys of California (co-sponsor)
  California Labor Federation
  California Professional Firefighters
  Conference of California Bar Associations
  Equal Rights Advocates
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  SEIU California
  United Food and Commercial Workers, Western States Council

  Opposition

  Allied Managed Care and Acclamation Insurance Management Services
  California Apartment Association
  California Association of Joint Powers Authorities
  California Association of Winegrape Growers
  California Chamber of Commerce
  California Hospital Association
  California League of Food Producers
  California Manufacturers and Technology Association
  California Restaurant Association
  California Retailers Association
  California Trucking Association
  CSAC – Excess Insurance Authority
  Flasher Barricade Association
  Official Police Garages of Los Angeles
  San Gabriel Valley Economic Partnership
  Securities Industry and Financial Markets Association

  Analysis Prepared by: Nicholas Liedtke / JUD. / (916) 319-2334




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                                    #:2585

  From: Warren Postman wdp@kellerlenkner.com
Subject: RE: 10,356 Individuals v. Postmates, Inc.
   Date: May 22, 2020 at 7:21 PM
     To: Manthripragada, Dhananjay S. DManthripragada@gibsondunn.com, Fogelman, James P. JFogelman@gibsondunn.com,
         Mathur, Shaun SMathur@gibsondunn.com, Evangelis, Theane TEvangelis@gibsondunn.com, Cochrane, Thomas
         TCochrane@gibsondunn.com, Maryott, Michele L. MMaryott@gibsondunn.com, McKenna, Madeleine
         MMcKenna@gibsondunn.com
    Cc: Ashley Keller ack@kellerlenkner.com, Travis Lenkner tdl@kellerlenkner.com, Sean Duddy skd@kellerlenkner.com,
         Marquel Reddish mpr@kellerlenkner.com


     DJ,

     First, you don’t dispute (and cannot dispute) the following statement: “In response to my questions, you stated that
     Postmates is willing to commence individual arbitrations with all of our clients, and to have all of their arbitrations
     promptly assigned to arbitrators right away.” We can debate later what the necessary implications of that are. As I
     stated in my prior email, if Postmates will not comply with its agreement even when it is under a federal court order to do
     so, we respectfully do not believe you when you say Postmates is interested in commencing individual arbitration with all
     of our clients in the manner required by the Fleet Agreement. Your continued resistance to the idea that “it is possible to
     conduct thousands of individual arbitrations at once without producing a ‘de facto class arbitration’” only increases our
     skepticism and illustrates why we are not willing to delay our clients’ motion to compel.

     We accordingly do not agree to discuss a departure from the forum and process Postmates agreed to in the Fleet
     Agreement. And you have rejected our proposal that Postmates demonstrate its good faith by paying the filing fees AAA
     required for the remaining Adams Petitioners. It is therefore clear that we are at an impasse. Moreover, we have plainly
     satisfied Judge Gutierrez’s standing order, which requires counsel to “discuss the issues to a sufficient degree that if a
     motion is still necessary, the briefing may be directed to those substantive issues requiring resolution by the Court.” You
     obviously know the issues in dispute, as you preemptively filed a declaratory judgment action and sought a temporary
     restraining order to resolve them.

     Sincerely,

     Warren D. Postman
     Partner
     Keller | Lenkner
     1300 I Street, N.W., Suite 400E | Washington, D.C. 20005
     202.749.8334 | Website | Email


     From: Manthripragada, Dhananjay S. <DManthripragada@gibsondunn.com>
     Sent: Friday, May 22, 2020 6:20 PM
     To: Warren Postman <wdp@kellerlenkner.com>; Fogelman, James P. <JFogelman@gibsondunn.com>; Mathur, Shaun
     <SMathur@gibsondunn.com>; Evangelis, Theane <TEvangelis@gibsondunn.com>; Cochrane, Thomas
     <TCochrane@gibsondunn.com>; Maryott, Michele L. <MMaryott@gibsondunn.com>; McKenna, Madeleine
     <MMcKenna@gibsondunn.com>
     Cc: Ashley Keller <ack@kellerlenkner.com>; Travis Lenkner <tdl@kellerlenkner.com>; Sean Duddy
     <skd@kellerlenkner.com>; Marquel Reddish <mpr@kellerlenkner.com>
     Subject: RE: 10,356 Individuals v. Postmates, Inc.

     Warren,

     Thank you for speaking yesterday and for sending over your proposal. We are disappointed to see that you could not
     refrain from mischaracterizing what I said, even though we specifically discussed yesterday why what you wrote below is
     inaccurate.

     You state that “Postmates now concedes that it is possible to conduct thousands of individual arbitrations at once without
     producing a ‘de facto class arbitration.’” While Ashley may have said that during our call, Postmates did not. Rather,
     Postmates extended an offer in good faith to move your clients’ claims to another arbitral forum in light of AAA’s
     statement that it “will decline to administer any future cases involving” Postmates, absent a court order, and request that
     Postmates “remove [AAA’s] name from its arbitration agreements so there is no confusion to the public.” Cheryl Florio
     Email, April 20, 2020 at 2:56 PM PST. Postmates proposed that the parties work together to identify another arbitral
     forum that is suitable for all parties (if one exists), and to identify a process to resolve all your clients’ claims individually
     (if one exists). Postmates extended this offer so that the parties could end their year-long logjam, and so that your
     clients could have their day in arbitration.

     In response, you said that the parties can arbitrate before AAA or settle. It was clear that your clients have no interest in
     actually arbitrating their claims, and prefer to insist that Postmates participate in the same non-individual proceedings
     before AAA. We even asked if your clients would agree to have an arbitrator decide procedurally how the arbitrations
     should proceed. You expressly denied that request, but suggested that Postmates offer another specific proposal.

     Postmates proposes (i) that the parties move their disputes to FedArb, (ii) that the parties agree to have one arbitrator


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  Postmates proposes (i) that the parties move their disputes to FedArb, (ii) that the parties agree to have one arbitrator
  assigned to each case, (iii) that FedArb’s appellate rules apply, and (iv) that the parties work together and with FedArb
  on a process to resolve all your clients’ claims in the individualized manner required by the parties’ arbitration
  agreements.

  As discussed yesterday, this is but one proposal, and Postmates is open to moving your clients’ claims to other providers
  aside from FedArb. For instance, Postmates is open to distributing your clients’ claims among multiple different
  providers, assuming the parties can agree on those providers and the process for resolving your clients’ claims in an
  individual manner.

  As for your proposal, it is not much of a proposal at all. Indeed, you propose that the parties engage in the same
  process that has led to the extended standoff that has, unfortunately, transpired between the parties. If you have
  another proposal that would actually move your clients closer to having their claims resolved in arbitration, then
  Postmates would be happy to hear it. In the meantime, we think it makes little sense for you to move forward with your
  motion to compel arbitration while the parties exchange ideas on how your clients’ claims may be resolved in arbitration.

  Finally, and as discussed during yesterday’s call, Postmates believes that it would violate Local Rule 7-3 for you to file
  your motion to compel arbitration today. Postmates reserves its right to move to strike your motion to compel arbitration
  for failure to comply with the Local Rules and Judge Gutierrez’s Standing Order.

  Thanks,
  DJ
  Dhananjay S. Manthripragada

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  From: Warren Postman <wdp@kellerlenkner.com>
  Sent: Friday, May 22, 2020 9:59 AM
  To: Manthripragada, Dhananjay S. <DManthripragada@gibsondunn.com>; Fogelman, James P.
  <JFogelman@gibsondunn.com>; Mathur, Shaun <SMathur@gibsondunn.com>; Evangelis, Theane
  <TEvangelis@gibsondunn.com>; Cochrane, Thomas <TCochrane@gibsondunn.com>; Maryott, Michele L.
  <MMaryott@gibsondunn.com>; McKenna, Madeleine <MMcKenna@gibsondunn.com>
  Cc: Ashley Keller <ack@kellerlenkner.com>; Travis Lenkner <tdl@kellerlenkner.com>; Sean Duddy
  <skd@kellerlenkner.com>; Marquel Reddish <mpr@kellerlenkner.com>
  Subject: RE: 10,356 Individuals v. Postmates, Inc.

  [External Email]
  DJ,

  Thank you for the discussion yesterday regarding our forthcoming motion to compel arbitration. On the call, you said
  Postmates was interested in discussing a process and arbitral forum through which the parties could resolve their claims
  in individual arbitration. In response to my questions, you stated that Postmates is willing to commence individual
  arbitrations with all of our clients, and to have all of their arbitrations promptly assigned to arbitrators right away.

  This was surprising to us, as Postmates has refused for the better part of a year to do this at AAA. We responded that, if
  Postmates is now willing to engage in such a process, it should do so at AAA under the rules required by the Fleet
  Agreement. You were not willing to agree to this on the phone in part because you believe AAA will not administer future
  arbitrations involving Postmates absent a judicial order compelling arbitration. But you suggested that we send you a
  proposal in writing.

  Our proposal is this: Postmates should pay the filing fees AAA required for the remaining Adams Petitioners so that AAA
  can immediately assign those arbitrations to arbitrators. That will result in individual arbitration of each claimant’s claims.
  It will be the precise process agreed to under the parties’ agreements and ordered by a federal court. And AAA has
  made clear that it will administer those arbitrations. Indeed, taking your statements yesterday at face value, we do not
  understand Postmates’s refusal to move forward with the Adams claimants. If Postmates now concedes that it is
  possible to conduct thousands of individual arbitrations at once without producing a “de facto class arbitration,” then the
  only objection Postmates could have to individual arbitration at AAA is that AAA’s fees are too high. That is plainly not a
  legitimate objection given that Postmates agreed by contract to arbitrate at AAA under AAA’s Rules and fee schedule.

  If Postmates pays the filing fees to proceed with the remaining Adams Petitioners, we will happily discuss a similar
  process for our remaining clients. But if Postmates will not comply with its agreement even when it is under a federal
  court order to do so, we respectfully do not believe you when you say Postmates is interested in commencing individual
  arbitration with all of our clients in the manner required by the Fleet Agreement. For this same reason, we do not think it
  is in the interests of our clients to delay their motion to compel arbitration when Postmates has to date shown no
  willingness to engage in individual arbitration with each client as required by the Fleet Agreement voluntarily.



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  Sincerely,

  Warren D. Postman
  Partner
  Keller | Lenkner
  1300 I Street, N.W., Suite 400E | Washington, D.C. 20005
  202.749.8334 | Website | Email


  From: Warren Postman
  Sent: Wednesday, May 20, 2020 3:05 PM
  To: Manthripragada, Dhananjay S. <DManthripragada@gibsondunn.com>; Fogelman, James P.
  <JFogelman@gibsondunn.com>; Mathur, Shaun <SMathur@gibsondunn.com>; Evangelis, Theane
  <TEvangelis@gibsondunn.com>; Cochrane, Thomas <TCochrane@gibsondunn.com>; Maryott, Michele L.
  <MMaryott@gibsondunn.com>; McKenna, Madeleine <MMcKenna@gibsondunn.com>
  Cc: Ashley Keller <ack@kellerlenkner.com>; Travis Lenkner <tdl@kellerlenkner.com>; Sean Duddy
  <skd@kellerlenkner.com>; Marquel Reddish <mpr@kellerlenkner.com>
  Subject: RE: 10,356 Individuals v. Postmates, Inc.

  DJ,

  We can do Thursday at 4pm. I’ll send a conference line.

  Sincerely,

  Warren D. Postman
  Partner
  Keller | Lenkner
  1300 I Street, N.W., Suite 400E | Washington, D.C. 20005
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  From: Manthripragada, Dhananjay S. <DManthripragada@gibsondunn.com>
  Sent: Wednesday, May 20, 2020 2:24 PM
  To: Warren Postman <wdp@kellerlenkner.com>; Fogelman, James P. <JFogelman@gibsondunn.com>; Mathur, Shaun
  <SMathur@gibsondunn.com>; Evangelis, Theane <TEvangelis@gibsondunn.com>; Cochrane, Thomas
  <TCochrane@gibsondunn.com>; Maryott, Michele L. <MMaryott@gibsondunn.com>; McKenna, Madeleine
  <MMcKenna@gibsondunn.com>
  Cc: Ashley Keller <ack@kellerlenkner.com>; Travis Lenkner <tdl@kellerlenkner.com>; Sean Duddy
  <skd@kellerlenkner.com>; Marquel Reddish <mpr@kellerlenkner.com>
  Subject: RE: 10,356 Individuals v. Postmates, Inc.

  Warren – Thank you for following up. We are available to meet and confer with you on Thursday after 4pm. In the
  alternative, we are available from 3-4pm on Friday. Let us know what works best for you.

  Thank you,
  DJ
  Dhananjay S. Manthripragada

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  From: Warren Postman <wdp@kellerlenkner.com>
  Sent: Tuesday, May 19, 2020 4:41 PM
  To: Manthripragada, Dhananjay S. <DManthripragada@gibsondunn.com>; Fogelman, James P.
  <JFogelman@gibsondunn.com>; Mathur, Shaun <SMathur@gibsondunn.com>; Evangelis, Theane
  <TEvangelis@gibsondunn.com>; Cochrane, Thomas <TCochrane@gibsondunn.com>; Maryott, Michele L.
  <MMaryott@gibsondunn.com>; McKenna, Madeleine <MMcKenna@gibsondunn.com>
  Cc: Ashley Keller <ack@kellerlenkner.com>; Travis Lenkner <tdl@kellerlenkner.com>; Sean Duddy
  <skd@kellerlenkner.com>; Marquel Reddish <mpr@kellerlenkner.com>
  Subject: RE: 10,356 Individuals v. Postmates, Inc.

  [External Email]
  DJ,

  On April 21, I confirmed that we intended to file a motion to compel on behalf of clients whose arbitrations had been
  closed as a result of Postmates’s failure to pay its filing fees. You stated that Postmates intends to roll out a new
  arbitration agreement soon and proposed that the parties meet and confer regarding moving our clients’ arbitrations to a

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  arbitration agreement soon and proposed that the parties meet and confer regarding moving our clients’ arbitrations to a
  different arbitral forum. I responded that we would be happy to confer regarding how to proceed with individual
  arbitration of our clients’ claims after receiving a draft of Postmates’s revised arbitration agreement. On April 28, I
  further confirmed that we would treat the agreement as settlement privileged.

  We have not received any response from you since then and plan to file our motion to compel arbitration on Friday. If
  you would like to resume discussion of how to proceed with individual arbitrations, thereby avoiding the need for a
  motion, we would be happy to do so. Please let me know if you or someone on your team is available tomorrow or
  Thursday to discuss.

  Sincerely,

  Warren D. Postman
  Partner
  Keller | Lenkner
  1300 I Street, N.W., Suite 400E | Washington, D.C. 20005
  202.749.8334 | Website | Email


  From: Warren Postman
  Sent: Saturday, April 25, 2020 10:39 PM
  To: Manthripragada, Dhananjay S. <DManthripragada@gibsondunn.com>; Fogelman, James P.
  <JFogelman@gibsondunn.com>; Mathur, Shaun <SMathur@gibsondunn.com>; Evangelis, Theane
  <TEvangelis@gibsondunn.com>; Cochrane, Thomas <TCochrane@gibsondunn.com>; Maryott, Michele L.
  <MMaryott@gibsondunn.com>; McKenna, Madeleine <MMcKenna@gibsondunn.com>
  Cc: Ashley Keller <ack@kellerlenkner.com>; Travis Lenkner <tdl@kellerlenkner.com>; Sean Duddy
  <skd@kellerlenkner.com>; Marquel Reddish <mpr@kellerlenkner.com>
  Subject: RE: 10,356 Individuals v. Postmates, Inc.

  DJ,

  To the extent we are able to review the draft agreement and have a discussion with you before Postmates sends a new
  agreement to our clients, we agree that any such agreement and discussion would be covered by the settlement
  communication privilege. Like you, we reserve all rights regarding the permissibility of you sending a new arbitration
  agreement to our clients without our consent. And while it should go without saying, any arbitration agreement that is
  sent to our clients directly rather than to us would not be covered by the settlement communication privilege. Please let
  us know when you can be available for a call.

  Sincerely,

  Warren D. Postman
  Partner
  Keller | Lenkner
  1300 I Street, N.W., Suite 400E | Washington, D.C. 20005
  202.749.8334 | Website | Email


  From: Manthripragada, Dhananjay S. <DManthripragada@gibsondunn.com>
  Sent: Friday, April 24, 2020 3:28 PM
  To: Warren Postman <wdp@kellerlenkner.com>; Fogelman, James P. <JFogelman@gibsondunn.com>; Mathur, Shaun
  <SMathur@gibsondunn.com>; Evangelis, Theane <TEvangelis@gibsondunn.com>; Cochrane, Thomas
  <TCochrane@gibsondunn.com>; Maryott, Michele L. <MMaryott@gibsondunn.com>; McKenna, Madeleine
  <MMcKenna@gibsondunn.com>
  Cc: Ashley Keller <ack@kellerlenkner.com>; Travis Lenkner <tdl@kellerlenkner.com>; Sean Duddy
  <skd@kellerlenkner.com>; Marquel Reddish <mpr@kellerlenkner.com>
  Subject: RE: 10,356 Individuals v. Postmates, Inc.

  Warren,

  We obviously disagree with your interpretation of Rule 4.2, which makes no sense from a legal or practical standpoint.
  And we have no obligation to provide you a copy of the revised Fleet Agreement in advance of our client’s update. That
  said, reserving our rights, we are willing to schedule a call with you to discuss and to send you a copy pursuant to the
  settlement communication privilege before the call so you have a chance to review it. We would want you to agree in
  advance of the call that the discussion would be covered by the settlement communication privilege so that each of us
  could speak frankly during the call. Let us know if you have any interest in that, and if so we will send you our available
  dates to discuss.

  Thanks,
  DJ
  Dhananjay S. Manthripragada




                                                                                                                  WP0124
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  GIBSON DUNN
  Gibson, Dunn & Crutcher LLP
  333 South Grand Avenue, Los Angeles, CA 90071-3197
  Tel +1 213.229.7366 • Fax +1 213.229.6366
  DManthripragada@gibsondunn.com • www.gibsondunn.com

  From: Warren Postman <wdp@kellerlenkner.com>
  Sent: Wednesday, April 22, 2020 12:46 PM
  To: Manthripragada, Dhananjay S. <DManthripragada@gibsondunn.com>; Fogelman, James P.
  <JFogelman@gibsondunn.com>; Mathur, Shaun <SMathur@gibsondunn.com>; Evangelis, Theane
  <TEvangelis@gibsondunn.com>; Cochrane, Thomas <TCochrane@gibsondunn.com>; Maryott, Michele L.
  <MMaryott@gibsondunn.com>; McKenna, Madeleine <MMcKenna@gibsondunn.com>
  Cc: Ashley Keller <ack@kellerlenkner.com>; Travis Lenkner <tdl@kellerlenkner.com>; Sean Duddy
  <skd@kellerlenkner.com>; Marquel Reddish <mpr@kellerlenkner.com>
  Subject: RE: 10,356 Individuals v. Postmates, Inc.

  [External Email]
  DJ,

  I will address each of your points in turn.

  First, your interpretation of Rule 4.2 attacks a strawman. I did not suggest that Rule 4.2 applies to the situation approved
  of in the cases you cite—i.e., where an attorney contacts someone to alter a contract before learning that the party is
  represented in a related matter. None of the cases you cite approves of what you seem to be contemplating here, which
  would involve attorneys indirectly contacting a party they already know is represented about a matter related to the
  representation. That conduct is expressly prohibited by Rule 4.2, as recognized in S.F. Unified Sch. Dist. ex rel.
  Contreras. Indeed, in the Cobell case you cite, the court referred the attorneys in question to a disciplinary panel,
  explaining that although standard billing communications are ordinarily permissible, the statements at issue would have
  extinguished claims in the litigation and therefore were a violation of Rule 4.2. 212 F.R.D. 14, 22 (D.D.C. 2002). We
  withdrew the TRO motion in Abernathy because DoorDash so thoroughly retreated from its misguided position that we
  felt we had already won. Judge Alsup agreed. See Hearing Tr. 63:13–18 (“Mr. Fogelman: ‘The relief that they are
  requesting wasn’t necessary, and they claim they’ve got it.’ The Court: ‘It was necessary.’”). The withdrawal did not
  reflect any doubt regarding the requirements of Rule 4.2.

  Second, Keith Chapman is an attorney, the Associate General Counsel for Postmates, and has participated in these
  disputes as counsel to Postmates. To our knowledge, he is plainly not a represented party but, rather, counsel for a
  represented party. Once again, the case you cite on this issue says nothing about the proposition you cite it for—i.e., it
  says nothing about the permissibility of contacting an in-house attorney who is acting as counsel to a represented party.
  If Gibson Dunn represents Keith Chapman in his personal capacity in these matters, or if Keith is not in fact serving as
  Postmates’s counsel in these matters, please let us know and we will avoid future contact.

  Third, the purpose of Rule 4.2, which obviously is implicated here, is to ensure that a represented party has the ability to
  receive the advice of counsel before an adversary’s lawyer asks them to do something that would impact their legal
  rights. However, as counsel to our clients, we may consent to our clients’ being asked directly to sign a new arbitration
  agreement if we have been informed in advance of the terms of the agreement and have an opportunity to advise our
  clients before they are sent the agreement. To that end, please provide us with a copy of any agreement you intend to
  send to our clients and tell us when you would like to send it. After receiving that information, we would be happy to
  confer regarding how to proceed with individual arbitration of our clients’ claims.

  Sincerely,

  Warren D. Postman
  Partner
  Keller | Lenkner
  1300 I Street, N.W., Suite 400E | Washington, D.C. 20005
  202.749.8334 | Website | Email


  From: Manthripragada, Dhananjay S. <DManthripragada@gibsondunn.com>
  Sent: Tuesday, April 21, 2020 9:11 PM
  To: Warren Postman <wdp@kellerlenkner.com>; Fogelman, James P. <JFogelman@gibsondunn.com>; Mathur, Shaun
  <SMathur@gibsondunn.com>; Evangelis, Theane <TEvangelis@gibsondunn.com>; Cochrane, Thomas
  <TCochrane@gibsondunn.com>; Maryott, Michele L. <MMaryott@gibsondunn.com>; McKenna, Madeleine
  <MMcKenna@gibsondunn.com>
  Cc: Ashley Keller <ack@kellerlenkner.com>; Travis Lenkner <tdl@kellerlenkner.com>; Sean Duddy
  <skd@kellerlenkner.com>; Marquel Reddish <mpr@kellerlenkner.com>
  Subject: RE: 10,356 Individuals v. Postmates, Inc.

  Warren,


                                                                                                                  WP0125
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  Rule 4.2 does not apply to Postmates providing access to its new Fleet Agreement by the independent contractors who
  use Postmates’ platform as couriers. While the rule has usually been applied to communications between companies
  and their employees, such cases make clear that Postmates can communicate with anyone who accesses its App,
  including anyone you claim to represent. Rule 4.2 has been held not to prevent a company from rolling out a new
  arbitration agreement to all workers in the ordinary course of business. See, e.g., Davis v. Nordstrom, Inc., 755 F.3d
  1089, 1093 (9th Cir. 2014) (a business is “permitted to unilaterally change the terms of [a worker’s] employment”);
  Azeveda v. Comcast Cable Commc’ns LLC, 2019 WL 5102607, at *6 (N.D. Cal. Oct. 11, 2019) (plaintiff bound by revised
  arbitration agreement); Trudeau v. Google LLC, 349 F. Supp. 3d 869, 877 (N.D. Cal. 2018) (plaintiff bound by updated
  terms of service); Lee v. Postmates Inc., 2018 WL 4961802, at *5 (N.D. Cal. Oct. 15, 2018) (plaintiff subject to revised
  arbitration terms received and accepted after filing class action complaint). Nothing you cite suggests otherwise.
  Indeed, Rule 4.2 “does not prevent represented persons from communicating directly with one another with respect to
  the subject of representation, nor does it prohibit a lawyer from advising a client concerning such communication.” Rule
  4.2 cmt. 3. And courts regularly hold that communications between a business and workers are proper, even when a
  worker has brought suit against the business. See, e.g., Lillehagen v. Alorica, Inc., 2014 WL 12768156, at *5-7 (C.D.
  Cal. Dec. 18, 2014) (new hires signed arbitration agreement as condition of employment six months after putative class
  action filed); Cobell v. Norton, 212 F.R.D. 14, 20 (D.D.C. 2002) (“Defendants will be permitted to continue engaging in
  the regular sorts of business communications with class members that occur in the ordinary course of business.”). I am
  confident that you know of the litany of cases contradicting your position, given that you withdrew the motion for a
  temporary restraining order that you attached to your email.

  Ironically, your email violates the very Rule of Professional Conduct that you cite. Rule 4.2 prohibits a lawyer from
  communicating directly or indirectly with a represented party about the subject of the representation, yet you directly
  emailed our client representative, Keith Chapman, without our consent. Courts have held that sending communications
  to opposing counsel and their client’s in-house counsel violates Rule 4.2. See, e.g., SEC v. ACI Investors Protective
  Ass’n, 99 F.3d 1146 (9th Cir. 1996). Certainly you are aware that the Rules of Professional Conduct apply equally to
  plaintiffs’ counsel as they do to defendants’ counsel. See Diva Limousine, Ltd. v. Uber Techs., Inc., 2019 WL 144589
  (N.D. Cal. Jan. 9, 2019).

  I am sure you are aware that each courier must accept the most recent version of the Fleet Agreement before they may
  begin receiving delivery opportunities through the Postmates platform. In light of AAA’s instruction that Postmates
  remove all reference to AAA in the Fleet Agreement, Postmates intends to roll out a revised Fleet Agreement
  designating a new arbitral forum. All couriers who wish to continue using the platform must accept the terms of the
  revised Fleet Agreement before they access the platform. Given the position taken in your email, it appears you are
  asking Postmates not to roll out the revised Fleet Agreement to your clients, which would mean a potential inability to
  access the platform. Please confirm if this is indeed what you are requesting. If it is, and if Postmates chooses to
  accommodate your request, it may have to direct all inquiries concerning such a potential inability to access the platform
  to you and your law firm.

  As for your clients’ existing claims, Postmates remains willing and ready to arbitrate their claims in individual arbitration.
  Given AAA’s refusal to administer arbitrations involving Postmates, Postmates offers that the parties meet and confer on
  moving your clients’ claims to another arbitral forum.

  Best,
  DJ
  Dhananjay S. Manthripragada

  GIBSON DUNN
  Gibson, Dunn & Crutcher LLP
  333 South Grand Avenue, Los Angeles, CA 90071-3197
  Tel +1 213.229.7366 • Fax +1 213.229.6366
  DManthripragada@gibsondunn.com • www.gibsondunn.com

  From: Warren Postman <wdp@kellerlenkner.com>
  Sent: Tuesday, April 21, 2020 6:35 AM
  To: Manthripragada, Dhananjay S. <DManthripragada@gibsondunn.com>; Fogelman, James P.
  <JFogelman@gibsondunn.com>; Mathur, Shaun <SMathur@gibsondunn.com>; Evangelis, Theane
  <TEvangelis@gibsondunn.com>; Cochrane, Thomas <TCochrane@gibsondunn.com>; Maryott, Michele L.
  <MMaryott@gibsondunn.com>; McKenna, Madeleine <MMcKenna@gibsondunn.com>; keith@postmates.com
  Cc: Ashley Keller <ack@kellerlenkner.com>; Travis Lenkner <tdl@kellerlenkner.com>; Sean Duddy
  <skd@kellerlenkner.com>; Marquel Reddish <mpr@kellerlenkner.com>
  Subject: RE: 10,356 Individuals v. Postmates, Inc.

  [External Email]
  All,

  I am writing to confirm that Keller Lenkner intends to file a motion to compel arbitration on behalf of its clients whose
  arbitrations have been administratively closed as a result of Postmates’s failure to pay its filing fees.

  I also write to confirm for you that the terms of our clients’ arbitration agreements with Postmates are within the scope of

                                                                                                                    WP0126
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  I also write to confirm for you that the terms of our clients’ arbitration agreements with Postmates are within the scope of
  our representation. As a result, all of Postmates’s in-house lawyers and outside counsel have an ethical obligation not to
  arrange, draft, or participate in any part of the process of a revised arbitration agreement’s being sent directly to our
  clients. See, e.g., S.F. Unified Sch. Dist. ex rel. Contreras v. First Student, Inc., 213 Cal. App. 4th 1212, 1235 (2013)
  (“[A]n attorney is prohibited from drafting documents, correspondence, or other written materials, to be delivered to an
  opposing party represented by counsel even if they are prepared at the request of the client, are conveyed by the client
  and appear to be from the client rather than the attorney.”); Cal R. Prof. Conduct 4.2(a) (“[A] lawyer shall not
  communicate directly or indirectly about the subject of the representation with a person the lawyer knows to be
  represented by another lawyer in the matter, unless the lawyer has the consent of the other lawyer.”).

  Although I expect you are familiar with the motion for a temporary restraining order our clients filed after Gibson Dunn
  lawyers arranged to send a revised arbitration agreement directly to Keller Lenkner clients with claims against
  DoorDash, I am attaching the motion, which contains a more detailed explanation of the applicable ethical rules, for your
  reference.

  Should you wish to discuss any of the terms of Postmates’s arbitration agreements with our clients, please contact us
  directly.

  Sincerely,

  Warren D. Postman
  Partner
  Keller | Lenkner
  1300 I Street, N.W., Suite 400E | Washington, D.C. 20005
  202.749.8334 | Website | Email


  From: AAA Cheryl Florio <CherylFlorio@adr.org>
  Sent: Monday, April 20, 2020 2:56 PM
  To: Warren Postman <wdp@kellerlenkner.com>; Ashley Keller <ack@kellerlenkner.com>; Sean Duddy
  <skd@kellerlenkner.com>; Travis Lenkner <tdl@kellerlenkner.com>; Marquel Reddish <mpr@kellerlenkner.com>; Brett
  Walker <baw@kellerlenkner.com>; Tom Kayes <tk@kellerlenkner.com>; Manthripragada, Dhananjay S.
  <DManthripragada@gibsondunn.com>; Fogelman, James P. <JFogelman@gibsondunn.com>; Mathur, Shaun
  <SMathur@gibsondunn.com>; Evangelis, Theane <TEvangelis@gibsondunn.com>; Cochrane, Thomas
  <TCochrane@gibsondunn.com>; Maryott, Michele L. <MMaryott@gibsondunn.com>; McKenna, Madeleine
  <MMcKenna@gibsondunn.com>
  Cc: AAA Cheryl Florio <CherylFlorio@adr.org>; AAA Heather Santo <heathersanto@adr.org>
  Subject: RE: 10,356 Individuals v. Postmates, Inc.

  Dear Counsel:

  This will confirm Claimants advanced the initial and arbitrator selection fees for Respondent’s share on 100 of the 10,356
  cases. Claimants intend to seek recovery of the aforementioned fees from the arbitrator(s) once appointed. Inasmuch as the
  AAA has not received payment from Respondent for the 10,356 cases and the deadline of April 15, 2020 has passed, we are
  closing the remaining 10,256 cases. Claimants initial filing fees for the 10,256 cases will be refunded.

  We hoped that this situation did not escalate to this level, but we want you to be aware that it is the policy of the AAA that if
  a company does not comply with our request to pay the administrative fees stated in the Employment/Workplace Fee
  Schedule, the AAA will decline to administer any future cases involving the Respondent. We ask that Respondent remove
  our name from its arbitration agreements so there is no confusion to the public.

  Please do not hesitate to contact me should you have any questions.

  Sincerely,

  Cheryl Florio




                   AAA Cheryl Florio
                   Manager of ADR Services
                   American Arbitration Association

                   T: 401 431 4887 F: 866 644 0234 E: CherylFlorio@adr.org
                   1301 Atwood Ave, Suite 211N, Johnston, RI 02919
                   adr.org | icdr.org | aaamediation.org

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  copying of this transmittal is prohibited except by or on behalf of the intended recipient. If you have received this transmittal in error, please notify me immediately by reply email and destroy all
  copies of the transmittal. Thank you.


  From: AAA Cheryl Florio <CherylFlorio@adr.org>
  Sent: Monday, February 24, 2020 4:06 PM
  To: Warren Postman <wdp@kellerlenkner.com>; Ashley Keller <ack@kellerlenkner.com>; Sean Duddy
  <skd@kellerlenkner.com>; Travis Lenkner <tdl@kellerlenkner.com>; Marquel Reddish <mpr@kellerlenkner.com>; Brett
  Walker <baw@kellerlenkner.com>; Tom Kayes <tk@kellerlenkner.com>; Manthripragada, Dhananjay S.
  <DManthripragada@gibsondunn.com>; Fogelman, James P. <JFogelman@gibsondunn.com>; Mathur, Shaun
  <SMathur@gibsondunn.com>; Evangelis, Theane <TEvangelis@gibsondunn.com>; Cochrane, Thomas
  <TCochrane@gibsondunn.com>; Maryott, Michele L. <MMaryott@gibsondunn.com>; McKenna, Madeleine
  <MMcKenna@gibsondunn.com>
  Cc: AAA Cheryl Florio <CherylFlorio@adr.org>
  Subject: 10,356 Individuals v. Postmates, Inc.

    Dear Counsel,

    This confirms AAA’s receipt on February 15, 2020 of ten thousand three hundred and fifty-six (10,356) individual demands for
    arbitration involving the above referenced parties, each of which has been filed with us in accordance with a contract containing a
    clause providing for administration by the AAA.

    The outcome of our preliminary administrative review, which is subject to review by the arbitrators, is that these disputes will be
    administered in accordance with the American Arbitration Association (“AAA”) Employment Arbitration Rules amended and in
    effect November 1, 2009, and the Employment/Workplace Fee Schedule amended and in effect November 1, 2019, both of which
    can be found on our website, www.adr.org. Pursuant to the applicable fee schedule, these cases will be administered in
    accordance with the “Administrative Group Filing Fees” section of the schedule.

    Claimants have met their filing fee requirements for the 7,620 Claimants subject to the 2019 Fleet Agreement. Accordingly, we
    request that the company pay its share of the fees in the amount of $3,048,000.00.

    For the remaining 2,736 Claimants subject to the 2017 & 2018 Fleet Agreement, in which the arbitration agreement states
    Postmates will pay all fees, we request that the company pay fees in the amount of $1,641,600.00

    Respondent’s portion of filing fees is due on or before March 16, 2020. Respondent’s invoice will follow under separate cover.
    Please note that these matters are subject to California Code of Civil Procedure 1281.97 and 1281.98. As such, payment
    must be received by April 15, 2020 or the AAA may close the parties’ cases. The AAA will not grant any extensions to this
    payment deadline.

    Payment may be submitted via check, money order, credit card, or wire transfer. Money orders and checks should be made
    payable to the American Arbitration Association and mailed to American Arbitration Association, 13727 Noel Road, Suite 700,
    Dallas, TX 75340. When submitting payment, please include a copy of your invoice to ensure that payment is properly applied.
    To pay online by credit card, please contact the undersigned directly and request an AAA Paylink.

    The AAA’s administrative fees are based on filing and service charges. Arbitrator compensation is not included in this schedule.
    The AAA may require the arbitrators’ compensation deposits in advance of any hearings. Unless the individuals, post-dispute
    choose to pay a portion of the arbitrators’ compensation, the company shall pay such compensation in total.

    Please note: no answering statements or counterclaims are due at this time. The AAA will notify the parties of the response
    deadlines when initial filing fees have been received.

    If you have any questions, please email the undersigned and we will be happy to assist you.

    Thank you,



  AAA Cheryl Florio
  Manager of ADR Services
  Labor, Employment & Elections
  T: 401 431 4887 F: 866 644 0234 E: CherylFlorio@adr.org
  1301 Atwood Ave, Suite 211N, Johnston, RI 02919


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                                   #:2593

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                                                                                                                    WP0129
